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Case 1:20-cv-04651-SDG Document5-1 Filed 11/16/20 Page 1 of 6

COMPROMISE SETTLEMENT AGREEMENT AND RELEASE

This Compromise Settlement Agreement and Release (“Agreement”) is
made and entered into by and between the Democratic Party of Georgia, Inc.
(“DPG”), the DSCC, and the DCCC (collectively, the “Political Party Committees”),
on one side, and Brad Raffensperger, Rebecca N. Sullivan, David J. Worley, Seth
Harp, and Anh Le (collectively, “State Defendants”), on the other side. The parties
to this Agreement may be referred to individually as a “Party” or collectively as the
“Parties.” The Agreement will take effect when each and every Party has signed it,
as of the date of the last signature (the “Effective Date”).

WHEREAS, in the lawsuit styled as Democratic Party of Georgia, et all. v.
Raffensperger, et al., Civil Action File No, 1:19-cv-5028-WMR (the “Lawsuit”, the
Political Party Committees have asserted claims in their Amended Complaint [Doc.
30] that the State Defendants’ (i) absentee ballot signature matching procedure, (ii)
notification process when an absentee ballot is rejected for any reason, and
{iii} procedure for curing a rejected absentee ballot, violate the First and Fourteenth
Amendments to the United States Constitution by unduly burdening the right to vote,
subjecting similarly situated voters to disparate treatment, and failing to afford
Georgia voters due process (the “Claims”), which the State Defendants deny;

WHEREAS, the State Defendants, in their capacity as members of the State
Election Board, adopted on February 28, 2020 Rule 183-1-14-.13, which sets forth
specific and standard notification procedures that all counties must follow after
rejection of a timely mail-in absentee ballot;

WHEREAS, the State Defendants have a Motion to Dismiss [Doc. 45]
pending before the Court, which sets forth various grounds for dismissal of the
Amended Complaint, including mootness in light of the State Election Board’s
promulgation subsequent to adoption on February 28, 2020 of Rule 183-1-14-.13,
which Motion the Political Party Committees deny is meritorious;

WHEREAS, all Parties desire to compromise and settle all disputed issues
and claims arising from the Lawsuit, finally and fully, without admission of liability,
having agreed on the procedures and guidance set forth below with respect to the
signature matching and absentee ballot rejection notification and cure procedures;
and

WHEREAS, by entering into this Agreement, the Political Party Committees
do not concede that the challenged laws and procedures are constitutional, and

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 2 of 261

Case 1:20-cv-04651-SDG Document 5-1 Filed 11/16/20 Page 2 of 6

similarly, the State Defendants do not concede that the challenged laws and
procedures are unconstitutional.

NOW THEREFORE, for and in consideration of the promises and covenants
contained herein, and other good and valuable consideration, the receipt and
sufficiency of which is hereby acknowledged, the Parties do hereby agree as follows:

1. Dismissal. Within five (5) business days of March 22, 2020, the
effective date of the Prompt Notification of Absentee Ballot Rejection rule specified
in paragraph 2(a), the Political Party Committees shall dismiss the Lawsuit with
prejudice as to the State Defendants.

2. Prompt Notification of Absentee Ballot Rejection.

(a) The State Defendants, in their capacity as members of the State Election
Board, agree to promulgate and enforce, in accordance with the Georgia
Administrative Procedures Act and State Election Board policy, the following State
Election Board Rule 183-1-14-.13 of the Georgia Rules and Regulations:

When a timely submitted absentee ballot is rejected, the board of
registrars or absentee ballot clerk shall send the elector notice of such
rejection and opportunity to cure, as provided by O.C.G.A. § 21-2-386,
by mailing written notice, and attempt to notify the elector by telephone
and email if a telephone number or email is on the elector’s voter
registration record, no later than the close of business on the third
business day after receiving the absentee ballot. However, for any
timely submitted absentee ballot that is rejected on or after the second
Friday prior to Election Day, the board of registrars or absentee ballot
clerk shall send the elector notice of such rejection and opportunity to
cure, as provided by O.C.G.A. § 21-2-386, by mailing written notice,
and attempt to notify the elector by telephone and email if a telephone
number or email is on the elector’s voter registration record, no [ater
than close of business on the next business day.

Ga. R. & Reg. § 183-1-14-.13 Prompt Notification of Absentee Ballot
Rejection

(b) Unless otherwise required by law, State Defendants agree that any
amendments to Rule 183-1-14-.13 will be made in good faith in the spirit of ensuring
that voters are notified of rejection of their absentee ballots with ample time to cure

2

Ex. A to Amended Complaint:
Litigation Settlement

Ex. 7 to Petition:
Consent Decree
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 3 of 261

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their ballots. The Political Party Committees agree that the State Election Board’s
proposed amendment to Rule 183-1-14-.13 to use contact information on absentee
ballot applications to notify the voter fits within that spirit.

3. Signature Match.

(a) Secretary of State Raffensperger, in his official capacity as Secretary of
State, agrees to issue an Official Election Bulletin containing the following
procedure applicable to the review of signatures on absentee ballot envelopes by
county elections officials and to incorporate the procedure below in training
materials regarding the review of absentee ballot signatures for county registrars:

County registrars and absentee ballot clerks are required, upon receipt
of each mail-in absentee ballot, to compare the signature or mark of the
elector on the mail-in absentee ballot envelope with the signatures or
marks in eNet and on the application for the mail-in absentee ballot. If
the signature does not appear to be valid, registrars and clerks are
required to follow the procedure set forth in O.C.G.A. § 21-2-
386(a)(1)(C). When reviewing an elector’s signature on the mail-in
absentee ballot envelope, the registrar or clerk must compare the
signature on the mail-in absentee ballot envelope to each signature
contained in such elector’s voter registration record in eNet and the
elector’s signature on the application for the mail-in absentee ballot. If
the registrar or absentee ballot clerk determines that the voter’s
signature on the mail-in absentee ballot envelope does not match any
of the voter’s signatures on file in eNet or on the absentee ballot
application, the registrar or absentee ballot clerk must seek review from
two other registrars, deputy registrars, or absentee ballot clerks. A mail-
in absentee ballot shall not be rejected unless a majority of the
registrars, deputy registrars, or absentee ballot clerks reviewing the
Signature agree that the signature does not match any of the voter’s
signatures on file in eNet or on the absentee ballot application. If a
determination is made that the elector’s signature on the mail-in
absentee ballot envelope does not match any of the voter’s signatures
on file in eNet or on the absentee ballot application, the registrar or
absentee ballot clerk shall write the names of the three elections
officials who conducted the signature review across the face of the
absentee ballot envelope, which shall be in addition to writing
“Rejected” and the reason for the rejection as required under OCGA
21-2-386(a)(1)(C). Then, the registrar or absentee ballot clerk shall

3

Ex. A to Amended Complaint:
Litigation Settlement

Ex. 7 to Petition:
Consent Decree
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commence the notification procedure set forth in O.C.G.A. § 21-2-
386(a)(1)(C) and State Election Board Rule 183-1-14-.13.

(b) The Parties agree that the guidance in paragraph 3{a) shall be issued in
advance of all statewide elections in 2020, including the March 24, 2020 Presidential
Primary Elections and the November 3, 2020 General Election.

4, Consideration of Additional Guidance for Signature Matching.
The State Defendants agree to consider in good faith providing county registrars and
absentee ballot clerks with additional guidance and training materials to follow when
comparing voters” signatures that will be drafted by the Political Party Committees’
handwriting and signature review expert.

5. Attorneys’ Fees and Expenses. The Parties to this Agreement shall
bear their own attorney’s fees and costs incurred in bringing or defending this action,
and no party shall be considered to be a prevailing party for the purpose of any law,
statute, or regulation providing for the award or recovery of attorney’s fees and/or
costs.

6. Release by The Political Party Committees. The Political Party
Committees, on behalf of themselves and_ their successors, affiliates, and
representatives, release and forever discharge the State Defendants, and each of their
successors and representatives, from the prompt notification of absentee ballot
rejection and signature match claims and causes of action, whether legal or equitable,
in the Lawsuit.

7. No Admission of Liability. It is understood and agreed by the Parties
that this Agreement is a compromise and is being executed to settle a dispute.
Nothing contained herein may be construed as an admission of liability on the part
of any of the Parties.

8. Authority to Bind; No Prior Assignment of Released Claims. The
Parties represent and warrant that they have full authority to enter into this
Agreement and bind themselves to its terms.

9. No Presumptions. The Parties acknowledge that they have had input
into the drafting of this Agreement or, alternatively, have had an opportunity to have
input into the drafting of this Agreement. The Parties agree that this Agreement is
and shall be deemed jointly drafted and written by all Parties to it, and it shall be
interpreted fairly, reasonably, and not more strongly against one Party than the other.

4

Ex. Ato Amended Complaint:
Litigation Settlement

Ex. 7 to Petition:
Consent Decree
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Accordingly, if a dispute arises about the meaning, construction, or interpretation of
this Agreement, no presumption will apply to construe the language of this
Agreement for or against any Party.

10. Knowing and Voluntary Agreement. Each Party to this Agreement
acknowledges that it is entering into this Agreement voluntarily and of its own free
will and accord, and seeks to be bound hereunder. The Parties further acknowledge
that they have retained their own legal counsel in this matter or have had the
opportunity to retain legal counsel to review this Agreement.

11. Choice of Law, Jurisdiction and Venue. This Agreement will be
construed in accordance with the laws of the State of Georgia. In the event of any
dispute arising out of or in any way related to this Agreement, the Parties consent to
the sole and exclusive jurisdiction of the state courts located in Fulton County,
Georgia. The Parties waive any objection to jurisdiction and venue of those courts.

12. Entire Agreement; Modification. This Agreement sets forth the entire
agreement between the Parties hereto, and fully supersedes any prior agreements or
understandings between the Parties. The Parties acknowledge that they have not
relied on any representations, promises, or agreements of any kind made to them in
connection with their decision to accept this Agreement, except for those set forth in
this Agreement.

13. Counterparts. This Agreement may be executed in counterparts which,
taken together, will constitute one and the same Agreement and will be effective as
of the date last set forth below, and signatures by facsimile and electronic mail will
have the same effect as the originals.

IN WITNESS WHEREOF, the Parties have set their hands and seals to
this instrument on the date set forth below.

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Ex. A to Amended Complaint:
Litigation Settlement

Ex. 7 to Petition:
Consent Decree
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 6 of 261

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Dated: March 6, 2020

/s/ Bruce V. Spiva

Marc E. Elias* |

Bruce V. Spiva*

John Devaney*

Amanda R. Callais*

K’Shaani Smith*

Emily R. Brailey*

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Counsel for State Defendants

6

Ex. A to Amended Complaint:
Litigation Settlement

Ex. 7 to Petition:
Consent Decree
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 7 of 261

Fulton County Superior Court
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Date: 12/9/2020 5:06 PM
Catheiene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONALD 3. TRUMP; IN HIS CAPACITY AS x
A CANDIDATE FOR PRESIDENT , x Civil Action No. : 2020CV343255
DONALD J. TRUMP FOR PRESIDENT, INC.
DAVID J. SHAFER, IN HIS CAPACITY AS A
REGISTERED VOTER AND PRESIDENTIAL
ELECTOR PLEDGED TO DONALD TRUMP
FOR PRESIDENT,
Petitioners,

* HB He BH

Vv.

BRAD RAFFENSPERGER, IN HIS OFFICIAL
CAPACITY AS SECRETARY OF STATE OF
GEORGIA, et. al.,

Respondents.

ORDER ON CASE STATUS

The action was filed on December 4, 2020. On December 8, 2020 Petitioners filed a
voluntary withdrawal of their Motion for Emergency Injunctive Relief. The request for
emergency relief having been withdrawn, the action shall proceed in the normal course. All
counsel seeking admission pro hac vice must comply with Uniform Superior Court Rule 4.4,

So Ordered This 7 Day Laces),

Judge Constance C. Russell
Fulton County Superior Court
Atlanta Judicial Circuit

 

 

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 8 of 261

Fulton County Superior Court
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Date: 12/10/2020 7:32 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONALD J. TRUMP, in his capacity as a
Candidate for President, et a./
Petitioners,

Civ. Act. No. 2020CV343255
Vv

BRAD RAFFENSPERGER, in his official capacity
As Secretary of State of Georgia, er al,

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NOTICE OF EMERGENCY REQUEST TO APPOINT
ADMINISTRATIVE LAW JUDGE

COME NOW THE PETITIONERS, by and through the undersigned counsel, and hereby
respectfully provide Notice of their Emergency Request to Appoint an Administrative Law Judge

pursuant to O.C.G.A. § 21-2-523 and in support state as follows:

FACTS
Petitioners filed the instant action on December 4, 2020.

On December 9, 2020, Petitioners filed a Motion for Leave to Amend the Complaint along
with an Amended Complaint and new and pending emergency motion for injunctive relief to
account for the Secretary of State’s certification of the re-count results that occurred after

Petitioner’s initial filing.

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On December 9, 2020, the Honorable Constance C. Russell was assigned the case and

entered an Order on Case Status and in said order stated that the matter “shall proceed in the normal

course.”

Judge Russell is a resident of Fulton County, GA.

Judge Russell has not taken senior status at this time.

Petitioners respectfully suggest that Judge Russell lacked authority to enter such an Order

and to preside over this case under the Georgia Election Code.

Pursuant to O.C.G.A. § 21-2-523 (c) when a contest petition is filed, the administrative
judge for that Judicial District is to be immediately notified. Under 0.C.G.A. § 21-2-523 (d) if
the administrative judge is a member of the Circuit in which the proceeding was filed, then the
administrative judge shall select an administrative judge of an adjoining district to select a Superior

Court judge from that district, or a senior judge who is not a resident of the circuit wherein the

proceeding was filed.
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In the context of the instant case filed in the 5th Judicial Administrative District, The

Honorable Chief Judge Christopher $. Brasher is the Administrative Judge.
9,

Because Judge Brasher is a member of the Atlanta Judicial Circuit, as are all members of
the 5th Administrative District, the statute requires he select an administrative jadge of an
adjoining district viz. from the 4th, 6th ,7th, or 9th Judicial Districts.

10.

if Judge Brasher chooses the administrative judge from the 7" Judicial District, that judge
must choose a Superior Court judge from Cherokee, Cobb, Conasauga, Douglas, Lookout
Mountain, Paulding, Rome, or Tallapoosa counties.

Il.

If Judge Brasher chooses the administrative judge from the 6"" Judicial District that judge
must chose a superior court judge from Coweta, Griffin, Clayton, Flint or Towaliga counties to
preside.

12,

If Judge Brasher chooses the administrative judge from the 4th Judicial District, that judge

must choose a Superior Court judge from Stone Mountain or Rockdale counties to preside.
13.

If Judge Brasher chooses the administrative judge from the 9th Judicial District, that judge

must choose a Superior Court judge from Appalachian, Blue Ridge, Bell-Forsyth, Gwinnett,

North-Eastern, Enotah, or Mountain counties.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 11 of 261

14,

Any of the aforementioned administrative judges could also select a senior status judge
who does not live in Fulton County.

15.

The law gives Judge Brasher complete discretion to choose which administrator shall
assign the judge to hear the case.

16.

Upon information and belief, Judge Russell was not appointed to this case pursuant to the
relevant statutes and is a current resident of Fulton County who is not yet on Senior Judge status.

17.

Since Judge Russell was not properly appointed to this case and lacked statutory authority

to preside, any action in this matter taken by her was void ab initio.
18.

Petitioners are seeking an emergency appointment of a judge that is proper and mete to
preside over this action so as not to prejudice the legal rights of Petitioners to have a contested
election challenge under the Georgia Election Code.

19.

Due to the gravitas of the issues presented by this action, Petitioners are hopeful that this
matter and request is addressed promptly and sua sponte.

WHEREFORE, because the Honorable Constance C. Russell is a resident of Fulton
County and has not yet taken senior status, although a well respected jurist in Fulton County, she
therefore is unfortunately ineligible to serve as a presiding judge in this case and any Orders

entered by her were void ab initio, and Petitioners respectfully request that the Election Code be
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 12 of 261

followed in an emergency appointment of a judge under the process set forth therein so as not to

create appellate error or causing undue delay.

Respectfully submitted, this 10" day of December, 2020,

   

FIRM, LLC

 

Ga Bar No. 352877
Lead Counsel for Petitioners

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 13 of 261

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONALD J. TRUMP, in his capacity as a
Candidate for President, ef Al

Petitioners, Civ. Act. No 2020CV343255

Vv

BRAD RAFFENSPERGER, in his official capacity
As Secretary of State of Georgia, ef al

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NOTICE OF APPEAL AND INTENTION TO SEEK WRIT OF CERTIORARI
TO THE SUPREME COURT OF GEORGIA

COME NOW THE PETITIONERS, by and through the undersigned counsel, and
respectfully inform the Court of their appeal and intention to seek a writ of certiorari to the
Supreme Court of Georgia to review the “Order on Case Status” re Withdrawal of Motion for
Emergency Injunctive Relief entered on December 9, 2020 at 5-06 PM, attached hereto as Exhibit
A. This appeal istimely filed within ten (10) days of the entry ofthat Order. The Supreme Court
has jurisdiction to hear this appeal under Georgia Constitution art. VI, Section VI, Par 2, cl. 2 as
this is an Election Contest exclusively vested in the appellate jurisdiction of the Georgia Supreme
Court. The Order is void a6 initio and is a nullity, but is tantamount to a “final” order for purposes
of O.C.G.A. § 5-6-34 as Petitioners cannot obtain relief of any kind and nature from this Court,
including without limitation, interlocutory, preliminary or permanent injunctive relief, while the
Order is entered, and while the Honorable Constance C. Russell remains presiding in the case in
direct violation of the Election Code as she is an active sitting judge in Fulton County, Georgia
and also a resident of that same county making her legally incapable of adjudicating this case.

The Clerk of Court shall omit nothing from the entire record on appeal and Petitioners
hereby request that the record be prepared and expedited to the Supreme Court of Georgia

immediately. Petitioners shall pay the costs as necessary for-such expeditious preparation of the

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 14 of 261

Respectfully submitted, this 11" day-a December, 2020

  

 

GEORGIA BAR NO. 352877
ATTORNEY FOR PETITIONERS

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 15 of 261

Fulton County Superior Court
““EFILED**QW

Date: 12/9/2020 5:06 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONALD J. TRUMP: IN HIS CAPACITY AS *
A CANDIDATE FOR PRESIDENT 1 « Civil Action No. : 2020CV343255
DONALD J. TRUMP FOR PRESIDENT, INC.
DAVID J. SHAFER, IN HIS CAPACITY AS A
REGISTERED VOTER AND PRESIDENTIAL
ELECTOR PLEDGED TO DONALD TRUMP
FOR PRESIDENT,
Patitioners,

x % # #

Vv.

BRAD RAFFENSPERGER, IN HIS OFFICIAL
CAPACITY AS SECRETARY OF STATE OF
GEORGIA, et. al.,

Respondents.

ORDER ON CASE STATUS

The action was filed on December 4, 2020, On December 8, 2020 Petitioners filed a
voluntary withdrawal of their Motion for Emergency Injunctive Relief. The request for
emergency relief having been withdrawn, the action shall proceed in the normal course. All
counsel seeking admission pro hac vice must comply with Uniform Superior Court Rule 4.4.

So Ordered This 2 Day ee) 2020.

Judge Constance C. Russell
Fulton County Superior Court
Atlanta Judicial Circuit

 

EXHIBIT

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 16 of 261

Fulton County Superior Court
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Date: 12/11/2020 5:40 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONALD J. TRUMP, in his capacity as a
Candidate for President, et al.

Petitioner,

v. CIVIE ACTION

FILE NO: 2020CV343255
BRAD RAFFENSPERGER, in his official

Capacity as Secretary of State of Georgia,
Et al.

Respondent

NOTICE OF TIME FOR RESPONSE TO REQUEST TO APPOINT
ADMINISTRATIVE LAW JUDGE

The Undersigned, as the Chief Administrative Judge for the 5% Judicial
Administrative District, has received the Notice of Emergency Request to Appoint
Administrative Law Judge filed by Petitioners. This Notice requests that the undersigned
appoint an Administrative Law Judge pursuant to O.C.G.A. § 21-2-523. Objections or

responses to this narrow request, if any, must be filed on or before the close of business

on Wednesday, December 16, 2020.

SO ORDERED this 11th day of December , 2020.

I.

The Honorabh@hwatopher S. Brasher
Chief Administrative Judge for

The Fifth Judicial Administrative District
Atlanta Judicial Cireuit

Filed and served electronically via eFileGA

 

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 17 of 261

2°, SUPREME COURT OF GEORGIA
Bees) Case No. S21M0561

 

December 12, 2020

The Honorable Supreme Court met pursuant to adjournment.

The following order was passed:

DONALD J. TRUMP et al. v. BRAD RAFFENSPERGER et al.

Petitioners filed this “Emergency Petition for Writ of Certiorari” to
challenge the superior court’s December 9, 2020 “Order on Case Status,”
which order provided that, because in the underlying election contest
petitioners had withdrawn their request for emergency injunctive relief,
the case would proceed “in the normal course.” As the basis for their
petition, they reference Supreme Court Rules 39 and 40, but those rules
provide for petitions for writ of certiorari to this Court from opinions or
orders issued by the Court of Appeals filed under Supreme Court Rule
38, and thus do not apply here. For the reasons that follow, we dismiss
the petition for lack of jurisdiction.

To the extent that the petition can be construed as a direct appeal
from the December 9 order, we note as an initial matter that this Court
has subject matter jurisdiction over “election contest[s],” Ga. Const. of
1983, Art. VI, Sec. VI, Par. II (2), and the underlying case fits within that
definition, as it is challenging the result of an election. See Cook v. Bd. of
Registrars of Randolph County, 291 Ga. 67, 70 (727 SE2d 478) (2012).
However, the December 9 order is not a final judgment, see OCGA § 5-6-
34 (a) (1) (direct appeals may be taken from “[a]Jll final judgments, that
is to say, where the case is no longer pending in the court below”), and
therefore the petitioners were required to follow interlocutory appeal
procedures in order to obtain review of the order. See OCGA § 5-6-34 (b);
Duke v, State, 306 Ga. 171, 171 (829 SE2d 348) (2019). Although there
are some exceptions to that general rule, this case does not fit within any

 
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of those exceptions. See OCGA § 5-6-34 (a) (2) - (18) (setting out directly
appealable non-final orders),

Additionally, petitioners’ reliance on the collateral order doctrine is
unavailing. See Duke, 306 Ga. at 174. Furthermore, to the extent
petitioners challenge the authority of the superior court judge to preside
over the pending matter, it does not appear that any order has been
entered on the challenge to her authority that they represent has been
filed below, and thus this issue provides no basis for invoking the Court’s
jurisdiction. See Titelman v. Stedman, 277 Ga. 460, 461 (691 SE2d 774)

(2003) (order is not appealable until written, signed by judge, and filed
with the clerk).

Finally, to the extent that petitioners seek original relief,
petitioners have not shown that this is one of those extremely rare cases
that would invoke our original jurisdiction. See generally Brown uv.
Johnson, 251 Ga. 436 (306 SE2d 655) (1983). Accordingly for all these
reasons, this Court lacks jurisdiction to consider the petition and
dismisses it.

Melton, C. J., Nahmias, P. J., and Boggs, Peterson, Warren, Bethel,
Ellington, and McMillian, JJ., concur.

SUPREME COURT OF THE STATE OF GEORGIA
Clerk’s Office, Atlanta

I certify that the above is a true extract from the
minutes of the Supreme Court of Georgia.

Witness my signature and the seal of said court hereto
affixed the day and year last above written.

SD ABQ , Clerk
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 19 of 261

Fulton County Superior Court
***FFILED** AC

Date: 12/29/2020 9:34 AM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY

DONALD J. TRUMP, in his capacity as a

Candidate for President, et al, }
)
Petitioner, )
“ ) CIVIL ACTION
) FILE NO: 2020CV343255
)
BRAD RAFFENSPERGER, in his official }
Capacity as Seeretary of State of Geargia, )
Et al. }
)
Respondent )
STATUS OF REQUEST TO

APPOINT ADMINISTRATIVE LAW JUDGE
As provided in the notice of December 11, 2020, this Court has received Petitioner’s
Notice of Emergency Request to Appoint Administrative Law Judge, which, in fact sought
areferral to a Judge outside this district. Before this Court had an opportunity to consider
such request, the Petitioner filed a Notice of Appeal seeking to present this issue to the

appellate courts. Accordingly, this Court will not consider this request until either the

    

appeal is concluded or the notice of appeal is Withdraw

math
SO ORDERED this“! day of Dee

Ay. fo,

‘The Honorable Christopher S. Brasher
Chief Administrative Judge for

The [fth Judicial Administrative District
Atlanta Judicial Circuit

Filed and served electronically via eftleGA

 

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 20 of 261

Fulton County Superior Court
““*EFILED***MH

Date: 12/29/2020 5:53 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY

STATE OF GEORGIA
DONALD J. TRUMP, in his capacity as__)
A Candidate for President, et al. )
)
Petitioner, ) CIVIL ACTION
) FILE NO: 2020CV343255
Vv, )
)
BRAD RAFFENSPERGER, in his official )
Capacity as Secretary of State of Georgia, )
et al. )
)
Respondent. )

RENEWED REQUEST TO IMMEDIATELY APPOINT ADMINISTRATIVE LAW
JUDGE AND MOTION FOR RECONSIDERATION OF THE COURT’S STATUS
ORDER OF DECEMBER 29, 2020 AND INCORPORATED BRIEF IN SUPPORT

COME NOW, Petitioners, by and through their counsel of record, and file this Renewed
Request to Immediately Appoint Administrative Law Judge and For Reconsideration of the
Court’s December 29, 2020 Status Order respectfully showing as follows:

The Petitioners, including the President of the United States, again respectfully request that
this Honorable Court judiciously and expeditiously appoint a judge that is legally eligible to hear
this urgent and important case pursuant to O.C.G.A. § 21-2-523 et seq. In an abundance of caution,
Petitioners further request, therefore, that this Honorable Court deem any Notice of Appeal
previously filed be construed as withdrawn, especially since the Georgia Supreme Court dismissed
the appeal for lack of jurisdiction, and, therefore, the Court shall immediately cause a judge with
the requisite authority to be appointed. /d.

As the Court knows, this action was filed on December 4, 2020. It is presumed that Fulton
County Superior Clerk of Court did her constitutionally required job as well as complied with her

obligations under O.C.G.A. § 21-2-523(c), whereby, “Upon the filing of the contest petition, the

 

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clerk of the superior court having jurisdiction shall immediately notify the administrative judge for
the judicial administrative district in which that county lies...” (emphasis added) which
automatically triggers this Court’s obligations under O.C.G.A. § 21-2-523 (b) through (e). Your
Honor, Chief Judge Brasher, is the administrative judge for this District. Unfortunately, to date,
although notice has been completed, the appointment process has yet to happen, and a preliminary
order was entered in the case stating that the case would proceed in the “normal course.”
Consequently, Petitioners ask the Court to appoint a proper judge ~ especially since the Supreme
Court of Georgia rejected jurisdiction and/or Petitioners have now withdrawn any known appeal
at the Court’s request.
I. RELEVANT FACTS
The following procedural timeline and facts are outlined below to inform the Court of how
this action got to its current status:
¢ December 4, 2020: Petitioners timely filed their Petition in Fulton County Superior Court.
Petitioners’ Prayer for Relief ({ 1) includes a specific request for assignment to a judge that
has standing to hear this matter. Additionally, due to the nature of the Petition both the
Fulton County Superior Court Clerk and this Court were to coordinate and cooperate in
expeditiously assigning this matter to a proper judge with authority to hear this case. The
Clerk was also to issue “special process” to the Sheriff for timely service. Rather, service
by the Sheriff has been delayed, and the case was improperly assigned to Judge Constance

C. Russell ~ who lacked authority to hear this case under 0.C.G.A. § 21-2-523. A true and

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 22 of 261

correct copy of the Petition (without Exhibits) is attached hereto and incorporated by
reference as EXHIBIT 1.!

* December 9, 2020: Judge Constance C. Russell, lacking authority, issued an “Order On
Case Status” stating that “...the action shall proceed in the normal course.” No mention
of the procedure set forth in O.C.G.A. § 21-2-523 was mentioned. A true and correct copy
of the Order On Case Status is attached hereto and incorporated by reference as EXHIBIT
2.

* December 10, 2020: It appearing that no action would be taken by the Court to obtain the
appointment of a judge with authority to hear the Petition, Petitioners unilaterally filed a
Notice and Emergency Request to appoint an Administrative law Judge to comply with
O.C.G.A. § 21-2-523 (“Notice”). This Notice, in detail, laid out the requirements and the
factual predicate for why The Honorable Constance C. Russell could not actively preside
over this election contest. A true and correct copy of Petitioner’s Notice of Emergency
Request to Appoint Administrative Law Judge is attached hereto and incorporated herein
by reference as EXHIBIT 3.

¢ December 11,2020: Without a proper judge or a hearing date, and now with the filing of
a Second Emergency Motion for Injunctive Relief pending as well as Judge Russell’s

improper Order stating that the Petition would run a “normal” scheduling course,

 

' Petitioners have since filed a motion for leave to amend and file its First Amended Petition, which
is incorporated herein by reference.

* Petitioners withdrew their Emergency Motion to Enjoin the Secretary of State’s 3 Certification
of the Presidential Election Results as the Secretary certified the results prior to the Petitioner's
having a judge assigned and the hearing of the Emergency Motion, Consequently, Petitioners then
filed on December 11, 2020 an Emergency Motion to Decertify the Election Results. Petitioner’s
Second Emergency Motion remains pending and in abeyance. A true and correct copy of

Petitioner’s Second Emergency Motion is attached hereto and incorporated herein by reference as
EXHIBIT 4.

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 23 of 261

Petitioners felt compelled to file an Emergency Petition to the Supreme Court of Georgia
to seek relief from the Order and to request extraordinary relief to adhere to the Election
Code processes and to seek relief from the “normal course” (“Notice of Appeal”). The
Notice of Appeal iterated the improper designation of Judge Russell, the improper order
entered, and the lack of an eligible presiding judge. A true and correct copy of Petitioner’s
Notice of Appeal and Intention to Seek Writ of Certiorari to the Supreme Court of Georgia
is attached hereto and incorporated by reference as EXHIBIT 5.

*« December 11, 2020: This Honorable Court acknowledging Petitioners’ “Notice of
Emergency Request to Appoint Administrative Judge,” unilaterally filed its own “Notice
of Time for Response to Request To Appoint Administrative Law Judge.” The Court asked
that objections, if any, to the appointment be made prior to December 16, 2020. No
objections were made within the time frame; yet no judge was appointed pursuant to
O.C.G.A, § 21-2-523. A true and correct copy of the Court’s Order is attached hereto and
incorporated by reference as EXHIBIT 6.

* December 12, 2020: The very next day, the Supreme Court of Georgia rejected Petitioners’
Emergency Petition for Writ of Certiorari of Judge Russell’s “non-final order” because the
“Court [Supreme Court of Georgia] lacks jurisdiction to consider the petition and dismisses
it.” To date, no remittitur has been filed by the Supreme Court of Georgia and it is a legal
question whether such remittitur is required in this circumstance, and whether the Georgia
Supreme Court has ever accepted or retained jurisdiction over this Election Contest. A true

and correct copy of the Supreme Court’s Order is attached hereto and incorporated by

reference as EXHIBIT 7.

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* December 29, 2020: This Honorable Court entered an order stating that “...this Court will
not consider this request [to appoint a Judge] until either the appeal is concluded or the
notice of appeal is withdrawn.” A true and correct copy of this Court’s Order is attached
hereto and incorporated by reference as EXHIBIT 8.

¢ December 29, 2020: Petitioners file this renewed request for the Court to immediately
appoint an Administrative Law Judge, and incorporated Motion for Reconsideration and
within this request, withdrew any Notice of Appeal or other appeal.

II. ARGUMENT AND CITATION OF AUTHORITIES

The Court has not only the jurisdiction and authority to appoint a judge with standing to
hear this Petition under O.C.G.A. § 21-2-523 (b) - (e}, but Petitioners request this Court
expeditiously make this appointment. The continued delay is becoming a denial of justice.
Although this case is brought, in part, by the President of the United States and thus has high
political sensitivities and ramifications, it is the raison d’etre of the Courts to handle such difficult
cases and, above all else, certainly facilitate the procedural mechanisms necessary to afford
Petitioners their day in court. Petitioners request neither greater nor lesser justice than available to
any other legal person afforded under Georgia law.

It is unquestionable that this Honorable Court has jurisdiction to enter an order appointing
an independent administrative judge. At the court’s request, Petitioners have withdrawn any notice
of appeal. Seventeen days have expired since the Georgia Supreme Court dismissed the
emergency appeal. Eighteen days have expired since this Honorable Court entered its Order
requesting that objections, if any, to the appointment be made prior to December 16, 2020. This
objection deadline has expired. No objections were filed by any party on or before December 16,

2020. This matter is more than ripe to be assigned a judge with standing to hear this Petition.

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Petitioners are unaware of any objection or other impediment, at this time, to the immediate
appointment of an administrative law judge. To not immediately appoint an eligible judge, who
then follows the process under O.C.G.A. § 21-2-523 would be an abuse of discretion, and a
manifest injustice at this juncture. See Cuffie v. Armstrong, 355 Ga. App. 471, 471, 843 S.E.2d
599, 601 (2020) citing Bd. of Regents of the Univ. System of Ga. v. Brooks, 324 Ga. App. 15, 15-
16, 749 S.B.2d 23 (2013) (holding an appellate court reviews a trial court's denial of
a motion for reconsideration for abuse of discretion. An abuse of discretion occurs where the trial
court significantly misapplies the law or clearly errs in a material factual finding.); Postell v. Alfa
Ins. Corp., 332 Ga. App. 22, 28, 772 S.E.2d 793 (2015). To not grant Petitioners request to simply
comply with the Election Code appointment process immediately, especially since we have
complied with this Court’s request to withdraw any notice of appeal, is tantamount to an express
violation of Constitutional due process. See e.g, Chatman v. Mancill, 280 Ga. 253, 256, 626 S.E.2d
102 (2006) (held due process violation considerations for inordinate appellate delays); see also,
Ferrell v. Young, 323 Ga. App. 338, 342, 746 S.E.2d 167, 172 (2013) (“[A] statute which confers
discretion upon a judge to decide a particular question also imposes a cortelative duty to exercise
that discretion when the occasion arises.”’}

WHEREFORE, Petitioners respectfully request that this Honorable Court immediately
appoint an administrative law judge, who then will, by statute, appoint the presiding judge over
this matter under O.C.G.A. § 21-2-523 (b) — (e), that its Order of December 29, 2020 be vacated
nunc pro tunc, and for such other and further relief to afford Petitioners their day in court for the

merits and evidence to be heard, and to do manifest justice.

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Respectfully submitted, this 29" day of December, 2020,

205 Norcross Street
Roswell, GA 30075

T: (770) 551-9310

F: (770) 551-9311

E: khiibert@hilbertlaw.com

 

Five Concourse Parkway
Suite 2600

Atlanta, GA 30328

T: (404) 760-6000

F: (404) 760-0225

E: rsmithi@smithliss com

 

 

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Georgia Bar No. 352877
Lead Counsel for Petitioners

SMITH & LISS, LLC
‘s/ Ray S. Smith, IIT

 

Ray 5. Smith, II
Georgia Bar No. 662555
Co- Counsel for Petitioners
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IN THE SUPERIOR COURT OF FULTON COUNTY

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STATE OF GEORGIA

DONALD J. TRUMP, in his capacity as a
Candidate for President, DONALD J.
TRUMP FOR PRESIDENT, INC., and
DAVID J. SHAFER, in his capacity as a
Registered Voter and Presidential Elector
pledged to Donald Trump for President,

Petitioners,
v.

BRAD RAFFENSPERGER, in his officia}
capacity as Secretary 'of State of Georgia,
REBECCA N. SULLIVAN, in her official
capacity as Vice Chair of the Georgia State
Election Board, DAVID J. WORLEY, in
his official capacity as a Member of the
Georgia State Election Board,
MATTHEW MASHBURN, in his official
capacity as a Member of the Georgia State
Election Board, ANH LE, in her official
capacity as a Member of the Georgia State
Election Board, RICHARD L. BARRON,
in his official capacity as Director of
Registration and Elections for Fulton
County, JANINE EVELER, in her official
capacity as Director of Registration and
Elections for Cobb County, ERICA
HAMILTON, in her official capacity as
Director of Voter Registration and
Elections for DeKalb County, KRISTI
ROYSTON, in her official capacity as
Elections Supervisor for Gwinnett County,
RUSSELL BRIDGES, in his official
capacity as Elections Supervisor for
Chatham County, ANNE DOVER, in her
official capacity as Acting Director of
Elections and Voter Registration for
Cherokee County, SHAUNA DOZIER, in
her official capacity as Elections Director
for Clayton County, MANDI SMITH, in
her official capacity as Director of Voter
Registration and Elections for Forsyth

CIVIL ACTION FILE NO.

20200343255

Fuiton County Superior Court
*“EFILED*" QW

Date. 12/4/2020 6:26 PM
Cathelene Robinson, Clerk

 

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EXHIBIT

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County, AMETKA PITTS, in her official
capacity as Director of the Board of
Elections & Registration for Henry
County, LYNN BAILEY, in her official
capacity as Executive Director of Elections
for Richmond County, DEBRA
PRESSWOOD, in her official capacity as
Registration and Election Supervisor for
Houston County, VANESSA WADDELL,
in her capacity as Chief Clerk of Elections
for Floyd County, JULIANNE ROBERTS,
in her official capacity as Supervisor of
Elections and Voter Registration for
Pickens County, JOSEPH KIRK, in his
official capacity as Elections Supervisor
for Bartow County, and GERALD
MCCOWN, in his official capacity as
Elections Supervisor for Hancock County,

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Respondents.

‘

VERIFIED PETITION TO CONTEST GEORGIA’S PRESIDENTIAL ELECTION
RESULTS FOR VIOLATIONS OF THE CONSTITUTION AND LAWS OF THE STATE
OF GEORGIA; AND REQUEST FOR EMERGENCY DECLARATORY AND
INJUNCTIVE RELIEF

 

COME NOW Donald J. Trump, in his capacity as a Candidate for President, Donald J.
Trump for President, Inc., and David J. Shafer, in his capacity as a Georgia Registered Voter and
Presidential Elector pledged to Donald Tromp for President. (collectively “Petitioners”),
Petitioners in the above-styled civil action, by and through their undersigned counsel of record,
and file this, their Verified Petition to Contest Georgia’s Presidentiat Election Results for

Violations of the Constitution and Laws of the State of Georgia, and Request for Emergency

 

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Declaratory and Injunctive Relief (the “Petition”)}, respectfully showing; this honorable Cort as

follows:

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INTRODUCTION

The United States Constitution sets forth the authority to regulate federal elections: “The
Times, Places and Manner of holding Elections for Senators and Representatives shall be
prescribed in each State by the Legislature thereof; but the Congress may at any time by Law make

or alter such Regulations, except as to the Places of choosing Senators.” U.S, Const. art. I, § 4.
2.

With respect to the appointment of presidential electors, tite Constitution further provides,
“{elach State shall appoint, in such Manner as the Legislature thereof may direct, a Number of
Electors, equal to the whole Number of Senators and Representatives to which the State may be

entitled in Congress.” U.S. Const. art. IT, § 1.

3.

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In Georgia, the General Assembly is the “legistature.” See Ga. Const. art. TE, § 1, para. 1,
4.

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Pursuant to the legislative power vested in the Georgia - General Assembly (the

“Legislature”), the Legisiature enacted the Georgia Election Code.governing the conduct of

elections in the State of Georgia. See O.C.G.A. §§ 21-2-1 et seq. (the.“Election Code”).
5.

Thus, through the Election Code, the Legislature promulgated’ a statutory framework for

choosing the presidential electors, as directed by the Constitution, «+,

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 30 of 261

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In this case, Petitioners present to this Court substantial ‘evidence that the November 3,
2020, Presidential Election in Georgia (the “Contested Election”) was not. conducted in accordance

with the Election Code and that the named Respondents deviated significantly and substantially

from the Election Code.

Due to significant systemic misconduct, fraud, and other irregularities occurring during the
election process, many thousands of illegal votes were cast, counted, and included in the
tabulations from the Contested Election for the Office of the President of the United States, thereby

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creating substantial doubt regarding the results of that election.

Petitioners demonstrate that the Respondents’ repeated violations of the Election Code

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constituted an abandonment of the Legislature’s duly enacted':frarnework for conducting the
election and for choosing presidential electors, contrary to Geotgia law and the United States

Constitution.

9,

Petitioners bring this contest pursuant to O.C.G.A. §21-2-522;" °. :
EG.

“Honest and fair elections must be held in the selection of the officers for the government
of this republic, at all levels, or it will surely fall. If [this Court] placé[s] its stamp of approval

upon an election held in the manner this one [was] held, it is only.a matter of a short time until

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 31 of 261

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unscrupulous men, takirig advantage of the situation, will steal the offices from the people and set
up an intolerable, vicious, corrupt dictatorship.” Bush v. Johnson, 111-Ga. App. 702, 705, 143

$.B.2d 21, 23 (1965). ao

The Georgia Supreme Court has made clear that it is not incumbent upon Petitioners to
shaw how voters casting irregular ballots would have voted had their ballots been regular.
Petitioners “only [have] to show that there were enough irregular'ballots to place in doubt the
result.” Mead v, Sheffield, 278 Ga. 268, 271, 601 S.E.2d 99, 101. (2004) {citing Howell v. Fears,
275 Ga. 627, 628, 571 S.E.2d 392, 393 (2002). vo

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To allow Georgia’s presidential election results to stand uncohtested, and its presidential
electors chosen based upon election results that are erroneous, unknowable, not in accordance with
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the Election Code and uhable to be replicated with certainty, constitutes a fraud upon Petitioners

and the Citizens of Georgia, an outcome that is unlawful and must not be'permitted.
THE PARTIES
13.

President Donald J, Trump (“President Trump”) is Président of the United States of
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America and a natural ptrson. He is the Republican candidate for reelection to the Presidency of

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the United States of America in the November 3, 2020, General Election conducted in the State of
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Georgia.

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Donald J. Trump for President, Inc. is a federal candidate committes registered with,
reporting fo, and governed by the regulations of the Federal Blection Commission, established
pursuant to 52 U.S.C. §§ 30101 et seq. as the principal authorized c¢ commitice of President Trump,
candidate for President, which also serves as the authorized committee for the election of the Vice
Presidential candidate on the same ticket as President Trump (the “Committee”). The agent
designated by the Committee j in the State of Georgia is Robert Sinners; Director of Election Day
Operations for the State of Georgia for President Trump (aleve te “Trump Campaign’).
The Trump Campaign serves as the primary organization suppoiting te: .election of presidential

electors pledged to President Trump and Vice President Pence,
15,

David J. Shafer (“Elector Shafer”) is a resident of the State Gf Géorgia and an agerieved
elector who was entitled to vote, and did vote, for President Trump in the November 3, 2020,
General Election. Elector Shafer is an elector pledged to vote for President Trump at the Meeting

of Electors pursuant to United States Constitution and the laws of the State of Georgia.
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Petitioners are “Contestants” as defined by O.C.G.A. § 2-2-520(1) who are entitled to

bring an election contest under 0.C.G.A. § 21-2-521 (the “Election Contest”).

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 33 of 261

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Respondent Brad Raffensperger is named in his official capacity as the Secretary of State
of Georgia.' Secretary Raffensperger serves as the Chairperson of Georgia’s State Election Board,
which promulgates and enforces rules and regulations to () obtain uniformity in the practices and

proceedings of election officials as well as legality and purity in all primatits and general elections,

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and (ii) be conducive to the fair, legal, and orderly conduct of primaries and general elections. See
O.C.G.A, $§ 21-2-30(d), 21-2-31, 21-2-33.1. Secretary Raffénsperger, as Georgia’s chief

elections officer, is also responsible for the administration of the Election'Code. id.
18.

Respondents Rebecca N. Sullivan, David J. Worley, Matthew ‘Mashburn, and Anh Le in
their official capacities as members of the Georgia State Election Board (the “State Election
Board”), are members of the State Election Board in Georgia,-responsible for “formulat[ing],
adoptfing], and promulgatfing] such rules and regulations, consistent with law, as will be
conducive to the fair, legal, and orderly conduct of primaries and ‘élections. O.C.G.A, § 21:2-
31(2). Further, the State Election Board “promulgatefs] rules and'régulations to define uniform

and nondiscriminatory standards concerning what constitutes a vote and'what will be counted as a

vote for each category of voting system” in Georgia. O.C.G.A. §.21-2+31(7}.

 

' Secretary Raffensperger is.a state official subject to suit in his official capacity because his office “imbues him
with the responsibility to enforce the [election laws].” Grizz/e v. Kemp, 634 F.3d 1314,.1319 (11th Cir. 2011).

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19.

Respondent Richard L. Barron is named in his official capacity-as Director of Registration
and Elections for Fulton County, Georgia, and conducted the Cofitested Election within that

county,
20,

Respondent Janine Eveler is named in her official capacity as Director of Registration and

Elections for Cobb County, Georgia, and conducted the Contested Election within that county,
21.
Respondent Erica Hamilton is named in her official ‘capacity as Director. of Voter
Registration and Elections for DeKalb County, Georgia, and conchictedsthe Contested Election

within that county.
22,

Respondent Kristi Royston is named in her official capacity-as Elections Supervisor for

Gwinnett County, Georgia, and conducted the Contested Election-within that county.
23.

Respondent Russell Bridges is named in his official capacity. as ‘Elections Supervisor for

Chatham County, Georgia, and conducted the Contested Election, within that county,

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24,

Respondent Anne Dover is named in her official capacity as Acting Director of Elections

and Voter Registration for Cherokee County, Georgia, and conducted the Contested Election

within that county.
25.

Respondent Shaima Dozier is named in her official capacity as: Blections Director for

Clayton County, Georgia, and conducted the Contested Election within that county.

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Respondent Mandi Smith is named in her official capacity as Director of Voter Registration

and Elections for Forsyth County, Georgia, and conducted the,Cantested Election within that

county,

27.

Respondent Ameika Pitts is named in her official capacity,asRirector of the Board of

Elections & Registration for Henry County, Georgia, and conducted the Contested Election within

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that county.

28,

Respondent Lynn Bailey is named in her official capacity .as. Executive Director of
Elections for Richmond County, Georgia, and conducted the Contested Election within that

county.

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29,

Respondent Debra Presswood is named in her official capacity as Registration and Election

Supervisor for Houston County, Georgia, and conducted the Contested Election within that county.

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30. oe
Respondent Vanessa Waddell is named in her official capacity as Chief Clerk of Elections

for Floyd County, Georgia, and conducted the Contested Election within that county,

31,

ek
Respondent Julianne Roberts is named in her official capacity as Supervisor of Elections

and Voter Registration for Pickens County, Georgia, and conducted the.Contested Election within

that county.
32.

Respondent Joseph Kirk is named in his official capacity -és Elections Supervisor for

Barstow County, Georgia, and conducted the Contested Election within that county.
33.

Respondent Gerald McCown is named in his official capacity as-Elections Supervisor for
Hancock County, Georgia, and conducted the Contested Election withia that county.

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All references to Respondents made herein include named Respondent and those election

workers deputized by Respondents to act on their behalf during the Contested Election.

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JURISDICTION AND VENUE": * a

35.

Jurisdiction is proper in this Court pursuant to O,.C.G.A. § 21-2-523(a) as the Superior
Court of the county where Secretary Raffensperger, the State Board of Elections, and Respondent

Richard L. Barron are located. See also Ga. Dep't of Human Sérvsv! Dougherty Cty., 330 Ga.

App. 581, 582, 768 S.E.2d 771, 772 (2015).
36.
Venue is proper before this Court. oe a
FACTUAL BACKGROUND : : |
The Georgia Election Code and Election Contes Provisions

37. me

The Election Code sets forth the manner in which the Citizens of Georgia are allowed to
participate in the Legislature’s duty of choosing presidential electors By specifying, inter alia,
which persons are eligible to register to vote in Georgia, the circumstances and actions by which
a voter cancels his or her voter registration, the procedures for voting injperson and by absentee
ballot, the manner in which elections are to be conducted, and the specific protocols and procedures

for recounts, audits, and recanvasses. See O.C.G.A. §§ 21-2-1 et seq:
38.

The Election Code in 0.C.G.A. § 21-2-522 provides the means for a candidate in a federal

election to contest the results of said election based on:

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be ate tty

1, Misconduct, fraud, or irregularity by any primary or election official or officials
sufficient to change or place in doubt the resuit; te ty ’

2. When the defendant is ineligible for the nomination or office in dispute;

3. When illegal votes have been received or legal volés#éjécted at the polls
sufficient to change or place in doubt the result; ;

4. For any error in counting the votes or declaring the result of the primary or
election, if sich error would change the results; or

5. For any other cause which shows that another was the person legally nominated,
elected, or eligible to compete in a run-off primary or.election.?

39, ‘heeds! a

The results of an election may be set aside when a candidate has “clearly established a
violation of election procedures and has demonstrated that the violation has placed the result of
the election in doubt.” Martin v. Fulton Cty. Ba. of Registration & Elections, 307 Ga, 193-94, 835

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Fa,

907 §.E.2d 723 (1998)

(emphasis added),
40.

The Election Code “allows elections to be contested through litigation, both as a check on
Deed ore
the integrity of the election process and as a means of ensuring the fundamental right of citizens

‘ 4 teh wee
to vote and to have their votes counted securely.” Martin, 307 Ga. at 194.
41.

The Georgia Supreme Court has made clear that “it fis] not incuntbent upon [Petitioners]

to show how... voters would have voted if their .. . ballots had been regular. [Petitioners] only

ha[ve] to show that there were enough irregular ballots to- place in doubt ‘the result.” Mead at 268

(emphasis added).

 

* Petitioners do not contest pursuant O.C.G.A. § 21-2-522 Ground (2).

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The Contested Election

42.

On November 3, 2020, the Contested Election for electors for President of the United States

took place in the State of Georgia.
43,

President Trump, former Vice President Joseph R. Biden (Mr. Biden), and Jo Jorgensen

were the only candidates on the ballot for President in the Contested ‘lection.
44,

The original results reported by Secretary Raffensperger ‘for the Contested Election (the
“Original Result”) consisted of a purported total of 4,995,323 votes cast, with Mr. Biden “ahead”

by a margin of 12,780 votes.
45,

The results of the subsequent Risk Limiting Audit conducted bythe Secretary of State (the
“Risk Limiting Audit”) included a total of 5,000,585 votes cast, with Mr. Biden “ahead” by a

margin of 12,284 votes.

46,

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at

On November 20, 2020, the Contested Election was declared and, certified for Mr. Biden

by a margin of only 12,670 votes (the “Certified Result”)3 -

 

ti.

3 The first certified number of votes.

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47,

On November 21, 2020, President Trump and the Trump Campaign notified Secretary

Raffensperger of President Trump’s request to invoke the statutory recount authorized by

“Statutory Recount”), A true and correct copy of President roms request for the Statutory

Recount is attached hereto and incorporated by reference as Exhibit 1,
48.
The Statutory Recount is ongoing as of the time of the filing of his Petition.
49,

On multiple occasions Secretary Raffensperger announced’ he: does not anticipate the

Statutory Recount to yield a substantial change in the results of the Contested Election. ..
50.

On December 1, 2020, Robert Gabriel Sterling, Statewide Voting System Implementation

Manager for the Secretary of State, gave a press conference to discitss the status of the ongoing

Statutory Recount.
51.

During his press conference, Mr. Sterling stated that at least fwo counties needed to
recertify their vote counts as the totals reached during the Statutory Recount differed from the

Certified Results,

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22,

As of the date of this Petition, not all of Georgia’s 159 counties have certified their results

from the Statutory Recount.

33.

: '

Consequently, as of the date of this Petition, Secretary Raffensperger has yet to certify the

results from the Statutory Recount.
54.

The presidential. electors of the States are scheduled to:méet.on December 14, 2020.

Therefore, this matter islripe, and time is of the essence,

i

55,

An actual controversy exists.

56. Tree figs

Because the outcome of the Contested Election is in doubt, Petitioners jointly and
severally hereby contest Georgia’s November 3, 2020, election results for President of the

United States pursuant te O.C.G.A, §§ 21-2-521 and 21-2-522, et:seq.,¢
| *

37.

Petitioners assert that the laws of the State of Georgia governing the conduct of the
Contested Election weré disregarded, abandoned, ignored, altered, and otherwise violated by

Respondents, jointly and severally, allowing a sufficient number of illegal votes to be included in

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the vote tabulations, such that the results of the Contested Election are invalid, and the declaration

BEM

of the presidential election in favor of Mr. Biden must be enjoined, vacated, and nullified.

Footy

THERE WERE SYSTEMIC IRREGULARITIES AND VIOLATIONS OF THE
GEORGIA ELECTION CODE IN THE CONTESTED ELECTION

Requirements to Legally Vate in Georgia

58.

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The Election Code sets forth the requirements for voting in Georgia, including the
requirements that a voter must be: (1) “Registered as an elector in the manner prescribed by law;
(2) A citizen of this state and of the United States; (3) At least 18 years ofage on or before the date
of the...election in which such person seeks to vote; (4) A resident of this state and of the county
or municipality in which he or she seeks to vote; and (5) "Possessed of all other qualifications
prescribed by law.” O.C.G.A. § 21-2-216(a). “No person shall reiridin ah elector longer than such

person shall retain the qualifications under which such person registered.” O.C.G.A. §21-2-

216(f).
59,

In violation of O.C.G.A, § 21-2-216, Respondents, jointly and severally, allowed thousands
of unqualified persons to register to vote and to cast their vote in the Contested Election, These
illegal votes were counted in violation of Georgia law. Exhibits 2,3, 4, and 10 attached hereto

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and incorporated by reference.

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60.

0.C.G.A, §21-2-216(b) provides that “[nJo person who has been convicted of a felony
involving moral turpitude may register, remain registered, or vote except ‘upon completion of the

sentence.”
61,

In violation of O.C.G.A. § 21-2-216(b), Respondents, joiatly and severally, allowed as
many as 2,560 felons with an uncompleted sentence to register to ‘vote and to cast their vote in the

Contested Election. Exhibit 3 attached hereto and incorporated by reference,
62.

In violation of Georgia law, Respondents, jointly and severally, counted these illegal votes

in the Contested Election,
63.

“Any person who possesses the qualifications of an electorexcept that concerning age shall
be permitted to register to vote if such person will acquire such qualification witliin six months

after the day of registration.” O.C.G.A. § 21-2-216(c).

he

64.

In violation of O.C.G.A. § 21-2-216(c), Respondents, jointly and severaily, allowed at least
66,247 underage—and therefore ineligible—people to illegally register to vote, and subsequently

illegally vote. See Exhibit 3.

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n
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65.

In violation of Georgia law, Respondents, jointly and severally, counted these illegal votes

in the Contested Election.
. Watts ‘,

66.
In order to vote in Georgia, a person must register to vote. . ,
' 67,

Respondents, jointly and severally, allowed at least 2,423 individuals to vote who were not

listed in the State’s records as having been registered to vote. See Exhibit 3.
68,

Respondents then, jointly and severally, improperly cotinted. these illegal votes in the

Contested Election.
69.

Because determining a voter’s residency is necessary to confirm. he or she is a qualified

I
voter in this state and in the county in which he or she seeks to vote; the-Election Code provides
tules for determining a Voter’s residency and when a voter’s residency. is.deemed abandoned. See

O.C.G.A. § 21-2-217.

70, :
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“The residence of any person shall be held to be in that place in which such person’s

habitation is fixed.” O.C.G.A. § 21-2-217(a){1).

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Additionally, “{t]he specific address in the county...in which a person has declared a
homestead exemption...shall be deemed the person's residence address.” O.C.G.A. § 21-2-

217(a)(14).
72,

A voter loses his or her Georgia and/or specific county residence if he or she: (1)
“register[s] to vote or perform[s] other acts indicating a desire to change such person’s citizenship
and residence;” (2) “removes to another state with the intention of making it such person’s
residence;” '{3) “removeés to another county or municipality in:this state with the intention of
making it such person’s residence;” or (4) “goes into another state and while there exercises the
right of a citizen by voting.” O.C.G.A. §21-2-217(a); see also O.C.G.A. § 21-2-218(9 (No
person shall vote in any county or municipality other than the county or municipality of such
person's residence except [an elector who moves from one county...éo another after the fifth

Monday prior to afn].. .election”] O.C.G.A.§ 21-2-218(e),)
73.

: sya st
In violation of O,C.G.A, § 21-2-217, Respondents, jointly ‘and severally, allowed at least
4,926 individuals to vote in Georgia who had registered to vote in andther state after their Georgia

t

voter registration date, See Exhibit 2.

TA.

It ts Illegal to vote in the November 3, 2020, general election for president in two-different

states.

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ge dk
) :

75,
it is long established that “one man” or “one person” has only one. vote,
76.

In violation of O,C.G.A. § 21-2-217, Respondents, jointly and severally, allowed at feast
395 individuals to votein Georgia who also cast ballots in another State, (the “Double Voters”).
! Kons nat

See Exhibit 2.

77,

The number of Double Voters is likely higher than 395, yet Respondents have the exclusive

capability and access to data to determine the true number of Double Voters, ,
78.

Respondents, jointly and severally, improperly counted these. illegal votes in the Contested

Election. Hote ee tts
' we dk

79.
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| ty
Despite having the exclusive ability to determine the true number of Double Voters in
|
Contested Election, to date Respondents, jointly and severally, have.failed to properly analyze and

remove the Double Voters from the election totals.
£0,
To date, and despite multiple requests, Respondents, jointly and severally, have failed to

provide identifying information or coordinate with the other 49 states and U.S. Territories to

adequately determine the number of Double Voters.

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81.

Respondents, jointly and severally, improperly counted these illegal votes in the Contested

Election.

$2.

In violation of O.C,.G.A. § 21-2-217, Respondents, jointly and severally, allowed at least
15,700 individuals to vote in Georgia who had filed a national change of.address with the United

States Postal Service prior to November 3, 2020. See Exhibit 2.
83.

Respondents, jointly and severally, improperly counted these illegal votes in the Contested

4

Election.
84,

Ifa Georgia voter “who is registered to vote in another county...in this state...moves such
person’s residence from that county...to another county...in this, state,” that voter “shail, at the
time of making application to register to vote in that county.. provide such information as
specified by the Secretary of State in order to notify such person’s former voting jurisdiction of
the person’s application to register to vote in the new place of residence and to cancel such persan’s
registration in the former, place of residence.” O.C.G.A. § 21-2-218(b); dee also The Democratic
Party of Georgia, Inc. v. Crittenden, Civil Action File No. ‘Te1B-CV-05 i81-SCJ, Doc. 33,
Supplemental Declaration of Chris Harvey, Elections Director of the Office of the Secretary of

State, § 11 (N.D. Ga. Nov. 13, 2018) (Ef the state allowed out of county voting, there would be

no practical way of knowing if'a voter voted in more than one county.”).

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85.

In violation of O.C.G.A, § 21-2-218(b), Respondents, jointly and severally, allowed at least
40,279 individuals to vote who had moved across county lines at least 30 days prior to Election

Day and who had failed to properly re-register to vote in their new county ‘after moving. Exhibit

4 attached hereto and incorporated by reference.
86.

Respondents, jointly and severally, improperly counted thése, illegal votes in the Contested

Election.
87.

In violation of O.C.G.A. § 21-2-217, Respondents, jointly and severally, allowed at least
1,043 individuals to cast ballots who had illegally registered to vote using a postal office box as

their habitation. See Exhibit 2.
88.

Respondents then, jointly and severally improperly counted, these illegal votes in the

Contested Election.
89,
A postal office box is not a residential address.
90,

One cannot reside within a postal office box.

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91.

It is a violation of Georgia law to list a postal office box as one’s voter place of habitation.

See 0.C.G.A. § 21-2-217(a)(1).

92.

A person desiring “to vote at any...general election” must apply to.register to vote “by the
close of business on the fifth Monday...prior to the date of such.: general election.” O.C.G.A. §
21-2-224(a).

93,

The application for registration is “deemed to have been made as of the date of the postmark
affixed to such application,” or if received by the Secretary of State through the United States
Postal Service, by “the close of business on the fourth Friday prior to a . . . general election.”

Me tae

O.C.G.A. § 21-2-224(c).
94,

In violation of O.C.G.A. § 21-2-224, Respondents, jointly and severally, allowed at least
98 individuals to vote who the state records as having registered after the last day permitted under

law. See Exhibit 3.
95,

Respondents, jointly and severally, improperly cotinted these illegal votes in the Contested

Election.

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96,

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“Each elector who makes timely application for registration, is found eligible by the board
of registrars and placed on the official list of electors, and is not subsequently found to be

disqualified to vote shall be entitled to vote in any...election.” O.C.G.A. § 21-2-224(d).
97.

Secretary Raffensperger is required to maintain and update a list of registered voters within

this state.
98.

On the 10th day of each month, each county is to provide to the, Secretary of State a list of
convicted felons, deceased persons, persons found to be non-citizens during a jury selection

process, and those declared mentally incompetent. See O.C.G.A. "§ 21-2-23 1(a)-(b), (d).
99.

In turn, any person on the Secretary of State’s list of registered voters is to be removed
from the registration list if the voter dies, is convicted of a felony, is declared mentally
incompetent, confirms in writing a change of address outside of the county, requests his or her
name be removed from the registration list, or does not vote or update. his or her voter’s registration

through two general elections, See O.C.G.A. §§ 21-2-231, 212-332" 315-235,

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100.

Respondents, jointly and severally, did not update the voter registration list(s).

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1.

In violation of O.C.G.A. § 21-2-231(a)-(b) and (d), Respondents, jointly and severally,
allowed as many as 10,315 or more individuals to vote who were deceased by the time of Election

Day. See Exhibit 3.
102.

Respondents, jointly and severally, improperly counted these illegal votes in the Contested

Election.
103.

OF these individuals, 8,718 are recorded as having perished: prior to the date the State

records as having accepted their vote. See Exhibit 3. be thea eed

104.

Respondents, jointly and severally, improperly counted these illegal votes in the Contested

Election. Bec ae

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105. '

For example, Affiant Lisa Holst received three absentee mail-in ballots for her late father-
in-law, Walter T. Holst, who died on May 13, 2010. Exhibit 5 attached hereto and incorporated

by reference.

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106.

Voter history shows that an absentee ballot was returned for Mr. Holst on October 28,

2020.

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107.

Someone deceased for (0 years should not have received thee absentee ballots.
108. er.

Someone deceased for 10 years should not have received any absentee ballot.
109.

Someone deceased for 10 years should not have had any absentee ‘baHot counted.

110.

Another Affiant, Sandy Rumph, has stated that her father-in-law, who died on September
9, 2019, had his voter registration change from “deceased” to “active”’8 days after he passed away.

Exhibit 6 attached hereto and incorporated by reference. ees
HL,

With his registration status change, his address was also changed online from his real

address in Douglasville to an unfamiliar address in DeKalb County:,d -
112.

Respondents jointly and severally failed to maintain and update, voter registration lists

which allowed voter registration information to be changed after the death of an elector.
113.

Respondents jointly and severally failed to maintain and update voter registration lists

which allowed absentee ballots to be used fraudulently.

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RESPONDENTS COMMITTED SUBSTANTIAL VIOLATIONS OF GEORGIA LAW
. WITH RESPECT TO ABSENTEE BALLOTS

114.
The Legislature'has established procedures for absentee voting in the state,
115.

Pursuant to O.G.C.A. 21-2-381, absentee ballots must be.requested by the voter, or the
voter’s designee, before they can be sent out.

116,

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vi

£28 Eb :
In violation of O.C.G.A. § 21-2-381, Respondent Raffenspérgérent unsolicited absentee

balict applications before the 2020 primary election to all persons‘oni'the list of qualified electors,

whether or not an application had been requested by the voter.
117,

The unlawfully sent applications allowed the recipient to checka box to request an absentee
ballot for the Contested Election in advance of the period for which an absentee ballot could be

requested,

“tn

118. Whe 58

f . ob * Oy
Individuals wishing to vote absentee may apply for a mail-in:ballot “not more than 180
days prior to the date of the primary or election.” O.C.G.A. § 21+2:381{a)(I)(A) (emphasis
added).

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119.

In violation of O.C.G.A. § 21-2-381(a)(1){A), Respondents, jointly and severally, allowed

7

at least 305,701 individuals to vote who, according to State records, applied for an absentee ballot

more than 180 days prior to the Contested Election. See Exhibit3. —
120.

Respondents then, jointly and severally, improperly counted these illegal votes in the

Contested Election. Jed.
121.

Pursuant to O.C.G.A. § 21-2-381(b) an absentee voter must-have requested an absentee

ballot before such ballot is capable of being received by the voter, : .
' 122.

If such applicant is eligible under the provisions of the Election Code, an absentee ballot

is to be mailed to the voter.

4
123.

In violation of O.C.G.A. § 21-2-385, Respondents, jointly and severally, allowed at least
92 individuals to vote whose absentee ballots, according to State records, were returned and

accepted prior to that individual requesting an absentee ballot. See Exhibit 3.
124,

Respondents then, jointly and severally, improperly counted.these illegal votes in the

Contested Election. fd.

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125,

Absentee ballots may only be mailed after determining the applicant is registered and

Rt Yr

eligible to vote in the election. O.C.G.A. § 21-2-381(b)(L).
126. cS

In violation of O.C.G.A. § 21-2-381(b}(1), Respondents, jointly and severally, allowed
state election officials to mail at least 13 absentee ballots to individuals who were not yet registered

to vote according to the state’s records. See Exhibit 3.
127.

Respondents then, jointly and severally, improperly counted these fllegal votes in the
wet OE

Contested Election. Ja.
128. “4

Pursuant to O.C.G.A. § 21-2-384(a)(2) absentee ballots may,not, be mailed more than 49

days prior to an election.
‘ 129,

Respondents, jointly and severally, mailed at least 2,664 absentee ballots to individuals

prior to the earliest date permitted by law. See Exhibit 3.
130.

Respondents then, jointly and severally, improperly courited these ilegal votes in the

Contested Election. Ja.

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WO ds 24

According to State records, Respondents jointly and severally allowed at least 50
individuals to vote whose absentee ballots were returned and accepted prior to the earliest date that

absentee ballots were permitted by law to be sent out. See Exhibit 3.
132.

Respondents then, jointly and severally improperly counted these illegal votes in the

Contested Election. Jd

133,

An absentee voter's application for an absentee ballot must have been accepted by the
election registrar or absentee ballot clerk in order for that individuals absentee ballot vote to be

counted. O.C.G.A. § 21-2-385.
134.

In violation of 0.C.G.A. § 21-2-385, Respondents, jointly,and:severally, allowed at feast 2
individuals to vote whose absentee ballot applications had been rejected, according to state records.

see Exhibit 3.

135.

read

Respondents, jointly and severally, improperly counted! these.J llegal votes in the Contested

Election. fd.

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136.

It is not possiblé for an absentee voter to have applied by miail, been issued by mail, and
returned by mail an absentee ballot, and for that ballot to have accepted by election officials, all

on the same day,
137,

In violation of O.C.G.A, § 21-2-384, Respondents, jointly and severally, allowed at least
217 individuals to vote whose absentee ballots, according to state records, Were applied for, issued,

and received all on the same day. See Exhibit 3.
138.

Respondents then, jointly and severally, improperly counted these illegal votes in the

Contested Election. Jd.

RESPONDENTS FAILED TO COMPLY WITH GEORGIA LAW PROVISIONS FOR
MATCHING SIGNATURES AND CONFIRMING VOTER IDENTITY FOR ELECTORS
SEEKING TO VOTE ABSENTEE

139. VOR WS

0.C.G.A, §21-2-381(b) mandates the procedures to be followed by election officials upon

receipt of an absentee ballot application:

“Upon receipt of a timely application for an absentee ballot, a registrar or absentee
ballot clerk, ..shall determine...if the applicant is eligible to, vote in the...election
involved. In order to be found eligible to vote an absentee ballot by mail, the
registrar or absentee ballot clerk shall compare the identifying information on
the application with the information on file in the registrar’s office and, if the
application is signed by the elector, compare the signature ‘or mark of the
elector on the application with the signature or mark of ‘tte elector on the
clector’s voter registration card. In order to be found eligible to'vote an absentee
ballot in person...shall show one of the forms of identification listed in Code
Section 21-2-417 and the registrar or absentee ballot clerk’ shall compare the

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identifying information on the application with the information on file in the
registrar’s office.” O.C.G.A. § 21-2-381(b) (emphasis added). -

140. Boi

O.C.G.A. § 21-2-386(a)(1)(B) mandates the procedures to bé followed by election officials

upon receipt of an absentee ballot:

Upon receipt of each [absentee] ballot, a registrar or clerk shall write the day and
hour of the receipt of the ballot on its envelope. The registrar or clerk shall then
compare the identifying infermation on the oath with the information on file
in his or her office, shall compare the signature or make on the oath with the
signature or mark on the absentee elector’s voter card or the most recent
update to such absentee elector’s voter registration card and application for
absentec ballot or a facsimile of said signature or maker taken from said card
or application, and shall, if the information and signature appear to be valid and
other identifying information appears to be correct, so. certify by signing or
initialing his or her name below the voter's oath. Each elector’same so certified
Shall be listed by the registrar or clerk on the numbered list of absentee voters
prepared for his or her precinct. O.C.G.A, § 21-2-386(a)(1)(B) {emphasis added).

141. eo

O.C.G.A. § 21-2-386(a)(1)(C) mandates the procedures to be followed by election officials

with respect to defective absentee ballots:

If the elector has failed to sign the oath, or if the Signature doés not appear to
be valid, or if the elector has failed to furnish required - information: or
information so furnished docs not conform with that on file in the registrar’s
or clerk’s office, or if the elector is otherwise found disqualified to vote, the
registrar or clerk shalt write across the face of the envelope “Rejected,” giving the
reason therefor, The board of registrars or absentee ballst‘clérk shail promptly
notify the clector of such rejection, a copy of which notificationshalf be retained
in the files of the board of registrars or absentee ballot clérk‘for at least one year.

O.C.G.A. § 21-2-386(a}(1)(C) (emphasis added), - a i

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RESPONDENT RAFFENSPERGER DISREGARDED THE ELECTION CODE BY FIAT
AND INSTRUCTED THE RESPONDENT COUNTIES TO DO LIKEWISE

142.

On March 6, 2020, Respondents Raffensperger and the State Election Board entered into a
“Compromise and Settlement Agreement and Release” (the “Consent Decree”) in litigation filed
by the Democratic Party of Georgia, Inc., the Democrat Senatorial Campaign Committee, and the
Democratic Congressional Campaign Committee (collectively the “Demoorat Party Agencies”).‘

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A true and correct copy of the Consent Decree is attached hereto dnd inéétporated by reference as

Exhibit 7.
143,

The litigation was one of more than one hundred lawsuits nationwide filed by Democrats
and partisan affiliates of the Democratic Party to seeking to rewrite the duly enacted election laws

of the states, Exhibit 8 attached hereto and incorporated by reference. 7

144,

er

Without legislative authority, Respondents unlawfully addpted'stiindards to be followed by

the clerks and registrars in processing absentee ballots inconsistent with the election code.
145.

The Consent Decree exceeded Respondents’ authority under the Georgia Constitution. See
Ga. Const. art. Hl, §1; Exhibit 15 attached hereto and incorporated by-reference; see also O.C.G.A,

§ 21-2-31 (providing that the State Election Board shall “formulate, adopt, and promulgate such

 

* See Democratic Party of Georgia, Inc., et al. v. Raffensperger, et al., Civil Action File No. 1:19-ev-05028-WMR,
Doc. 56-1, Joint Notice of Settlement as to State Defendants, Att. A, Compromise Settlement Agreement and
Release (N.D. Ga, Mar. 6, 2020). Wee om, CRT .

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tules and regulations, consistent with the law, as will be conducivé'te the fair, legal, and orderly
conduct of primaries and elections” (emphasis added)). ia OA

146.

The Consent Decree changed the plain language of the statutéforreceiving and processing

absentee ballot applications and bailots.
147.

The Consent Decree increased the burden on election officials to:conduet the mandatory

signature verification process by adding additional, cumbersome steps: 1.2
148.

For example, the Consent Decree tripled the number of personnel required for an absentee

» +

ballot application or ballot to be rejected for signature mismatch. 1-3. ae te
149,

The unlawful Consent Decree further violated the Election Code by purporting to allow
election officials to match signatures on absentee ballot envelopes against the application, rather
than the voter file as required by O.C.G.A. §§ 21-2-381, 21-2-385i--:\,

RESPONDENTS DID NOT CONDUCT MEANINGFUL VERIFICATION OF
ABSENTEE BALLOT APPLICANT AND VOTER IDENTITIES
150.
Notwithstanding the unlawful changes made by the Corisent*Deoree, the mandatory

signature verification and voter identification requirements were not altogether eliminated.

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Despite the legal requirement for signature matching and Voter identity verification,

Respondents failed to ensure that such obligations were followed by election officials, Exhibit 9

attached hereto and incorporated by reference.
152,

According to state records, an unprecedented 1,768,972 absentee ballots were mailed out

in the Contested Election. Exhibit 10 attached hereto and incorporated by reference,

153. ele Uh

OF the total number of absentee ballots mailed out in the Contested Election, 1,317,000

oot

were returned (i.¢., either accepted, spoiled, or rejected). Id. baste
154.

The number of-absentee ballots returned in the Contested Election represents a greater than
500% increase over thé 2016 General Election and a greater than 400%, increase over the 2018

General Election. Jd.

155.

The state received over a million more ballots in the Contested. Election than the 2016 and

201% General Elections. fa.
156,

The number of returned absentee ballots that were rejected in the,Contested Election was

4,471, yielding a 0.34% rejection rate. Id.

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157.

The number of returned absentee ballots that were rejected in the 2016 General Election

was 6,059, yielding a 2.90% rejection rate. Id.
158.

The number of returned absentee ballots that were rejected in the 2018 General Election

was 7,889, yielding a 3.46% rejection rate. Jd.

wo4y

159,

Stated differently, the percentage of rejected ballots fell to 0.34% in 2020 from 2.9% in

2016 and 3.46% in 2018, despite a nearly sixfold increase in the number of ballots returned to the

state for processing.
160.

The explosion in the number of absentee ballots received, counted, and included in the
tabulations for the Contested Election, with the simultaneous precipitous drop in the percentage of
absentee ballots rejected, demonstrates there was little or no proper review and confirmation of the

eligibility and identity of absentee voters during the Contested Election.

61.

Had the statutory procedure for signature matching, voter identity and eligibility
verification been followed in the Contested Election, Georgia’s historical absentee ballot rejection
rate of 2.90-3.46% applied to the 2020 absentee ballot returned and processed, between 38,250

and 45,626 ballots should have been rejected in the Contested Eléctign. See Exhibit 10.

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RESPONDENTS VIOLATED GEORGIANS’ FUNDAMENTAL RIGHT TO A
_ TRANSPARENT AND OPEN ELECTION

162.

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" tad 3
Mable

A fair, honest, and transparent vote count is a comerstoné of democratic elections.
INTERNATIONAL INSTITUTE FOR DEMOCRACY AND ELECTORAL ASSISTANCE, INTERNATIONAL

ELECTORAL STANDARDS, GUIDELINES FOR REVIEWING THE LEGAL FRAMEWORK OF ELECTIONS

(2002).
163.

All citizens, including Georgians, have rights under the United States Constitution to the
full, free, and accurate,elections built upon transparency and verifiability. Purcedl v. Gonzalez,

549 U.S. 1, 4, 1278. Ct. 5, 7 (2006) (per curiam).

 

164.

Citizens are entitled—and deserve—to vote in a transparent system that is designed to
protect against vote dilution. Bush v. Gore, 531 U.S. 98, 104-05, 121 §. Ct. 525, 529-30 (2000);
Anderson v. United States, 417 U.S. 211, 227 (1974); see also Baker vy. Carr, 369 U.S. 186, 208,

82 §. Ct. 691, 705 (1962).
165.

This requires that votes be counted, tabulated and consolidated. in the presence of the
representatives of parties and candidates and election observers, ‘and that the entire process by
which a winner is determined is fully and completely open to public scrutiny. INTERNATIONAL

ELECTORAL STANDARDS at 77.

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166.

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The importance of watchers and representatives serving as an important check in elections

is recognized internationally. Jd.
167.

Georgia law recognizes “the fundamental right of citizens to vote and to have their votes

counted accurately.” Martin at 194 (emphasis added).

168. woe

The right to have one’s vote counted accurately infers a right to a free, accurate, public,
and transparent election, which is reflected throughout Georgia election law. Cf Ellis v. Johnson,
263 Ga. 514, 516, 435 $.B.2d 923, 925 (1993) (“Of particular importance is that the General

Assembly has provided the public with the right to examine... the actual counting of the ballots,

... and the computation and canvassing of returns... -”),
169.

Georgia law requires “[s]upetintendents, poll officers, and other officials engaged in the
conducting of primaries and elections . . . shall perform their duties in public.” O.C.G.A. §21-2-

406. at a

170.

Each political party who has nominated a candidate “shall-be entitled to designate ... state-

wide poll watchers.” O.C.G.A. § 21-2-408 (b)(2).

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171.

Poll watchers “may be permitted behind the enclosed space for the purpose of observing

the conduct of the election and the counting and recording of votes.” 0.C.G.A. § 21-2-408 (d),
172.

“All proceedings at the tabulating center and precincts shall be open to the view of the

public.” O.C.G.A, § 21-2-483(b),
173.

Under O.C.G.A, § 21-2-493, “[t}he superintendent shall,-at or.before 12:00 noon on the
day following the primary or election, at his or her office or at some other.convenient public place
at the county seat or in the municipality, of which due notice of shall have been given as provided
by Code Section 21-2-492, publicly commence the computation and canvassing of returns and

continue the same from the day until completed.” (Emphasis added.) an

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Bes Fe an

174,

During the tabulation of votes cast during an election, vate review panels are to convene
to attempt to determine a voter’s intent when that intent is unclear-from the ballot, consisting of

equal Republican and Democratic representation. See O.C.G.A. § 21-2-483(g)(2).
175, _

The activities of the vote review panel are required to be open to the view of the public,

‘See O.C.G.A. § 21-2-483(a). Bo

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176,
Moreover, Respondent Raffensperger declared that for the Risk Limiting Audit:

Per the instructions given to counties as they conduct their audit triggered full hand
recounts, designated monitors will be givea complete access to observe the
process from the beginning. While the audit triggered recount must be open to
the public and media, designated monitors will be able to observe more closely.
The general public and the press will be restricted to a public viewing area.
Designated monitors will be able to watch the recount while standing close to
the elections’ workers conducting the recount.

Political parties.are allowed to designate a minimum of two monitors per county at
a ratio of one monitor per party for every ten audit boards in a county ..... Beyond
being able to watch to ensure the recount is conducted fairly and securely, the
two-person audit boards conducting the hand recount call out the votes as they are
recounted, providing monitors and the public an additional way to kecp tabs
on the process.>

177. Te ih in

Respondents, jointly and severally, violated Petitioners’ “findamental right to a free,
accurate, public, and transparent election under the Constitution of the’State of Georgia in the
Contested Election and the Risk Limiting Audit. See composite Affidavit Appendix attached

hereto and incorporated by reference as Exhibit 17.

178.

Respondents, jointly and severally, violated provisions of the Georgia Election Code

mandating meaningful public oversight of the conduct of theelection and the counting and

recording of votes in the Contested Election and the Risk Limitirig Audit. Id.

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* Office of Secretary of State Brad Raffensperger, Monitors Closely Observing Audit-Triggered Full Hand Recount:
Transparency is Built Into Process (Nov. 17, 2020),
https://sos.ga.gov/index.php/etections/inanitors_closely_observing_audit_triggered_full_hand_recount_transparency
_ts_bullt_into_ process. 7

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179,

Respondents, jointly and severally, failed to adhere to Respondent Raffensperger's own
guidelines promising a free, accurate, public, and transparent process ih the Risk Limiting Audit,

fa.

RESPONDENTS HAVE ADMITTED MISCONDUCT, FRAUD, AND WIDESPREAD
IRREGULARITIES COMMITTED BY MULTIPLE COUNTIES

180.
The Secretary of State has admitted that multiple county. election boards, supervisors,
employees, election officials and their agents failed to follow the Blestioi ‘Code and State Election
Board Rules and Regulations.°
181, “ foe

The Secretary of State has called The Fulton County Registration and Elections Board and
its agents’ (“Fulton County Elections Officials”) job performance’ prior to: ‘and through the Election
Contest “dysfunctional. ”

182. ween

The Secretary of State and members of his staff have repeatedly criticized the actions, poor

judgment, and misconduct of Fulton County Elections Officials.

 

* Note: These are samples and not an exhaustive list of the Secretary of State’ $ admissigns of Respondents’ failures
and violations of Georgia law. : u

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183.

Fulton County Elections Officials’ performance in the 2020 piimary elections was so

dysfunctional! that it was fined $50,000 and subject to remedial measures.

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184. het aM

Describing Respondent Barron’s Fulton County Elections in, the Election Contest,
Secretary Raffensperger stated, “Us and our office, and I think the rest of the state, is getting a
little tired of always having to wait on Fulton County and always having to put up with [Fulton

County Elections Officials’} dysfunction."

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185,

t
The Secretary of State’s agent, Mr, Sterling, said initial findings from an independent

monitor allegedly show “generally bad management” with Fulton’s-absentee ballets.”

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Fulton County Elections’ Deception and: Fraid ° .

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186.
The Secretary of State’s Office claims it is currently investigating a an incident where Fulton
County election officials fraudulently stated there was a “flood” and ‘a pipe burst,” which was

later revealed to be a “leaky” toilet.

 

7 Ben Brasch, Georgia Opens 2 Investigations into Fulton's Elections Operations, The Atlanta Journal-Constitution
(Noy. 17, 2020), https:/Avww.ajc.com/news/atlanta-news/georgia-opens-2-investigations-into-fultons-elections-
operations/EVCBN4ZJTZELPDHMH63POL3RKQ/.

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187,

wey

At approximately 10:00 p.m, on November 3, 2020, Fulton County Election Officials, who
were handling and scanning thousands of ballots at the State Farm Arena, instructed Republican
poll watchers and the press that they were finished working for ihe day and that the Republican
poll watchers and the ptess were to leave. The Fulton County Elections’ Officials further stated

that they would restart their work at approximately 8:00 a.m. on Novémber 4, 2020.
188.
The Fulton County Election Officials lied.

189,

Deliberate misinformation was used to instruct Republican poll watchers and members of
the press to leave the premises for the night at approximately 10:00.p-m. on November 3, 2020.

Exhibits 12, 13, and 14 attached hereto and incorporated by reference. a

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190.

After Fulton County Elections Officials lied and defrauded the Republican poll watchers
and members of the press, whereby in reasonable reliance the Republican poll watchers and
members of the press left the State Farm Arena (where they had been observing the ballots being
processed), without public transparency Fulton County Elections Officials continued to process,

handle, and transfer many thousands of ballots. See Exhibit 14. wes
191.

Fulton County Elections Officials’ fraudulent statements not only defrauded the

Republican poll watchers and the press, but also deprived every single Fulton County voter,

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Georgian, American, and Petitioners of the opportunity for a transparént election process and have

thereby placed the Election Contest in doubt.

Spalding County Elections & Vater Registration Supervisor and Her Agents’ Failures

192,

Respondent Raffensperger has called for the resignation of the Spalding County Elections
ly Ne

and Voter Registration Supervisor, who has, as of this filing, resigned?
193,

Respondent Ratfensperger cited “serious management issues’ and’ poor decision-making”

by Election Supervisor Marcia Ridley during the Contested Election.
Floyd County Elections & Voter Registration Supervisor dnd Her Agents’ Failures
194,

Respondent Raffensperger has called for the resignation Sf the Executive Director of the

ween “7%

Floyd County Board of Registrations and Elections for his failure.to follow proper election

protocols.”

 

* David Wickert, Georgia Officials Call for Spalding Election Director to Resign, The Atlanta Journal-Constitution
(Nov. 17, 2020), htips://www.ajc.com/polities/election/georgia-officials-call-for-gpalding-election-director-to-
resign/¥ YUISCBS VSETHDZPM3NSRIVV6A/. er
* Jeffrey Martin, Georgia Secretary of State Calls for Resignation of County Eléetion Director After 2,600 Ballots
Discavered (Nov. 16, 2020); hitps://www.newsweek.conVgeorgia-sccretary-state-calls-resignation-county-election-
director-after-2600-ballots-discovered~1547874. ce

 

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t

RESPONDENTS CONSPIRED TO DISREGARD THE ELECTION CODE AND TO
SUBSTITUTE THEIR OWN UNLAWFUL EDICTS

195.

In violation of O.C.G.A. § 21-2-386 et seq. the State Board of Election promulgated arule
that authorized county élection board to begin processing absentee ballots on the third Manday
preceding the election, provided they give the Secretary of State and the public notice of such

intention to begin processing absentee ballots.

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196.

Failure to follow the process directed by the statute is a derogation of the Election Code
and denies voters the ability to cance! their absentee ballot up until Election Day.

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197, ; t
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a gate

Respondents, jointly and severally, were complicit in conspiring to violate and violating

the Election Code.
198,

Asa direct and proximate result of Respondents multiple, continued, and flagrant disregard
of the Election Code, the outcome of the Contested Election is not capable of being known with

certainty.

199.

Boe, eg
Petitioners incorporate by reference and reallege all prion, paragraphs of this Petition and

the paragraphs in the Counts below as though set forth fully herein.

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200.

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ph

Despite Respondents receiving substantial funding from the Center for Technology and
Civic Life (CTCL), Respondents failed to use such funds to train the election workers regarding
signature verification, the proper procedures for matching signatures, and how to comply fully

with the Election Code. Exhibit 11 attached hereto and incorporated ‘by reference.
201.

Due to the lack of uniform guidance and training, the Signature verification and voter
woe
identity confirmation was performed poorly or not at all in some. counties and served as virtually

no check against improper voting. See Exhibit 9.

RESPONDENT SECRETARY OF STATE MUST ALLOW AND CONDUCT AN AUDIT
OF THE SIGNATURES ON ABSENTEE BALLOT APPLICATIONS AND ABSENTEE
BALLOTS IN ORDER TO DETERMINE WHETHER THE SIGNATURES WERE
PROPERLY MATCHED PRIOR TO BEING COUNTED'‘AND INCLUDED IN THE

TABULATIONS

202,

The data regarding the statistically tiny rejection rate of absentee ballots cast and counted
in the Contested Election gives rise to sufficient concerns that there were irregularities that should

be reviewed and investigated. oe eg

203.

Petitioners have brought these concerns about the signature matching and voter verification
process to the attention of Respondent Raffensperger on five separate occasions since the
Contested Election, requesting that the Secretary conduct an audit ofthe signatures on the absentee

ballot applications and absentee ballots, via Letter on November 10, 2020; Letter on November

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12, 2020; Letter on November 23, 2020; Email on November 23, 2020, and again via Letter on

November 30, 2020. Exhibit 18 attached hereto and incorporated by reference.

204. -
The Secretary of State is obligated by law to “to permit the public inspection or copying,

in accordance with this chapter, of any return, petition, certificate, Paper, account, contract, report,

or any other document or record in his or her custody.” 0.G.C.A. 8 21-2- 2-586()
205.

Failure to comply with any such request by the Secretary of State or an employee of his or

her office shall [constitute] a misdemeanor.” O.G.C.A. § 21-2-586(2). wcEA
206.

The Secretary of State’s refusal on five separate occasions to comply with requests to
produce the signatures used to request absentee ballots and to.confirm, the identities of those

individuals requesting such ballots in the contested election is a violation of O.G.C.A. § 21 2

586(a).
207, vu

In order for the Secretary of State to comply with O.G.GA:§ 21-2-586(a), professional
handwriting experts recommend a minimum of Ten Thousand ( 10,000} absentee ballot signatures

be professionally evaluated. Exhibit 16 attached hereto and incorporated by reference.

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208,

Petitioners respectfully request that the Court order the production of the records of the
absentee ballot applications and absentee ballots, for purposes of ‘conducting an audit of the

signatures on absentee ballot applications and absentee ballots cast in the Contested Election.

THERE ARE MYRIAD REPORTS OF IRREGULARITIES AND VIOLATIONS OF
THE ELECTION CODE DURING THE CONTESTED ELECTION

209,

Petitioners have received hundreds of incident reports regarding problems, irregularities,

and violations of the Election Code during the Contested Election.

210. ee “: omy

From those reports, Petitioners have attached affidavits from'dazéiis of Citizens of Georgia,
sworn under penalty of perjury, attesting to myriad violations of law corimitted by Respondents

during the Contested Election. See Exhibit 17. seat
211.

The affidavits are attached to this Petition as an Appendix, with details of the multiple

violations of law. Jd.

212. vee a
Also included in the Appendix are sworn declarations . from data experts who have
conducted detailed analysis of irregularities in the State's voter records. See Exhibits 2, 3, 4, and

10.

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COUNTS

COUNT E:
ELECTION CONTEST
0.C.G.A §21-2-521 et seq.

213.

Petitioners incorporate by reference and re-allege paragraphs | through 212 this Petition as

set forth herein verbatim,

214, Sats
Respondents, jointly and severally, have violated the Constitution‘of the State of Georgia.

215.

Respondents, jointly and severally, have violated the laws of the State of Georgia.

216.

Respondents, jointly and severally, have violated the Election Code.

217,

Respondents, jointly and severally, have violated State Election Board Rules and

Regulations.

218.

Respondents, jointly and severally, have violated the basic tenants of an open, free, and

fair election.

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219,
Respondents, jointly and severally, have failed in their duties to their constituents, the

people of the State of Georgia, and the entire American democratic process,

220.

The Contested Election has been timely and appropriately contested per O.C.G.A. § 21-2-

522 et seq.

221.

As a direct and proximate result of Respondents’ actions, the Contested Election is fraught

with misconduct, fraud, and irregularities,

222,
Due to the actions and failures of Respondents, many thousands of itlegal votes were
accepted, cast, and counted in the Contested Election, and legal votes were rejected.

4

223,
The fraud, misconduct, and irregularities that occurred’ under the “supervision” of

Respondents are sufficient to change the purported results of the Contested Election.
er

224.
The fraud, misconduct, and irregularities that occurred under the “supervision” of

Respondents are sufficient to place the Contested Election in doubt.-

225,
faa tg

Respondents’ misconduct is sufficient to change the purported results in the Contested

Election in President Trump’s favor.

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226,
wo
Respondents’ misconduct is sufficient to place the purported Contested Election results in

doubt,

227,

Respondents, jointly and severally, erred in counting the votes in the Contested Election.

228.

Respondents’ erior in counting the votes in the Contested Election would change the result

in President Trump’s favor,

229, a '
Leet ol, ata
bo 4

Respondents, jointly and severally, erred in declaring the Contested Election results in

favor of Mr. Biden.

230.

24 3
i a

Respondents’ systemic negligent, intentional, willful, and reckless violations of the
Georgia Constitution, Georgia law, as well as the fundamental! premise of a free and fair election
created such error and irregularities at every stage of the Contested Eléction—from registration
through certification and every component in between—that the outcome of the Contested Election

is in doubt.

231,
Asa result, there is substantial doubt as to the outcome of the Contested Election, and the
Contested Election and any certification associated therewith shall be enjoined, vacated, and
nullified and either a new presidential election be immediately ordered.that complies with Georgia

Leaeit,

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law or, in the alternative, that such other just and equitable relief is obtained so as to comport with

the Constitution of the State of Georgia!” See O.C.G.A. § 21-2-522.

COUNT TG:

VIOLATIONS OF THE GEORGIA CONSTITUTION’S HQvAl PROTECTION
PROVISION

232.

Petitioners incorporate by reference and re-allege paragraphs 1 through 212 f this Petition
as set forth herein verbatim. ‘
233.

The Constitution of the State of Georgia provides, “Protection and property is the
paramount duty of government and shall be impartial and complete. No person shall be denied

» ' t

the equal protection of the laws.” Ga. Const. art. I, § I, para. IL.
234,

Under Georgia’s Equal Protection Clause, “the government is required to treat similarly
situated individuals in a similar manner.” State v. Jackson, 271 GA5 (1999), Favorito v. Handel,

285 Ga. 795, 798 (2009) (citation and quotations omitted). See Exhibit 15.
235, pe

This requires establishing a uniform procedure for all counties to conduct absentee voting,

advance voting, and Election Day in-person voting.

 

In the event this Court enjoins, vacates, and nullifies the Contested Election; the Legislature shall direct the
maaner of choosing presidential electors. U.S. art Il, § 1; see also Busi v. Gare, $31 US. 98.

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236,

Respondents, jointly and severally, failed to establish such uniform procedure for the

verification of signatures of absentee ballots.

 

237,

Respondents, jointly and severally, failed to establish a uniform level of scrutiny for

signature matching.
238,

Respondents, jointly and severally, failed to train those who would be conducting signature

verification on how to do so,

239.

Pee
mh

The burdens of applying for and voting an absentee ballot were different in various counties

throughout the State of Georgia. DO a
240,

Electors voting via by absentee mail-in ballot were not required to provide identification,

other than a matching signature.
241,

Electors voting in person were required to show photo identification and verify the voter's

identity. eee td

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nots

242, eee

The burdens of applying for and voting via absentee mail-in ballot were different from

those for absentee in person.
243,

Georgia voters were treated differently depending on how they voted (i.e., whether by mail

or in person), where they voted, when they voted, and for whom they voted.
244.

aya ark .
An elector in one county casting a ballot would not have his or her ballot treated in a similar

manner as a voter in a different county.
245.

Electors in the same county would not have their ballots treated in a similar manner as

electors at different precincts.
246.

Electors in the same precinct would not have their ballots treated in a similar manner whose

votes were tabulated using different tabulators.
247,

Respondents, jointly and severally, failed to establish uniform procedures for treating

similarly situated electors similarly,

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248,

Respondents’ systemic failure to even attempt uniformity across the state is a flagrant

violation of the Constitution of the State of Georgia.
249.

Such a violation of the rights of the Citizens of Georgia constitutes misconduct and

irregularity by election officials sufficient to change or place in doubt the result of the Contested

Election,
250.

As a result, there is substantial doubt as to the outcome of the Contested Election, and the
Contested Election and any certification associated therewith should be enjoined, vacated, and
nullified and either a new presidential election be immediately ordered that complies with Georgia
law or such other just and equitable relief is obtained so as to comport with the Constitution of the

State of Georgia. See O.C.G.A. § 21-2-522. 4 : ny

COUNT II: .
VIOLATIONS OF THE GEORGIA CONSTITUTION’S DUE PROCESS PROVISIONS
251.

Petitioners incorporate by reference and re-allege paragraphs:i through 212 of this Petition

and Count II as set forth herein verbatim.
252, a

Pursuant to the Constitution of the State of Georgia, “No person Shall be deprived of life,

liberty, or property except by due process of law.” Ga. Const. art. [, §], para, I.

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253,

Moreover, “All citizens of the United States, resident in this state, are hereby declared
citizens of this state; and it shall be the duty of the General Assembly to’ enact such laws as will

protect them in the full enjoyment of the rights, privileges, and immunities dué to such citizenship.”

Ga. Const. art. I, § 1, para. VIL

254.
The right to vote is a fundamental right.

255.

When a fundamental right is allegedly infringed by government action, substantive due
process requires that the infringement be narrowly tailored to serve a-compelling state interest.
Ola S. Duck Tours v. Mayor & Aldermen of City of Savannah, 272 Ga. 869, 872, 535 §.E.2d 751,
754 (2000),

256.

By allowing illegal ballots to be cast and counted, Respondents diluted the votes of

qualified Georgia electors.
257,

By allowing illegal ballots to be cast and counted, Respondents, by and through their

misconduct, allowed the disenfranchisement of qualified Georgia‘electors.

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258.

Respondents, jointly and severally, violated the Due Process protections of qualified

Georgia Electors guaranteed by the Georgia State Constitution.
259.

As a result, there is substantial doubt as to the outcome of the Contested Election and any
certification associated therewith should be enjoined, vacated, and nullified and either a new
presidential election be immediately ordered that complies with Georgia law or such other just and

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equitable relief is obtained so as to comport with the Constitution of the State of Georgia.

COUNT IV:
DECLARATORY JUDGMENT AND RELIEF
260.

‘

Petitioners incorporate by reference and re-allege paragraphs | through 259 of this Petition

as set forth herein verbatim.

261.

This claim is an-action for a declaratory judgment pursuant to O.C.G.A. §§ 9-4-1 et seq.
A ete

a

262.

An actual controversy is ripe and exists between Petitioners and Respondents with regard
;

to the misconduct, fraud, and irregularities occurring in the Contested Election, specifically

including but not limited to:

a. The illegal and improper inclusion of unqualified voters on Georgia’s voter list;
b. allowing ineligible voters to vote illegally in the Contested Election;

c. whether the Contested Election results are invalid:
b

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x

d. whether the Consent Decree is unauthorized under Georgia law such that it is null
and void, and unlawfully interfered with the proper adininistration of the Election
Code; °

e. whether the results of the Contested Election are null and void.

263. .

wo

It is necessary and proper that the rights and status amongst the parties hereto be declared.

264,
This Honorable Court is a Court of Equity and therefore endowed with the authority to hear
and thé power to grant declaratory relief.
265,
As a result of the systemic misconduct, fraud, irregularities, violations of Georgia law, and
errors occurring in the Contested Election and consequently inorder to cure and avoid said

uncertainty, Petitioners ‘seek the entry of a declaratory judgment providing that:
oot af

a. ineligible and unqualified individuals are unlawfully" inchided on Georgia’s voter
role;

b, unregistered, unqualified, and otherwise ineligible voters cast their votes during the
Contested Election;

c. the Consent Decree is unauthorized under Georgia law and is therefore null and
void; and

d. the results of the Contested Election are null and void.

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COUNT V:

REQUEST FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY AND
PERMANENT INJUNCTIVE RELIEF. “

266. .
Petitioners incorporate by reference and re-allege paragraphs | through 265 of this Petition

as set forth herein verbatim.

267,
Petitioners seek an emergency temporary restraining order,-as -well as preliminary and

permanent injunctive relief per O.C.G.A, § 9-11-65, to:

a, Order expedited discovery and strict compliance with all open records requests;

b. Order Respondents to respond to this Petition withit 3 days;

c. Require Respondents to immediately fulfill theif obligations under the Election
Code to properly maintain and update Georgia’s list of iegistered voters to remove
ineligible voters;

d. Prevent ‘Respondents from allowing unqualified, unregistered, and otherwise
ineligible individuals from voting in Georgia elections? including but not limited to
the upcoming January 5, 2021 run-off"!;

e. Require an immediate audit of the signatures on ‘absentee ballot applications and
ballots as described in Exhibit 16; Seb ak

f. Enjoin and restrain Respondents from taking any" further actions or to further
enforce the Consent Decree; ae

g. Prevent the certification of the results of the Contested Election;

euryece

 

7

" To the extent ineligible voters have already voted absentee for the January 5, 2021, Tunolf, those votes should be
put into a provisional status, “

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h, Enjoin the Secretary of State from appointing the Electors to the Electoral College;
i. Order a new Presidential Election to occur at the earliest opportune time; and
J. For such other relief that this Court deems just and proper under the circumstances.

268, _—
In the absence of an emergency temporary restraining order and preliminary and permanent
injunctions, Petitioners (and the Citizens of Georgia and the United States) will suffer. irreparable
harm for which there is no adequate remedy at law, while injunctive relief will cause no harm te

ve

Respondents.

269, Ba
Immediate and irreparable injury, loss, or damage will resultto the Petitioners (as well as
the Citizens of Georgia and the United States) if the requested emergency injunctive relief is not

granted,

270.
There will be immediate and irreparable damage to the Citizens of Georgia by allowing an
illegal, improper, fraudulent, error-ridden presidential election to be certified, thereby improperly

appointing Georgia’s electors for Mr. Biden even though the Contested Blection is in doubt.

271. ve
There will be irreparable damage to the Citizens of Georgia through their loss of confidence
in the integrity of the election process by virtue of the illegal votes ticlided in the tabulations of
the Contested Election, which outweighs any potential harm to Respondents.
272. _

Granting the requested relief will not disserve the public interest.”

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273,

Petitioners will be irreparably injured in the event the prayed for injunctive relief is not

granted.

274,

It is further in the public interest to grant Petitioner’s request for emergency injunctive
relief so that Georgia voters can have confidence that the January 5, 2021, Senate clection is

conducted in accordance with the Election Code.

275. Cet

. Od
As carly as possible, notice to Respondents of Petitioners’ mation for emergency injunctive

|
relief will be made via émail and / or telephone.

278.

te

Petitioners are further entitled to the injunctive relief sought herein because there is a

substantial likelihood of success on the merits.

277.
t
The damage to Petitioners is not readily compensable by money, -

278,

The balance of equities favors entry of a temporary restraining order and injunctive relief

against Respondents and would not be adverse to any legitimate public interest.

4

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WHEREFORE, Petitioners respectfully pray as follows for emergency and permanent

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relief as follows:

1. That this Court, pursuant to 0, C. G, A. § 21-2-523, expeditiously assign & Superior Court
or Senior Judge to preside over this matter;

2. That this Court issue a declaratory judgment that systemic, material violations of the
Election Code during the Contested Election for President of the United States occurred
that has rendered the Contested Election null and void as a matter of law;

3. That this Court issue a declaratory fudgment that systemic, material violations of the
Election Code during the Contested Election violated the voters’ due process rights under
the Georgia Constitution have rendered the Contested Election null and void as a matter of
law; ne, |

4. That this Court issue a declaratory judgment that systemic, material violations of the
Election Code violated the voters’ equal protection rights under the Constitution of the
State of Georgia that have rendered the Contested Election pull and void as a matter of
law;

5. That the Court issue an injunction requiring all Respondents to decertify the results of the
Contested Election;

6. That the Court order a new election to be conducted in thé presideptial race, in the entirety

_ of the State of Georgia at the earliest date, to be conducted in accordance with the Election
Code; -

7, Alternatively, that the Court issue an injunction prohibiting the Secretary of State from

appointing the slate of presidential electors due to the. systenic irregularities in the

. o'G

Contested Election sufficient to cast doubt on its outcome;

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That the Court order expedited discovery and hearing, since time is of the essence, given
the legal requirements that the presidential electors from the ‘State of Georgia are to meet
on December 14, 2020, and that the electoral votes fromthe Stite of Georgia are to be
delivered to and counted by the United States Congress on fartuary 6, 2021;

That this Court issue a declaratory judgment that the Consent Decree violates the

Constitution of the State of Georgia and the laws of the State.of Georgia;

10. Alternatively, that the Consent Decree be stayed during the pendency of this matter;

1

12.

13.

14.

15.

. That the Court order Respondents to make available 10,000 absentee ballot applications

and ballot envelopes from Respondents, as per Exhibit 16, and access to the voter
registration database sufficient to complete a full audit, including but not limited to a
comparison of the signatures affixed to absentee ballot applications and envelopes to those
on file with the Respondents: |

That the Court order the Secretary of State and other Respondents to release to Petitioners
for inspection all records regarding the Contested Election pursuant ta O.C\G.A. § 21-2-
386; Le Be TAD

That the Court order all Respondents to immediately identify And remove felons with
uncompleted sentences, cross-county voters, out-of-state voters, deceased voters, and other
ineligible persons from Respondents’ voter rolls within the next 30 days;

That the Court declare that all rules adopted by the Respondent Secretary of State or the
State Election Board in contravention of the Georgia > Election Code be invalidated,
specifically regarding the authentication and processing | of, absentee ballots, to wit State

Election Board Rule 183-1-14-0.9-.15;

That the Court order such other relief as it finds just and proper.

“ee

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 90 of 261

Respectfully submitted this 7th day of December, 2020.

Five Concourse Parkway
Suite 2600

Atlanta, Georgia 30328
Telephone: (404) 760-6000
Facsimile: (404) 760-0225

_ 3 Bradiey Park Court
Suite F
Columbus, Georgia 31904
Telephone: (706) 221-9371
Facsimile; (706) 221-9379

Page 64 of 64

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SMITH & LISS, LLC’ ”

ésf Ray &, Smith HT

RAY S.SMITH, HI. -_ .

Georgia Bar No. 662555 ©

Attorney jor Petitioners Donald J. Trump, in his
capacity as a Candidate for President, and Donald
J. Trump for President,-Inc. .

MARK POST LAW, LLC

és/ Mark C. Post

MARK C.POST . 33}
Georgia Bar No. 585575. -.

Attorney for Petitioner David J. Shafer, in his
capacity as a Registered Voter and Presidential
Elector Candidate pledged to Donald Trump for
President
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 91 of 261

Fulton County Superior Court
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Date: 12/9/2020 5:06 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONALD J. TRUMP; IN HIS CAPACITY AS *
A CANDIDATE FOR PRESIDENT ; x Civil Action No. : 2020CV343255
DONALD J. TRUMP FOR PRESIDENT, INC,

*
DAVID J. SHAFER, IN HIS CAPACITY AS A
REGISTERED VOTER AND PRESIDENTIAL
ELECTOR PLEDGED TO DONALD TRUMP ¥
FOR PRESIDENT, *
Petitioners, *
Vv.
BRAD RAFFENSPERGER, IN HIS OFFICIAL
CAPACITY AS SECRETARY OF STATE OF
GEORGIA, et. al,,
Respondents.
ORDER ON CASE STATUS

 

The action was filed on December 4, 2020. On December 8, 2020 Petitioners filed a
voluntary withdrawal of their Motion for Emergency Injunctive Relief. The request for
emergency relief having been withdrawn, the action shall proceed in the normal course. Al!
counsel seeking admission pro hac vice must comply with Uniform Superior Court Rule 4.4.

So Ordered This F Day of 7D eacel) , 2020.

Judge Constance C, Russel!
Fulton County Superior Court
Atlanta Judicial Circuit

   

 

 

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 92 of 261

Fulton County Superior Court
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Date: 12/10/2020 7:32 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONALD J. TRUMP, in his capacity as a
Candidate for President, ef af
Petitioners,

v.
BRAD RAFFENSPERGER, in his official capacity

)
}
)
) Civ. Act. No. 2020CV343255
)
)
As Secretary of State of Georgia, et al, )
)

 

NOTICE OF EMERGENCY REQUEST TO APPOINT
ADMINISTRATIVE LAW JUDGE

COME NOW THE PETITIONERS, by and through the undersigned counsel, and hereby

respectfully provide Notice of their Emergency Request to Appoint an Administrative Law Judge

pursuant to O.C.G.A. § 21-2-523 and in support state as follows:

FACTS

Petitioners filed the instant action on December 4, 2020.

On December 9, 2020, Petitioners filed a Motion for Leave to Amend the Complaint along
with an Amended Complaint and new and pending emergency motion for injunctive relief to

account for the Secretary of State’s certification of the re-count results that occurred after

Petitioner’s initial filing.

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On December 9, 2020, the Honorable Constance C. Russell was assigned the case and

entered an Order on Case Status and in said order stated that the matter “shall proceed in the normal

course.”

Judge Russell is a resident of Fulton County, GA.

Judge Russell has not taken senior status at this time.

Petitioners respectfully suggest that Judge Russell lacked authority to enter such an Order

and to preside over this case under the Georgia Election Code.

Pursuant to O.C.G.A. § 21-2-523 (c) when a contest petition is filed, the administrative
judge for that Judicial District is to be immediately notified. Under 0.C.G.A. § 21-2-523 (d) if
the administrative judge is a member of the Circuit in which the proceeding was filed, then the
administrative judge shall select an administrative judge of an adjoining district to select a Superior

Court judge from that district, or a senior judge who is not a resident of the circuit wherein the

proceeding was filed.
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In the context of the instant case filed in the Sth Judicial Administrative District, The

Honorable Chief Judge Christopher $, Brasher is the Administrative Judge.
9.

Because Judge Brasher is a member of the Atlanta Judicial Circuit, as are all members of
the 5th Administrative District, the statute requires he select an administrative judge of an
adjoining district viz. from the 4th, 6th ,7th, or 9th Judicial Districts.

10.

If Judge Brasher chooses the administrative judge from the 7" Judicial District, that judge
must choose a Superior Court judge from Cherokee, Cobb, Conasauga, Douglas, Lookout
Mountain, Paulding, Rome, or Tallapoosa counties.

If.

If Judge Brasher chooses the administrative judge from the 6"" Judicial District that Judge
must chose a superior court judge from Coweta, Griffin, Clayton, Flint or Towaliga counties to
preside.

12,

If Judge Brasher chooses the administrative Judge from the 4th Judicial District, that judge

must choose a Superior Court judge from Stone Mountain or Rockdale counties to preside.
13.

If Judge Brasher chooses the administrative judge from the 9th Judicial District, that judge

must choose a Superior Court judge from Appalachian, Blue Ridge, Bell-Forsyth, Gwinnett,

North-Eastern, Enotah, or Mountain counties.
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14.

Any of the aforementioned administrative judges could aiso select a senior status judge
who does not live in Fulton County.

15.

The law gives Judge Brasher complete discretion to choose which administrator shall
assign the judge to hear the case.

16.

Upon information and belief, Judge Russell was not appointed to this case pursuant to the
relevant statutes and is a current resident of Fulton County who is not yet on Senior Judge status.

17.

Since Judge Russell was not properly appointed to this case and lacked statutory authority

to preside, any action in this matter taken by her was void ab inifio.
18.

Petitioners are seeking an emergency appointment of a judge that is proper and mete to
preside over this action so as not to prejudice the legal rights of Petitioners to have a contested
election challenge under the Georgia Election Code.

19,

Due to the gravitas of the issues presented by this action, Petitioners are hopeful that this
_ matter and request is addressed promptly and sua sponte,

WHEREFORE, because the Honorable Constance C. Russell is a resident of Fulton
County and has not yet taken senior status, although a well respected jurist in Fulton County, she
therefore is unfortunately ineligible to serve as a presiding judge in this case and any Orders

entered by her were void ab initio, and Petitioners respectfully request that the Election Code be
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followed in an emergency appointment of a judge under the process set forth therein so as not to

create appellate error or causing undue delay.

Respectfully submitted, this 10" day of December, 2020.

   

FIRM, LLC

 

Lead Counsel for Petitioners

205 Norcross Street
Roswell, GA 30075

T: (770) 551-9310

F: (770) 551-9311

E: khilbert@hilbertlaw.com
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 97 of 261

IN THE SUPERIOR COURT OF FULTON COUNTY
, STATE OF GEORGIA

DONALD J. TRUMP, in his capacity as a
Candidate for President, DONALD J.
TRUMP FOR PRESIDENT, INC., and
DAVID J. SHAFER, in his capacity as a
Registered Voter and Presidential Elector
pledged to Donald Trump for President,

Petitioners,

¥,

BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of Georgia,
REBECCA N. SULLIVAN, in her official
capacity as Vice Chair of the Georgia State
Election Board, DAVID J. WORLEY, in
his official capacity as a Member of the
Georgia State Election Board, MATTHEW
MASHBURN, in his official capacity as a
Member of the Georgia State Election
Board, ANH LE, in her official capacity as
a Member of the Georgia State Election
Board, RICHARD L. BARRON, in his
official capacity as Director of Registration
and Elections for Fulton County, JANINE
EVELER, in her official capacity as
Director of Registration and Elections for
Cobb County, ERICA HAMILTON, in her
official capacity as Director of Voter
Registration and Elections for DeKalb
County, KRISTI ROYSTON, in her official
capacity as Elections Supervisor for
Gwinnett County, RUSSELL BRIDGES, in
his official capacity as Elections Supervisor
for Chatham County, ANNE DOVER, in
her official capacity as Acting Director of
Elections and Voter Registration for
Cherokee County, SHAUNA DOZIER, in
her official capacity as Elections Director
for Clayton County, MANDI SMITH, in
her official capacity as Director of Voter
Registration and Elections for Forsyth
County, AMEIKA PITTS, in her official

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Fulton County Superior Court
““EFILED**AC

Date: 12/11/2020 4:00 PM
Cathelene Robinson, Clerk

CIVIL ACTION FILE NO.

2020 CV 343255

—_ ITT —_—

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 98 of 261

capacity as Director of the Board of
Elections & Registration for Henry County,
LYNN BAILEY, in her official capacity as
Executive Director of Elections for
Richmond County, DEBRA PRESSWCOOD,
in her official capacity as Registration and
Election Supervisor for Houston County,
VANESSA WADDELL, in her capacity as
Chief Clerk of Elections for Floyd County,
JULIANNE ROBERTS, in her official
capacity as Supervisor of Elections and
Voter Registration for Pickens County,
JOSEPH KIRK, in his official capacity as
Elections Supervisor for Bartow County,
and GERALD MCCOWN, in his official
capacity as Elections Supervisor for
Hancock County,

Respondents.

 

SECOND MOTION FOR EMERGENCY INJUNCTIVE RELIEF AND
INCORPORATED BRIEF IN SUPPORT

COME NOW Petitioners DONALD J. TRUMP, in his capacity as a Candidate for
President and DAVID J. SHAFER, in his capacity as a Registered Voter and Presidential
Elector pledged to Donald Trump for President (“Movants”), and through their undersigned
counsel of record, and file this, Second Motion for Emergency Injunctive Relief and Incorporated
Memorandum of Law, respectfully showing this Honorable Court as follows.

On December 4, 2020, Petitioners filed a Verified Petition to Contest Georgia’s Presidential
Election Results for Violations of the Constitution and Laws of the State of Georgia, and a Request
for Emergency Declaratory and Injunctive Relief (the “Verified Petition”), in which, they sought an
injunction prohibiting the Georgia Secretary of State from certifying Georgia’s election results. (See
DE. 1.1.)

On December 7, 2020, Petitioner Shafer moved for Emergency Injunctive Relief. (See D.E.
3.)
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On December 8, 2020, the Georgia Secretary of State certified Georgia's Election results,
after which, Petitioners Voluntary withdrew their Motion for Emergency Injunctive Relief. (See
D.E. 10.)

Also, on December 8, 2020, Petitioners filed a Motion to Amend the Verified Petition (the
“Motion to Amend”) which, among other things, updated the facts regarding the Georgia Secretary
of State’s certification and added a new request for Emergency Injunctive Relief seeking to decertify
Georgia’s election results. (See DE. 16.) That Motion to Amend the Verified Petition is pending.

Movants now move for a Second Emergency Temporary Restraining order, as well as
preliminary and interlocutory injunctive and respectfully request a hearing on this And to set a
hearing for the Motion to Amend and this Second Motion for Emergency Injunctive Relief on

Monday, December [4, 2020, or as soon as possible thereafter,

Movants further ask that the Court, pursuant to O.C.G.A. § 9-11-65 and/or O.C.G.A. §§ 9-5-
1, 23-3-1 et seq.:

a. Decertify the certification of the results of the Contested Election by Respondent
counties and the Secretary of State:

b. Enjoin the Secretary of State from appointing the Electors to the Electoral College;

c. Order expedited discovery and strict compliance with all existing and future open
records requests;

d. Order Respondents to preserve any and all evidence concerning election documents
as contemplated by O.C.G.A. § 21-2-52, including without limitation, applications,
envelopes (whether exterior or interior envelopes, and whether stamped or not), and
any and all ballots;

¢. Require Respondents to immediately fulfill their obligations under the Election Code

to properly maintain and update Georgia's list of registered voters to remove ineligible

voters;
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h. Prevent Respondents from allowing unqualified, unregistered, and otherwise
ineligible individuals from voting in Georgia elections, including but not limited to
the upcoming January 5, 2021 run-off;

i. Require an immediate audit of the signatures on absentee ballot applications and

ballots as described in Exhibit 16;
J. Order a new Presidential Election to occur at the earltest opportune time; and

1. For such other relief that this Court deems just and proper under the circumstances.

1,

The date by which electors must vote in their respective states is not December 8, 2020, but

rather January 6, 2020. Thus, Petitioner's Petition is not moot or rendered moot, and is ripe to be heard

on an expedited basis.
2
Assuming the electors pledged to Trump meet on December 14, 2020, to cast their votes in
the state capitol and send their votes to the President of the Senate in time to be opened on January 6,

2020, a Court decision or state legislature action rendered after December 14, 2020 should be

considered timely.

3
As Justice Ginsburg noted in Bush v. Gore, the date which has “ultimate significance”

under federal law is the "sixth day of January.” 531 U.S, 98, 144 (2000) (Ginsburg, J., dissenting).

4,

Such ripeness is further illustrated by precedent from the 1960 presidential election.
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In that election, the electors from Hawaii pledged to Vice President Nixon cast their ballots with

certificates in hand from the governor of Hawaii certifying that Nixon had won the state by 141 votes.

6.

Kennedy's electors nonetheless met and vated on the day prescribed for the meeting of

electors (December 19, 1960).

7.
On the same day, a Hawaii court ordered a recount of the entire state.
8
On December 28" the Hawaii courts issued a final decision finding that Kennedy had in
fact won the state by 105 votes.
9,
Because the Kennedy electors had taken care to vote on the proper day and the governor signed
an amended certificate of election which was then reissued in time to be counted in Congress the

electoral votes were awarded to Kennedy.

10.
As supported by the 1960 Kennedy-Nixon contest, the real safe harbor deadline is therefore
January 6, 2021 and under Bush v. Gore, January 6 is the date the Senate and House meet for the
counting of electoral votes and 3 U.S.C, § 15 controls when the Senate and House determine "the

validity of electoral votes." Jd. 531 U.S. 98, 144 (2000) (Ginsburg, J., dissenting).

,

Thus, January 6, 2021 is the first date on which any electoral votes are actually counted.

On that date, the Twelfth Amendment directs, "[t}]he President of the Senate shall, in the presetice
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of the Senate and House of Representatives, open all the certificates and the votes shall then be

counted."

12.

Art. If, § 1, cl. 4, gives Congress the power to specify the date "on which [the electors] shall
give their votes, which Day shall be to same throughout the United States." Exercising that power,
Congress has mandated that the electors "shall meet and give their votes on the first Monday after the
second Wednesday in December" — this year, December 14, 2020 — “at such place in each State as

the legislature of such State shall direct." 3 U.S.C. § 7.

13.

Article I] requires that all electors throu ghout the United States vote on the same day, whether
Congress could validly count electoral votes cast on a later date. The basic responsibility of the
electors is to "make and sign six certificates of the votes given by them" for President and Vice
President, 3 U.S.C. § 9; "seal up the certificates so made by them," Jd, § J0; and forward them by
registered mail to the President of the Senate and toother officials. dd, § 11. These actions are carried

out without any involvement by state officials.

14.
It is also clear, that if, before the electors cast their votes, the candidates for whom they are
voting have been issued certificates of election, it is the duty of the governor to deliver the
certificates to the electors "on or before the day" they are required to meet, Jd at § 6, and the electors

are then to attach the certificates to the electoral votes they transmit to the President of the Senate.

Id. §9.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 103 of 261

12.

But acthing in federal law requires States to resolve controversies over electoral votes prior
to the meeting of the electors. Indeed, there is no set deadline for a State to transmit to Congress a
certification of which slate of electors has been determined to be the valid one. The duty of the state
governor is merely to transmit the certification “as soon as practicable after the conclusion of the
appointment of the electors in such State by the final ascertainment, under and in pursuance of the
laws of such State by the final ascertainment, under and in pursuance of the laws of such State

providing for such ascertainment..." Jd $6.

13.

The “safe harbor” provision of the Electoral Count Act, which purportedly mandates that a
final result reached in a State by the safe harbor date "shall be conclusive" when votes are counted in
Congress. 3 U.S.C. § 5. There is no legal authority stating that the Electoral Count Act, enacted by the
5 Congress in 1877, can have any binding effect on the 117" Congress which will convene on
January 3, regarding its authority and obligation to count electoral votes as it sees fit. The Senate,
which convenes in January, has the inherent authority to set whatever rules it wishes for deciding
challenges to the electoral votes cast in the 2020 election. This is consistent with Art. 1, § 5, providing

that "[each House may determine the Rules of its Proceedings...."

14,

Thus, since the true deadline is January 6, 2020, this action is not rendered moot and this

action is ripe to proceed.
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LEGAL STANDARD AND RELEVANT FACTS
13.

The emergency preliminary, interlocutory, and permanent injunctive relief requested by
Petitioners in this Second Motion is necessary in light of Defendants' past conduct as alleged in the
Verified Petition, incorporated herein by reference, and their stated intentions as to future conduct,
including a refusal to certify three different prior certifications of a Presidential election where there

is “sufficient evidence to change or place in doubt the result" due to “Misconduct, fraud or irregularity"

by any “election official.” O.C.G.A. § 21-2-522.

14.

In the absence of an emergency temporary restraining order, preliminary and interlocutory
injunctions, Petitioner (and the Citizens of Georgia and the United States) will suffer immediate and
irreparable harm for which there is no adequate remedy at law, while injunctive relief, if pranted, will
cause no harm or prejudice to Respondents, and will uphold the Declared public policy of this State

to "protect the integrity of the democratic process and to ensure fair elections for constitutional offices

w" OCGA, § 21-5-2.

15,

Respondents have a duty to implement the rules and regulations of the State Election Board
which in part is “to obtain uniformity in the practices and proceedings..." of elections as well as "the
legality and purity in all .... elections." O.C.G.A. § 21-2-31,

td.

Immediate and irreparable injury, loss, or damage will result to the Petitioners (as well as the

Citizens of Georgia and the United States) if the requested emergency preliminary, interlocutory, and

permanent injunctive relief is not granted because the Verified Petition alleges and sets forth and
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attaches actual data proof based on presumptively’ accurate government documents that the 2020

election was not “fair[ly], legalfly] and orderly" conducted. O.C.G.A. § 21-2-50,

V7.

There will be immediate and irreparable damage to the President in his capacity as a
Candidate for President if the wrong electoral slate is allowed to vote, thereby denying him
Georgia’s electoral votes. Petitioner David Schaffer in his official capacity as a presidential elector

and in his personal capacity as a registered voter in the State of Georgia by being precluded from

voting as an elector.

18

There will be immediate and irreparable damage to the Citizens of Georgia by allowing an
illegal, tmproper, fraudulent, irregular, error-ridden presidential election to be certified by an election
official that is a "Violator" as defined in O.C.G.A. § 21-2-2(37), thereby improperly appointing
Georgia's electors for Mr. Biden even though the Contested Election is in doubt and sufficient
evidence exists to change the result of the election. See Verified Complaint and
Declarations/A ffidavits attached thereto.

19.

There will be irreparable damage to the Citizens of Georgia through their loss of confidence
in the integrity of the democratic election process by virtue of 1) the illegal votes included in the
tabulations of the Contested Election, and 2) permitting an election official “Violator” to continue to

willfully violate provisions of the Election Code. The foregoing and the declared public policy of this

State outweighs any potential harm to Respondents.

 

 

'O.C.G.A. §803-8 et seq,
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 106 of 261

vi)
Granting the requested relief will not disserve the public interest, on the contrary, it is the

stated public policy of this State to require such relief in connection with elections.

al.

Movants will be irreparably injured in the event the prayed for injunctive relief is not granted.
Specifically, President Trump will be denied votes to which he is entitled in the electoral college and
potentially denied election to the presidency, David Schaffer, will be denied his ability cast 4 yote as

a member of the Electoral College for President Trump, and further his vote as a qualified Georgia

voter will be diluted,

22

It is further in the public interest and public policy to grant Movant’s request for emergency
injunctive relief so that Georgia voters can have confidence that the January 5, 2021, Senate
election is conducted in accordance with the Election Code and is a “pure” election free from

“misconduct, fraud or irregularity” that substantially alters the election.

2.

Movants are further entitled to the injunctive relief sought herein because there is a
substantial likelihood of success on the merits as the alleged misconduct, fraud or irregularity calls
into question validity of cast ballots that exceed the delta of the votes that Mr. Biden currently halds
in the election above Petitioner Trump, as Candidate. These same irregularities, if not enjoined,
shall substantially impact the upcoming Senate runoffs and will perpetuate fraud, misconduct and

uregularity that is repugnant to our democratic process and the required “purity” (O.C.G.A. § 21-
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 107 of 261

2-31) of elections in the State of Georgia; and the certification will be put in place by a "Violator."

(O.C.G.A. § 21-2-2(37))

a.
The damage to Petitioners is not readily compensable by money.

2B.

The balance of equities favors entry of a temporary restraining order, interlocutory, and/or
preliminary emergency injunctive telief, or other equitable relief imposed by this Honorable Court,

against Respondents and would not be adverse to any conceivable legitimate public interest.

2

As early as possible, notice to Respondents of this Second Motion for Emergency Injunctive
Relief will be made via email and / or telephone. Service of the Verified Petition is also in the process

of being served on the State Election Board as required by law.

ARGUMENT AND CITATION OF AUTHORITIES

Pursuant to O.C.G.A. § 9-11-65 ef Seq., @ temporary restraining order and an interlocutory
injunction may be issued if i clearly appears from specific facts shown dy an affidavit or by the
Verified Complaint that immediate and irreparable injury, loss or damage will result to Plaintiff.
0.C.G.A. § 9-11-65 ef seq. (Emphasis added.) An interlocutory injunction and TRO “are designed to
Preserve the status quo pending a final adjudication of the case, and in so doing, the trial court must
balance the conveniences of the parties pending the final adjudication, with consideration being given
to whether greater harm might come from granting the injunction or denying it.” Bijou Salon & Spa,

ELC v. Kensington Enterprises, Inc., 283 Ga. App. 857, 860, 643 S.E.2d 531 (2007).
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 108 of 261

A trial court "may issue an interlocutory injunction to maintain the status quo until the final
hearing if, by balancing the relative conveniences of the parties, it determines that they favor the
party seeking the injunction." Hampton Island Founders y. Liberty Capital, 283 Ga. 289, 293, 658
S.E.2d 619 (2008). "There must be some vital necessity for the injunction so that one of the
parties will not be damaged and left without adequate remedy." Id (Emphasis added.) The
granting and continuing of injunctions "shail always rest in the sound discretion of the judge,
according to the circumstances of each case" and "this power shail be prudently and cautiously
exercised and, except in clear and urgent cases, should not be resorted to." 0. C. G.A. § 9-5-8.
Moreover, equity itself requires under O.C.G.A. § 5-9-1, 23-3-1 e¢ seg. that this Honorable Court

exercise its inherently vested "equitable powers" to impose extraordinary measures through

equitable relief.

Here, it clearly appears from the Verified Petition and from the impending certification of the
2020 election has been tainted by misconduct, fraud or irregularity based on evidence that sufficiently
may change the outcome of the 2020 and 2021 elections or place in doubt the result of same, that there
is a vital necessity for the issuance of the injunction; otherwise, Petitioners will be irreparably harmed
and the entire election process shall be called into doubt.

First, as many as 2,560 felons with uncompleted sentences were allowed to register to vote

and cast ballots.

Second, at least 66,247 under-aged and therefore ineligible people illegally registered to vote
and subsequently voted.
Third, 4,926 individuals registered to vote in another state after having registered in

Georgia, effectively unregistering them as qualified voters in Georgia, At least 395 such

individuals voted.
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Fourth, at least 15,700 individuals voted in Georgia who filed a national change of address
form with the United States Post office.

Fifth, at least 40,279 individuals who moved across counties lines at least 30 days prior to
Election Day and failed to reregister after having moved voted.

Sixth, 1,043 registered to vote using a post office box as their habitation in violation of state
law.

Seventh, as many as 10,315 deceased persons voted in the Contested Election.

Fight, Respondents violated state law with respect to signature verification of absentee ballots.

Ninth, Respondents allowed at least 92 individuals to vote whose absentee ballots were
returned and accepted prior to the individual requesting an absentee ballot.

Tenth, Respondents allowed at least 50 individuals to vote whose absentee ballots were
returned prior to the earliest date that absentee ballots were permitted by law to be sent out.

Eleventh, the Secretary of State has admitted that multiple county election boards, supervisors,
employees, election officials and their agents failed to follow the Election Code and State election

Board Rules and Regulations, and called for several resignations.
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Twelfth, Fulton County committed fraud with how they claimed a “pipe burst" and when they
claimed they had finished counting ballots for the night and required all Republican monitors and
members of the public to leave the State Farm Arena before they resumed counting ballots,

Thirteenth, the Board of Elections and Registration of Coffee County submitted a letter to the
Georgia Secretary of State regarding inconsistencies with its electronic recount performed and
regarding its refusal to certify electronic results (which is attached to the Amended Petition) and 2 letter
to the Georgia House Governmental Affairs Committee containing an election summary report
containing inconsistencies (which is attached hereto as Exhibit A). And the Supervisor of the Coffee
County Board of Elections is recorded on video depicting systematic problems with their voting
tabulation machines. A copy of this video will be provided to the Court and has been tendered as part
of Exhibit 17 to the Petition. There are also photographs attached to an exhibit of an election official
monitor ignoring his official duties. Sze (Exhibit B attached hereto and incarporated herein).

Fifteenth, there are a myriad of other election irregularities detailed in the Complaint and its

attached exhibits incorporated by reference herein.

Simply put, if immediate emergency injunctive relief is not granted, irreparable harm and

injury to Petitioners will result.

WHEREFORE, Petitioners pray for the following relief:

(1) That the Court and/or Special Master issue a RULE NISI instanter and that the Court
conduct an emergency hearing on this Motion:

(2) That the Court issue a temporary restraining order, interlocutory and preliminary
injunction, and/or other injunction or equitable relief in favor of Petitioners;

(3) That the Court grant expedited discovery proceedings in this action, and limit the time

for response accordingly along with entry of any applicable or necessary Protective
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Orders to protect personal identifying information and other potentially sensitive
information;
(4) — And for such other and further relief as is Just, proper and equitable.

Respectfully submitted, this 11" day of December 2020,

 

 

Attorneys for Petitioners

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F: (770) 551-9311

E: khilbert@hilberilaw.com

15
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COFFEE COUNTY BOARD OF
ELECTIONS AND REGISTRATION

Erucstine Thomas-Clark, Chairman 224 West Ashley Street Erie Chancy, Member
Weal Stone, Vice-chairman Douglas, GA 31533 Matthew MeCullogh, Member
CT. Penvy, Member (912) 384-7018 _ Misty Martin, Etcction Supervisor

FAX (912) 384.1343 Jit Ridichoover Etcctions Assistant

E-Mail: misty-hempton@coleecounty-pa.eov
12/04/2020

Brad Raffensperger
214 State Capitol
Atlanta, GA. 30334

Dear Mr. Raffensperger,

The Coffee County Board of Elections and Registration cannot certify the electronic
recount numbers given its inability to repeatably duplicate creditable election results. Any
system, financial, voting, or otherwise, that is not repeatable nor dependable should not
be used. To demand certification of patently inaccurate results neither serves the

objective of the electoral system nor satisfies the legal obligation to certify the electronic
recount.

{am enclosing a spread sheet which illuminates that the electronic recount lacks
credibility. NO local election board has the ability to reconcile the anomalies reflected in
the attached. Accordingly, the Coffee County Board of Elections and Registration have
voted to certify the votes cast in the election night report. The election night numbers are
reflected in the official certification of results submitted by our office.

rd of Elections and R istration
, y
Al VUE 4 he.

Emestine Thomas-Clark
Chairperson

Signed by Chairperson by expressed permission and consent of 100% of the board,

Respectfully,
Coffee County B

    

 

   
  
 

    

cc
Dominic LaRiccia
Tyler Harper

 
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COFFEE COUNTY BOARD OF
ELECTIONS AND REGISTRATION
Eraestine Thomas-Clark, Chairman 224 West Ashicy Strect Eric Chaney, Member
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CT. Peavy, Member (912) 384-7018

Misty Martin, Election Supervisor

FAX (912) 384-1343 Jil Ridfchoover Elections Assistant

E-Mail: misty hampton@coffeecounty-ga.gov
December 10, 2020

House Governmental Affairs Committee
Elections Investigative Hearing

Shaw Blackmon — Chairman

401 State Capitol

Atlanta, Ga. 30334

We want to thank the Governmental Affairs Committee for allowing the Coffee County Board of
Election's to express its dilemma regarding certifying the electronic recount performed in the November
3, 2020 General Election. As you know, the certification process requires the Election Supervisor to
swear under oath and under penalty of perjury that the certified votes are a true and accurate reflection
of the count, or recount. In the instant case, the Election Supervisor of Coffee County could not
honestly make such an attestation given the inherent inconsistencies existing within the electronic
summary report generated by the Dominion voting system.

The basis for the dilemma is simple the election summary report for the electronic recount
tabulated votes in a manner that resulted in more collective votes being cast for the Presidential

candidates than the total number of votes reflected within the teport. The inconsistent count could not
be reconciled.

This fact (inherent inconsistency) alone was grounds not to certify the election based on the
Dominion data set and report. However, the reluctance to certify the electronic recount was
compounded where those results were considered in context with the two prior vote count results,

As this committee knows, a hand count of the original General Election balloting occurred on
November 16 —- November 17. Coffee County's hand count yielded one more ballot than was reflected
on the ballot count on election night. At the direction of the Secretary of State, if the hand count yields a
net vote difference of less than five votes, the board was instructed to certify the original vote tally.
Coffee County certified on the original elections results on November 9, 2020.

The election report used to certify the original election results was internally consistent, meaning
that the sum of the votes for each presidential candidate equaled the total votes reflected on the report.
The hand count also yielded the same internal consistency within the report, See Exhibit 3. It is worth
noting that we believe Dominion election reports generated in prior elections were likewise internally

consistent. The internal inconsistency of the election summary report stands in stark contrast to all other
prior elections. :

To this application we have attached the following exhibits:

Exhibit 1: Election Night Summary Report
Exhibit 2: Recount Data

"EXHIBIT

 

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Exhibit 3: Electronic Electron Summary Report
Exhibit 4: Letter to Secretary of State

Exhibit 5: Spreadsheet with results (corrected)
Exhibit 6: Certification Form

Exhibit 5 is a spreadsheet that summarizes the discrepancies thus far described. A review of
Exhibit 5 illustrates the two glaring problems presented to the Coffee County Board of Elections. The
report relating to the recount is patently inaccurate on its face. Moreover, if one is to consider the
electronic recount in light of the two prior vote counts, there is no way the vote tally reflected in that
report could be accurate. It is not credible to accept that the original count and the hand count, under
counted the total ballots by material number of ballots. Considering the inherent inconsistency of the
electronic recount data, and its unlikely accuracy when compared to the first two vote counts, the Coffee

County Board of Elections refused to certify the electronic recount based on the mandate of the
certification form.

The decision not to certify the electronic recount was the result of a unanimous vote by Coffee
County Board of Elections. However, this decision was not made until the Board could first have the
data reviewed and explained by its Dominion representative. The data reflected in this statement was
presented to the representative, He had NO explanation for the inaccuracies. He could not reconcile the
electronic recount report data or explain how it so dramatically differed from the two prior counts.
Knowing this decision would certainly be scrutinized, the Board sent a letter explaining its dilemma, its
decision and the supporting spreadsheet to the Secretary of State. This letter was sent to Brad
Raffensperger, on Friday, December 4, 2020.

That same day, the Election Supervisor also communicated directly with Chris Harvey, Director
of Elections about the findings and the decision. No one could explain what was wrong or what to do.

No one from the Secretary of State's office came to help the Board determine if it made an error or if the
inaccuracies are Dominion software related.

 

This committee must understand, in this same election cycle, we identified other problems with
the Dominion System and reported the same to the Secretary of State. On November 13, 2020 a letter
was written to the Secretary of State identifying other serious concerns. A copy of that letter and other
relevant documents are attached as Exhibit 7, Our Board members and Election Supervisor have called
the Secretary of State’s office to both report these issues as well as ask for help to address those
problems. All our concerns and requests for help have fallen on deaf ears.

One can understand why today, December 10, 2020, our Board is dismayed to lear that the
Secretary of State has opened an “investigation” into our handling of the recount. We learned this not

from the Secretary of State but through WALB News where Chris Harvey provided a statement for the
media. Mr. Harvey did not show us the courtesy of a phone call.

The same is true as relates to a video created at a Coffee County Board of Elections meeting
which is now widely distributed via the internet. This video demonstrates how the Dominion system
can be manipulated to alter existing ballot results or create voter ballots out of thin air. This security
issue was first discovered by the Coffee County Board of Elections supervisor in June, 2020. It was
made known to some but not all of the Board members. Importantly however, the findings were
reported to our State Representative Dominic LaRiccia on or about June {0, 2020, with the hope that
someone unassociated with Dominion would scrutinize this problem, The board never heard a word
from Mr. LaRiccia or anyone from the Secretary of State's office or state government.
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After the Presidential election was over, national attention
sofiware could be manipulated to impact election results. Having
full Board wanted to have this process documented during an open meeting. The video that captured
this demonstration, along with other documents were requested to be produced via an Open Records
Request. The content became public knowledge through this third-party request.

focused on whether Dominion
previously demonstrated this fact, the

The Coffee County Board of Elections has for many months reported various aspects of these

problems to the Secretary of State receiving no assistance in correcting these problems. As for the

investigation, the Secretary of State chose not to assist us or help evaluate the root cause of the refusal to

certify the election recount but certified the statewide election results despite our findings. The Coffee
County Board of Elections took action which it believed accurately reflected the accurate vote of its
citizens and certified that vote, Ifit has done so erroneously, it has been done, not nefariously or

belligerently but honestly, humbly and with but one goal: to certify the true vote of the citizens of
Coffee County,

This is particularly disappointing given that Eric Chaney personally called Chris Harvey and
Dennis Carbone on November 13, 2020 to express his concems over the Dominion System. Mr. Harvey
nor Mr. Carbone returned this phone call. But the deafening silence from people in authority regarding
our concems go back to June 2020; their indifference is unfortunate.

As Exhibit 8 we have attached a list of individuals who, prior to Monday December 7, 2020,
were made aware of some or all of the problems reflected in this statement. Not one person has offered
any solution or explanation for these issues. The Secretary of State has been AWOL,

We look forward to our “investigation” which begins Friday. We stand ready to take any

hecessary action to correct any problems which are supported by the law and facts, even if we
mistakenly erred in our decisions.

Respectfully,

 
     
 

Coffee County Board Member
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EXHIBIT LIST

Election night summary report

Hand recount election summary

Electronic recount ESR

Letter to Secretary State (Dec. 4", 2020)

Spread sheet summary election results (correction)
Certification form

Letter to Secretary of State (Nov 11"", 2020)

People aware of problems prior to Monday Dec 7", 2020

AN AAP wp —
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 118 of 261

EXHIBIT 1
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Pare. Fafs 12/7/2020 11:03:51 AM

Election Summary Report

General Election
COFFEE
November 03, 2020
Summary for: All Contests, All Districts, Ail Tabulators, All Counting Groups
OFFICIAL AND COMPLETE

Precincts Reported: 6 of 6 (100.00%}
Registered Voters: 15,277 of 25,144 (60.83%)
Ballots Cast. 15,277

President of the United States (Vote for 1)
NP

Precinets Reported: 6 of 6 (100.005)

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Jo Jorgensen (Lib) Fo 4 6? en 125
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US Senate (Perdue) (Vote for 1)
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Jon Ossaft (Bem} 1067 2,298 913 , 3 4261
Shane Hazel (Lib} , 85 155 46 0 286
Total Votes - oe 3687 9,434 1.858: 12 4991

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 120 of 261

Pave: 3 of 8
Public Service Commissio
NP

Precincts Reported: 6 of 6 {100.00%)

Times Cast

Candidate Party

kauren Bubba McDanald, ie
Rep

Daniel Blackman (Dem) .
Nathan Wilson {Lib)

Total Votes

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US House District 12 (Vote for 1)

NP

Precincts Reported: 6 of 6 (00.00%)

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Candidate Party .
Rick W. Allen {i} (Rep}

Liz johnson (Dem)

Total Votes

Unresolved Write-in

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State Senate District 7 cv. ote for 1)

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Precincts Reported: 6 of § (100.00%)

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Candidate Party

Tyler Rarper (i (Rep)
Total Votes

Unresolved Write-In

n District 4 (Vote for 1)

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Total
15,273 / 25,114 — BO.81%
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Total

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 121 of 261

Paygu: § of

Sheriff (Vote for oe
NP

Precinets Reported: 6 of 6 (100.00%)

Times Cast

Candidate , , Party

Doyle T, Weaten Ha {Rep}
Total Votes

Unreseived Write-In

Tax Commissioner (Vote for 1)

NP

Precincts Reported: 6 of § (100.60%)
‘Times Cast
Candidate Party

Shanda Henderson 4g {Rep}
Tatal Votes .

Unresolved Write-In ,
Surveyor (Vote for 1)
NP

Precincts Reported: 6 of 6 (100.00%)

Times Cast

Candidate Party

Adam H. Evans i) (Rep)
Total Vates

Unresolved Write-In

- Election Day Advanced Vat

3,754 9,573,
Election Day Advanced
, Vating
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4,058 : 8018 .
Election Day- Advanced
Voting’
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Election Day- Advanced /
Voting
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Voting

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Election Day Advanced
/ Voting
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1,396

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Absentee by
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Absentee by -

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15,273/ 25,114 6aatw:

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Total

27

Total .
15.273 /25,124 60.61%!

‘Fotal

12,728
12,728

Total

109

Fotal

18,273/25.114 60.81%:

Total

14,296
12,256

Total

10
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 122 of 261

Page: 7 of a

County Commission District 5 (Vote for
NP

Precincts Reported: § of 5 ¢ 10.00%)

Etection Day Advanced Vat
Times Cast

4134 1916
Candidate Party Election Day Advanced
a ; Voting
Ted Osteen th (Rep) : ; ok. 546 1,604;
Tatsl Votes 346 1604)
- Election Day. Advanced
/ - Voting
Unresolved Write-la , o. T

Soil and Water - Altamaha (Vote for 4)
NP

Precincts Reported: 6 of 6 (100.00%)

Hection Day Advanced Vot

Times Cast ; 3,754 3,573
Candidate Party Election Day. Advanced
oo ee Voting

Total Votes . _ D a
Election Day = Advanced

. Vating /
Unresolved Write-tn 412 938

Constitutional Amendment #1 (Vv ote fo
NP

Precincts Reported: & of 6 100,005)

Election Day Advanced Vat

Times Cast 3154 9.573
Candidate Party ~ Election Cay: = Advanced

Voting
YES 2,520, 5,513
NO , a Co Ber 3
Total Votes : _ 433a7 8,546

Election Day Advanced

Vating

Unresolved Write-In . 0

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Absentee by

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340 / 5,144

Tatal

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2.806

Tota!

16

Total

"15,273 725,114

Total
0
Total

1528

Total

15,273 / 25,114

Total

10,380
3,362
13,742

Tatat

1247/2020 17:03:51 AM

66.12%

60.81%"

60.aT%:
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 123 of 261

EXHIBIT 2
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 124 of 261

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 125 of 261

EXHIBIT 3
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 126 of 261

Page: 1 of a F2/2/2020 $:24:08 PM

Election Summary Report
General Election
COFFEE
November 03, 2020 .
Summary for: All Contests, All Districts, All Tabulators, All Counting Groups
OFFICIAL AND COMPLETE RECOUNT

Precincts Reported: 6 of 6 (100.00%)
Registered Voters: 15,327 of 25,144 (61,03%}
Ballots Cast: 15,327

President of the United States (Vote for 1)
NP

Precincts Reported: 6 of § (400.005)

— ; Election Day Advanced Vat ‘Absentee by ‘Provisional Total /
Times Cast . . 43378. 0 1,948, 0 15,327 / 25,114 61.03%:
Candidate , a Party Election Day Advanced ‘Absentee by Provisional: , Tatal -

Co . Voting Mail a. .
‘Donald J. Trump (Rep) ob sen 0: 26 2 10,597
Joseph R Biden (Dem) / 3819 0 4901 8 4520
Jo Jorgensen (Lib) . , - - : —_ 119. oO ; 47 0. , 136
Tatal Votes - — 43,309° a 1848 o - 15,253

" Election Day "Advanced | Absentee by Provisional = Totat
Voting Mail

Loren Collins WRITE-IN 0 a a 0 0
Gloria la Riva WRITE 0 a a er
Unresolved Write-in 5: 0 8 0 §

US Senate (Perdue) (vi ote for 1) |
NP

Precincts Reported: 6 of 6 (100.00%}

Election Day Advanced Vot Absentee by Provisional Tatat
Times Cast _ 3378 - 0 wae 0g 15,327 /25,114 61.03%
Candidate Party Election Day = Advanced = Absentee by —- Provisional Total
. Vating Mail
David A. Perdue (1) {Rep} 9,525 0 ; S06 Q 10,437
Jor Ossafl (Dem) a 3,375 a 517 0 4,292
Shane Hazel (Lib} 248 a 45 0 293
Totat Vates : 13,148 a 1,668 . 0 13,016
Hection Day = Advanced Absentee by —— Provisionat Total
Voting Mail
Unresolved Write-In . WwW

Q 1 4 14
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 127 of 261

Paye: 3 of &

Public Service Commission District 4 (Vote for 1)

NP

Precincts Reported: 6 of 6 (100.00%)

Times Cast

Candidate

Lauren Bubba McDonatd, Je.
(Rep) .

Ganiel Blackman (Bem)
Nathan Wilson {Lib} i

Total Votes :

‘Unresolved Write-In

US House District 12 (Vote for 1)

NP

Precincts Reported: 6 of 6 (100.00%)
Times Cast
Candidate

Rick W. Allen (i) (Rep}
Aiz Johason (Dem}
Total Votes

Unresalved Write-in

Party

Party

Election Day: Advanced Vet

13,356. a
Election Day Advanced
Voting

9,037 0.

AVG?
«23?

12,444. 4
Election Day = Advanced .
/ Voting

& 0

Election Day Advanced Vot
1379 a
Election Day Advanced
Lo __ Vating
9,398" a
3808
W206: 8
~ Election Day ‘Advanced
Vating
4 a

State Senate District 7 (Vote for 4) |

NP

Precincts Reported: 6 of & (100.00%}

Times Cast

Candidate

Tyler Harper &) (Rep)
Total Votes

Unresolved Write-In

Party

Election Day Advanced Vot
13,356 a
Election Day Advanced
Vating

10,743. 0

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Election Day = Advanced
Voting

219 Q

Absentee by
1,945

Absentee by
“Mail

873

38
1,823:

Absentee by

“Mail”
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Absentee by
1,948.

Absentee by
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Absentee by
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; Total
15,301 /25,114 ° 60.93%

Total

5910

4,079
2 8
14,264

Total

__ Total

15,327 /25,114° 61.03%)

Tatal

40,319

4247
14,566

Total

Tatai
15,301 / 25,114 60.93%

Total

11 562
“11962

Total

272
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 128 of 261

Page: 5 of 8

Sheriff (Vote for 1)
NP
Precincts Reported: 6 of 6 {700.00%)

Times Cast

Candidate Party

Doyle T. Wooten () {Rep}
Total Votes

Unresolved Write-in

Tax Commissioner (Vote for 1}

NP

Precincts Reported: 6 af 6 (100.0096)

Times Cast

Candidate , Party

Shanda Henderson (1 (Rep)
Total Votes

Unresolved Write-In

Surveyor (Vote for 1) -

NP

Precincts Raported: 6 of 6 (100.00%)

Times Cast
Candidate "Party

Adam H, Evans (1} (Rep)
Tatat Votes

Unresolved Write-In

. Election Day Advanced Vot

13,356 Q
GectionDay = Advanced
Vating

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Election Day = Advanced
Voting

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Election Day Advanced Vot

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_ Election Day = Advanced
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Absentee by’

1,945,

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_ Total
15,403 725,114 60.93%

Total

12,477
12,477

Totat |

219

_ Total

1501 / 25,114 60.93%)

“Total

1 2728
ware

Total

on

Total .
15,401 / 25,114 : 60.93%!
, Total,
12,296 /
12,296

Tatal

Fa
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 129 of 261

Page: 7 of 8

County Commission District 5 (Vote for
NP

Precincts Reported: 5 of 5 (100,00%)

. Election Day Advanced Vot
Times Cast

; 3,066" / a
Candidate , , Party flection Day Advanced
Voting:
Ted Osteen ti) {Rep} ; ; 2,553 ; 0 -
‘Total Votes ; 2.553 . o
Election Day = Advanced
/ : Voting
Unresolved Write-In . 7 o

Soil and Water - Altamaha (Vote for 1)
NP

Precincts Reported; 6 of 6 (100.00%}

Election Day Advanced Vat
Times Cast

356 a

Candidate , , Party - Election Day . ‘Advanced
, os ; Voting

Tataf Votes — en 8 a
Election Day. Advanced

Voting”

Unresolved Write-In 1350 a

Constitutional Amendment #4 (Vote for
NP

Pracincts Aeported: 6 at 6 {100,00%)

, Election Day Advanced Vot
Times Cast 133560:
Candidate Party Election Day = Advanced
. Voting
YES oe aga! 8
NO oo — 2961. 0
Total Votes oo 12,002 0
Election Day- Advanced
Voting
Unresolved Write-in . ; : Q a

4)

_Absenteg by
350°

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Mall

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1,945.

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1)

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Mail:

1,342
399
1744

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Mail

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18,301 /25,114

a

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Total
3,416 / 5,144 | 66.41%.

Total
2.808
2,808 |

Totat

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_ Total

E0.93%
Fatal
4

Total

1,528

Total

35,301/25.114 60.93%

Total
10, 383
3,360
1 4,743

Tatal
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 130 of 261

EXHIBIT 4
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 131 of 261

COFFEE COUNTY BOARD OF
ELECTIONS AND REGISTRATION

Ernestine ‘Fhomas-Clark, Chairman 224 West Ashley Street

Wendell Stone, Vier-chairman Douglas, GA 31533

CT, Peavy, Member (912) 384-7018
FAX (912) 384-1343

E-Mail: misly-hampion@cofleccounty-ga.eov

Eric Chaacy, Member

Matthew McCullogh, Member
Misty Martin, Etection Supervisor
Jil Ridlehoover Elections Assistant

12/04/2020

Brad Raffensperger
214 State Capitol
Atlanta, GA. 30334

Dear Mr. Raffensperger,

The Coffee County Board of Elections and Registration cannot certify the electronic
recount numbers given its inability to repeatably duplicate creditable election results, Any
system, financial, voting, or otherwise, that is not repeatable nor dependable should not
be used, To demand certification of patently inaccurate results neither serves the

objective of the electoral system nor satisfies the legal obligation to certify the electronic
recount.

| am enclosing a spread sheet which illuminates that the electronic recount lacks
credibility. NO local election board has the ability to reconcile the anomalies reflected in
the attached. Accordingly, the Coffee County Board of Elections and Registration have
voted to certify the votes cast in the election night report. The election night numbers are
reflected in the official certification of results submitted by our office.

Respectfully,
Coffee County Board of Elections and R

 
 
 

 

 

Emestine Thomas-Clark
Chairperson

Signed by Chairperson by expressed permission and consent of 100% of the board.

cc
Dominic LaRiccia
Tyler Harper
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 132 of 261

DISCREPENCIES IN THE NOVEMBER 3, 2020 GENERAL ELECTION AND RECOUNTS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total internaf Total Net Discripency Between Total
Date Activity Action # | Trump Biden | Jorgensen | Write-iN* | No Vote* | Votes Delta Delta and Internal
11/3/2020 Election Day 1 1 10578 4511 125 23 40 15237
11/17/2020 Hand Recount 2 10578 4511 126 NA NA 15238
Compare 2to1 0 0 +1 +1 +4 +1 0
11/30/2020) Electronic Recount 3 10596 4518 13 0 15 15127
Compare 3 to 1 +18 +7 -1212 ~110 ~B7 -110 +23
Compare 3 to 2 +18 +7 “142 -116 -88 -110 +22
2nd uploaded 185 NO NO NO NO
11/30/2020 BALLOTS 4 CHANGE | CHANGE} CHANGE 0 74 CHANGE
The tabluated Electonic Recount revealed the above discrepencies
investigation revealed we negelected to run 185 balltos: we then ran these ballots
we reviewed the resultsbut there was No Change in Vote Count Despite 185 Ballots Added
The on Site Dominion Rep could not explain why system would not update votes
The Dominion Rep directed the Board of Elections to make a decision about what to do.
FOR SOME REASON NO WRITE-IN COLUMN PRINTED ON THE RECOUNT SUMMARY
THERE WAS NO EXPLANATION OR SOLUTION TO THIS PROBLEM
12/2/2020 | Prepare to Certify § 10597 4520 136 15236
Compare 5 to 1 +19 49 +11 “1 +37 +16 +23
Compare 5 to 2 419 +9 +11 “2 +38 +16 +24

 

There Is a discrepency between Electronic Recount and total votes for both 1 & 2

 

 

 

recount, and the electronic recount.

Stated Differently after 3 counts a clear inconsistency exists as one compares the orgional election counts, the hand

 

 

 

Anomilies in software recounts create irreconciabie difference in vote count Which leaves the Board with no clear
guidance as to which count to certify.

 

 

 

 

 

* Write-IN and NO Votes are NOT included in the Total Votes

 

 

 
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 133 of 261

EXHIBIT 5
OZOZ/OT/2T Pasiaay

 

52}0A [2JOL 34j Ul PSPN|IU! LON se 5820/4 ON PU NI-AHEM «

 

 

‘Ajia3 03 UNOS YsTYyM OF SE SSUEPINE Jea]> Ou YIM PJEOg 34) SBABS] OIyM JUNOD BIOA Ul S3UaJaLIP a[qeuo Iai! 3] e849 SyuNoIa BaBMYyOS U! SaljlUOUYy

 

 

UNDA! 3UO8193)9 34) pue UNA pueY ayy ‘53;UNOD UOIala |BUOISIO ey SasedUIOI aUO $e S}SIXe ADUaTSISUOIUI JBS]9 & SJUNOD £ saye Aquasayig paye3s

 

 

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cECST 4 Sz TTSp | 8éSGT T T Aeq uona3 O¢62/E/TT
Bye jebusaqyy SSIOA [ROL aNPORUA | Ussuadsof | Uuaplg duns, { # uoinpy AVAny a1e0

 

 

 

 

 

 

 

 

 

 

Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 134 of 261

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 135 of 261

EXHIBIT 6
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 136 of 261

CERTIFICATION OF RETURNS For:

NOVEMBER 3, 2020 GENERAL ELECTION RECOUNT

 

(County)

 

Instructions: Prepare and print 4 copies of fhe Election Summary for the General
Election (county consolidated vote iotals report that is generated by EMS).
Attach copies of this consolidated certification report as follows:

White sheet is attached to Election Summary and returned to Secretary of State.
Yellow sheet is attached te Election Summary and maintained by Superintendent.
Pink sheet is attached to Election Summary and sent to Clerk of Superior Court,

Goldenred sheet is attached to Election Summary and immediately posted at the
Courthouse,

whe

ELECTION SUMMARY MUST BE ATTACHED TO THIS FoRM

 

 

 

We, the undersigned Superintendent/ Supervisor of Elections and his/her Assistants, do jointly
and severally certify that the attached Election Summary is a true and correct count of the
votes cast in this County for the candidates in the General Election,

in TESTIMONY WHEREOF, We have hereunto set our hands and seals this day of

20 . SIGNED IN QUADRUPLICATE,

 

Assistant

 

 

. Superintendent/Supervisor Of Elections
Assistant

 

Assistant

 

Assistant

 

Assistant

 

OR-GE-20
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 137 of 261

EXHIBIT 7
61
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 138 of 2

COFFEE COUNTY BOARD OF
ELECTIONS AND REGISTRATION
Ernestine Thomas-Clark, Chairmns 224 West Ashley Street Erie Chaney, Member
Weadelt Stone, Viee-chalrnian Douglas, GA 31533 Matthew MeCutlogh, Member
CT, Peavy, Member (912) 384-7918

Misty Ma rtin, Election Suaervisor
FAX (912) 384-1343

Jil Ridleb covey Elections Assistant
E-Mail: Inisty-hamplon@coffeccounty-na.vov

Brad Raffensperger

2 MLK Jr. Dr. S.E. Ste. 814
Floyd W Tower

Atlanta, Ga. 30334

November 11, 2020

Dear Mr, Raffensperger,

The adjudication process allows the ICC Operator to choose haw, .
adjudication occurs, i.e. ambiguous marks, over vote, under vate, blank
ballots, or ALL ballots. With the setting on “all ballots” we could adjudicate
and change votes on all ballots, even if the ballot was correctly and cleanly
voted. We believe a statewide Standard would be appropriate,

Using the old Diebold system, absentee ballots b
would duplicate the voter’s intent On a new ballot on all races possible. A
representative from the Democratic and Republican Party plus a board
member, would all agree on the marking or duplicating the ballot. We, also,

y mail that have errors

During the adjudicatio

f process with the Dominion System, no such trail
can be created. This allows

ANYONE to make a change to the vote so there
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 139 of 261

in a Mockup election we were able to count ballot multiple times. It was

during this mockup election we have verified and recreated the above
deficiencies

Respectfully,

    

. Ernestine Thomas-C lark

Whawhey Stim
Wendell Stone

Wilyd,

Matthew McCullough

Eric ee
Delivered by: Over is 656-0513
61
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 140 of 2

 

Coffee Co Commission

Friday, 2020-11-13 16:28

Dake Time Type dob #

Length Speed Fax Name/Number Pgs Status

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COFFEE COUNTY BOARD oF

ELECTIONS AND REGISTRATION

Eaveeloe ThomarCierh, Chatrgan 2M West Ashicy Stront

Eric Chmney, Atcmiber
‘Verh Stuae, Vineet baka Dougins, Ga 31533 Matiler KieCuliogh, Meneincs
CcF, Peary, Atember 12) 394-7018 Misly Martie. Election Supervivar
FAX O10) Hedy Jil Niddehonver Eleciinis Amibeagy

E-Mail: mnisoohamplon eu Mecsmunynas pow

Grad Ratlensperger

2MLEK Jr. Dr. SE. Ste. 814
Floyd W Tower

Atlanta, Ga, 30334

Novembur 11, 2020
Dear Mr. Raffensperger,

During the election conducted on 11/3/2020 the Coffee County Board of
Blections and Registration discover i i

The adjudication process allows the ICC operator to elie e having: *
nejudication occurs, ic. ambiguous marks, over vote, under vote, blanic
ballots, or ALL ballots. With the setting on “all ballots” we could adjudicate

and change votes on afl ballots, even if the ballot Was correctly and cleanly

voted. We believe a statewide standard would be appropriate,

Using the ald Diebald system, absentee ballots by mail that have errors
would duplicate the voter's intent on a new ballot on all Faces possible. A
represeniative from the Democratic and Republican Party plus a board
metiber, would all agree on the marking or duplicating the ballot, We, also,
all 3 sign the top tab of the ballot that we attach to the void ballot so that we

may recreate the process and sce ‘who was making the changes. We have
Proof it was agreed by all,

During the adjudication process with the Dominion system, no such trail
van be created. This allows ANYONE to make a change to the vote so there

 

 

 
Case 1:20-cv-05310-MHC

USPS Tracking’

Tracking Number: El47524 4345US

Scheduled Delivery by
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Delivery Attempt

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Page 141 of 261

FAQs >

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EXHIBIT 8
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The following 15 people have received calls
with the Dominion software and other issue

or fetters identifying the following ca rtalogical problems
s.

1. The adjudication Processes and the ability te manipulate votes

2. The absence of audit trail to identify who chan
witnessed to the adjudication of any given baltot.
3. Change by the 50S in the adjudication

ged data in adjudication process and who

Process changing the old system which required a rep

from each party, ptus a board member, to determine the voter's intent,

Under the Dominion adjudication process an
aversite or accountability from any neutral 3

multiple times.

4. Multiple complaints and concerns have been lo

inexplicable software anomalies.
Secretary of State Brad Raffensperger

Gary Gainous _ Dominion Tech

yone can adjudicate change a vote with out any
party. A single ballot can be scanned and counted

eged over training, equipment failure and

Dominic LaRiccia - State House Representatives for Dist 169 6/10

Butch Miller — Senator 12/3
Mike Dugan ~ Senator 12/3
Steve Gooch — Senator 12/3
ohn Kennedy ~ Senator 12/3
Larry Walker ~ Senator 12/3
Dean Burke ~ Senator 12/3
Tyler Harper — Senator 12/3
Blake Tillery 12/3 & 12/4
Cardan Summers 12/3 & 12/8
Cathy Latham 12/7 & 12/8
Whitney Argenbright — Albany News - 12/7
Robert Preston 12/7 & 12/8

Brad Schrade with AiC 12/8
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Case 1

 

 

 
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STATE OF GEORGIA

COUNTY OF FULTON

Personally appeared before me. the undersigned officer duly authorized to administer
oaths, MARK AMICK, who, after having been sworn, deposes and says as follows:

On October 23, 2020, | was recognized by the Secretary of State of the State of Georgia

as having been designated by the Republican Party of Georgia to serve as a statewide poll
watcher for the November 3, 2020 election.

On November 6, ] was at State Farm Arena from 8:20 a.m, until approximately 10:15
p.m, where Fulton County election workers were processing provisional ballots, military ballots

(UOCAVA), and absentee ballots. I left the premises only between 6:30 and 7:20 p.m. in order to
get dinner.

| observed thal there was present a representative from the Office of the Secretary of
State (“SOS representative”) on site. However, this person provided virtually no oversight to the

processing and counting of the ballots, instead spending the vast majority of his time at the back
of the observation area on his phone.

There were tables and chairs situated in the front part of the viewing area from which one
could observe the processing of the ballots ata distance. { arrived in the room by 8:30 a.m. and
remained seated or standing at these tables the entire time observing the processing of the ballots
except for a few brief restroom breaks and leaving for dinner between 6:30 and 7:20 p.m. Fulton
County election workers started processing the ballots at approximately 8:50 a.m.

The SOS representative entered the viewing area sometime in the late morning. |
observed that the SOS representative was sitting in the back of the room not observing the
processing of the ballots almost the entire time that he was there. Rather than Sitting at the tables
and chairs provided closest to the area where the ballots were being processed, the SOS
representative sat in the back of the room an estimated fifteen to twenty feet further away which
would have made it extremely difficult to observe the processing of the ballots in addition te
observers sitting in front as well as two camera crews obscuring his view. In addition, the SOS

representative was on his phone appearing to be disengaged from the process almost the entire
time he was there.

At 1:35pm, a Supervisor stood in the middle of the room to address the workers. The
SOS representative was on the floor with him briefly at this time. This was the first time | had
actually seen him out on the floor by the workers even though the work had stopped at this time.
Upon the end of the announcement, he returned to his chair in the back of the observation area. 1
observed that the SOS representative in the back of the viewing room on his phone and not
watching the processing of the ballots also throughout the afternoon and evening except for two
brief stretches as follows. Attached to this affidavit is Exhibit A which includes several images
of the SOS representative sitting as described in the back of the room on his phone over my

     

EXHIBIT

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shoulder. What follows are the various activities of the SOS representative f observed that

afternoon:

o

Qa

Qo

4:00 pm ~ The SOS representative lel the room and returned soon after,

5:00 pm (approximately) ~ The SOS representative (uok a phone call in the hall.
3:15 pry (approximately) — The SOS ‘cpresentative stood by the dour to the viewing
room and watched for approximately J minutes, However. he did not enter the roam
to observe the processing of the ballots. His view would have been very limited from

where he was standing at the door due to the configuration of the room,

3:20 pm - The SOS representative left the room. He returned a few minutes tater and
stood at doar.

3:26 pm — The SOS representative left the room. He returned a few minutes later,
5:30 pm ~ The SOS representative felt the room.

3:39 pm — The SOS representative returned but someone was in his chair in the back
comer so he sat at a different spot in the back along the wall,

3:53 pm ~The SOS representative walked into the area where they were processing
the ballots and spoke with a supervisor.

6:02 pm — The SOS returned to his chair in the back comer of the room and did not
Sppear to be paying attention to the processing of the ballots.

6:30 - 7:20 p.m, — [left to get dinner for myself and others.

7:48 pm — The SOS representative was on the phone down the hall past the
bathrooms.

7:49 pm — Upon exiting the bathroom, the SOS representative was walking behind me
and talking on the phone discussing some concern about the cost of parking.

7:38 pm —- The SOS representative was in the corner by the door and then went and
sat outside the room.

8:14 pm -- The SOS representative returned to silting at the back of the room as
members of the media had come in and taken up more of the back wall.

9:15 pm — The SOS representative was in hall and appeared to be socializing with an
election worker or supervisor.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 147 of 261

© 9:22 pm - The worker or supervisor came back in and soon after that the SOS
representative retumed to his chair at the back of the room.

2 10:15 pm —I left for the evening,

Other than a few minutes at approximately 1:35pm and 5:15 p.m. and for about 10

minutes at around 5:53 p.m., I personally observed that the SOS representative was nal watching
or monitoring the processing of the b

allots at the State Farm Arena.

 

. Hosen J thonkse dard
Swom to and subscribed before me

this Q4* day of November, 2020
. and notarized by me on said day.

My commission expires: 4/3 ava.

 

 

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ne i KAREN | HENTSCHEL
Pte % Notery Public, Gaorgia
ie 08 Cobb County
See. F My Commissian Expires
“akon Februsry 03, 2024

   
 
 
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Case 1

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CERTIFICATE OF SERVICE

I hereby certify that I have this day served a true and correct copy of the above and
foregoing SECOND MOTION FOR EMERGENCY INJUNCTIVE RELIEF AND

INCORPORATED BRIEF IN SUPPORT upon all parties and their counsel via this Court's e-file
system, via STATUTORY ELECTRONIC SERVICE (0.C.G.A. § 9-11-S) and/or by placing a

copy of the same in the United States mail, first class, with sufficient postage thereon to ensure

delivery, addressed as follows:

Brad Raffensperger, in his official capacity as Secretary of State of Georgia

214 State Capito!
Atlanta, Georgia 30334

Rebecca N, Sullivan, in her official capacity as Vice Chair of the Georgia State Election Board

214 State Capitol
Atlanta, Georgia 30334

David J. Worley, in his official capacity as a Member of the Georgia State Election Board

214 State Capitol
Atlanta, Georgia 30334

Matthew Mashburn, in his official capacity as a Member of the Georgia State Election Board

214 State Capitol
Atlanta, Georgia 30334

Anh Le, in her official capacity as a Member of the Georgia State Election Board
214 State Capitol

Atlanta, Georgia 30334

Richard L Barron in his official capacity as Director of Registration and Elections for Fulton
County,

16
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141 Pryor St. SW
Atlanta, GA 30303

Janine Eveler in her official capacity as Director of Registration and Elections for Cobb County

P.O. Box 649
Marietta, GA 30061-0649

Erica Hamilton, in her official capacity as Director of Voter Registration and Elections for
DeKalb County
1300 Commerce Drive
Decatur, GA 30030

Kristi Royston, in her official capacity as Elections Supervisor for Gwinnett County

455 Grayson Highway
: Lawrenceville, GA 30046

Russell Bridges, in his official capacity as Elections Supervisor for Chatham County

111? Eisenhower Drive, Suite F
Savannah, Georgia 31406

Anne Dover, in her official capacity as Acting Director of Elections and Voter Registration for
Cherokee County,
2782 Marietta Highway, Suite 100
Canton, GA 30114

Shauna Dozier, in her official capacity as Elections Director for Clayton County,

112 Smith Street
Jonesboro, GA 30236

Mandi Smith, in her official capacity as Director of Voter Registration and Elections for Forsyth
County
1201 Sawnee Drive
Cumming, GA 30040

Ameika Pitts, in her official capacity as Director of the Board of Elections & Registration for
Henry County,

17
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 151 of 261

140 Henry Parkway
McDonough, GA 30253

Lynn Bailey, in her official Capacity as Executive Director of Elections for Richmond County

535 Telfair Street
Augusta, GA 30901

Debra Presswood, in her official capacity as Registration and Election Supervisor for Houston
County

801 Main Street - Room 237, P.O. Box 945
Perry, GA 31069

Vanessa Waddell, in her capacity as Chief Clerk of Elections for F loyd County

12 East 4th Avenue, Suite 20
Rome, GA 30161

Julianne Roberts, in her official capacity as Supervisor of Elections and Voter Registration for

83 Pioneer Road
Jasper, GA 30143

Joseph Kirk, in his official capacity as Elections Supervisor for Bartow County

135 West Cherokee Avenue
Cartersville, GA 30120

Gerald McCown, in his official capacity as Elections Supervisor for Hancock County

12630 Broad Street
Sparta, GA 31087

This the 11" day of December, 2020.

   
  

“Kurt ® Hilbert
Georgia Bar No. 352877

18
Case 1:20-cv-05310-MHC Document 1-4

205 Norcross Street
Roswell, GA 30075

T: (770} 551-9310

F: (770) 551-9311

E: khilbert@hilbertlaw.com

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Filed 12/31/20 Page 152 of 261

Attorneys for Petitioners Donald J
Trump and David Shafer
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 153 of 261

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONALD J. TRUMP, in his capacity as a

Candidate for President, ef. Al
Petitioners, Civ. Act. No 2020CV343255
v

BRAD RAFFENSPERGER, in his official capacity
As Secretary of State of Georgia, ef al

 

NOTICE OF APPEAL AND INTENTION TO SEEK WRIT OF CERTIORARI
TO THE SUPREME COURT OF GEORGIA

COME NOW THE PETITIONERS, by and through the undersigned counsel, and
respectfully inform the Court of their appeal and intention to seek a writ of certiorari to the
Supreme Court of Georgia to review the “Order on Case Status” re Withdrawal of Mction for
Emergency Injunctive Relief entered on December 9, 2020 at 5:06 PM, attached hereto as Exhibit
A. This appeal istimely filed within ten (10) days of the entry ofthat Order. The Supreme Court
has jurisdiction to hear this appeal under Georgia Constitution art. VI, Section VI, Par 2, cl. 2 as
this is an Election Contest exclusively vested in the appellate jurisdiction of the Georgia Supreme
Court, The Order is void ab initio and is a nullity, but is tantamount to a “final” order for purposes
of O.C.G.A. § 5-6-34 as Petitioners cannot obtain relief of any kind and nature from this Court,
including without limitation, interlocutory, preliminary or permanent injunctive relief, while the
Order is entered, and while the Honorable Constance C. Russell remains presiding in the case in
direct violation of the Election Code as she is an active sitting judge in Fulton County, Georgia
and also a resident of that same county making her legally incapable of adjudicating this case.

The Clerk of Court shail omit nothing from the entire record on appeal and Petitioners
hereby request that the record be prepared and expedited to the Supreme Court of Georgia
immediately. Petitioners shall pay the costs as necessary for-such expeditious preparation of the

record,

EXHIBIT

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ee
RAZR. HEBERT
GEORGIA BAR NO, 352877

ATTORNEY FOR PETITIONERS
205 Norcross Street

Roswell, GA 30075

F: (770) 551-9310

F: (770) 551-9311

E: khilbert@hilbertlaw.com
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 155 of 261

Fulton County Superior Court
““EFILED™*QW

Date: 12/9/2020 5:06 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONALD J. TRUMP; IN HIS CAPACITY AS *
A CANDIDATE FOR PRESIDENT , * Civil Action No. : 2020CV343255
DONALD 3. TRUMP FOR PRESIDENT, INC.
DAVID 3. SHAFER, IN HIS CAPACITY AS A
REGISTERED VOTER AND PRESIDENTIAL
ELECTOR PLEDGED To DONALD TRUMP
FOR PRESIDENT,
Petitioners,

w# *%

*» ¥

Vv,

BRAD RAFFENSPERGER, IN HIS OFFICIAL
CAPACITY AS SECRETARY OF STATE OF
GEORGIA, et, al,,

Respondents.

ORDER ON CASE STATUS
aE UN CASE STATUS
The action was filed on December 4, 2020. On December 8, 2020 Petitioners filed a
voluntary withdrawal of their Motion for Emergency Injunctive Relief The request for
emergency telief having been withdrawn, the action shall proceed in the normal course. All
counsel seeking admission pro hac vice must comply with Uniform Superior Court Rute 4.4.

So Ordered This 2 Day of. 7D excel) , 2020.

  

 

 

Judge Constance C. Russell
Fulton County Superior Court
Atlanta Judicial Circuit

 
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Fulton County Superior Court
“**EFILED** UT

Date: 12/11/2020 5:40 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONALD J. TRUMP, in his capacity as a
Candidate for President, et al.

Petitioner,
¥. CIVIL ACTION

FILE NO: 2020CV343255
BRAD RAFFENSPERGER, in his official
Capacity as Secretary of State of Georgia,
Et al.

Respondent

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NOTICE OF TIME FOR RESPONSE TO REQUEST TO APPOINT
ADMINISTRATIVE LAW JUDGE

The Undersigned, as the Chief Administrative Judge for the 5% Judicial
Administrative District, has received the Notice of Emergency Request to Appoint
Administrative Law Judge filed by Petitioners. This Notice requests that the undersigned
appoint an Administrative Law Judge pursuant to O.C.G.A. § 21-2-523. Objections or
responses to this narrow request, if any, must be filed on or before the close of business
on Wednesday, December 16, 2020.

SO ORDERED this 11th day of December , 2020.

AI.

The Honorabls.ohs Sah phar S. Brasher
Chief cnorab eo Judge for

The Fifth Judicial Administrative District
Atlanta Judicial Circuit

Filed and served electronically via eFileGA

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‘€-S9) SUPREME COURT OF GEORGIA
we UB) Case No. S21M0561

 

December 12, 2020

The Honorable Supreme Court met pursuant to adjournment.

The following order was passed:

DONALD J. TRUMP et al. v. BRAD RAFFENSPERGER et al.

Petitioners filed this “Emergency Petition for Writ of Certiorari” to
challenge the superior court’s December 9, 2020 “Order on Case Status,”
which order provided that, because in the underlying election contest
petitioners had withdrawn their request for emergency injunctive rehef,
the case would proceed “in the normal course.” As the basis for their
petition, they reference Supreme Court Rules 39 and 40, but those rules
provide for petitions for writ of certiorari to this Court from opinions or
orders issued by the Court of Appeals filed under Supreme Court Rule

38, and thus do not apply here. For the reasons that follow, we dismiss
the petition for lack of jurisdiction,

To the extent that the petition can be construed as a direct appeal
from the December 9 order, we note as an initial matter that this Court
has subject matter jurisdiction over “election contest[s],” Ga. Const. of
1983, Art. VI, Sec. VI, Par. II (2), and the underlying case fits within that
definition, as it is challenging the result of an election. See Cook v. Bd. of
Registrars of Randolph County, 291 Ga. 67, 70 (727 SE2d 478) (2012).
However, the December 9 order is not a final judgment, see OCGA § 5-6-
34 (a) (1) (direct appeals may be taken from “fajll final judgments, that
is to say, where the case is no longer pending in the court below”), and
therefore the petitioners were required to follow interlocutory appeal
procedures in order to obtain review of the order. See OCGA § 5-6-34 (b);
Duke v. State, 306 Ga. 171, 171 (829 SE2d 348) (2019). Although there
are some exceptions to that general rule, this case does not fit within any

| HRT

Blomberg Ho. $208

  
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of those exceptions. See OCGA § 5-6-34 (a) (2) - (13) (setting out directly
appealable non-final orders),

Additionally, petitioners’ reliance on the collateral order doctrine is
unavailing. See Duke, 306 Ga. at 174. Furthermore, to the extent
petitioners challenge the authority of the superior court judge to preside
over the pending matter, it does not appear that any order has been
entered on the challenge to her authority that they represent has been
filed below, and thus this issue provides no basis for invoking the Court's
jurisdiction. See Titelman v. Stedman, 277 Ga. 460, 461 (591 SE2d 774)

(2003) (order is not appealable until written, signed by judge, and filed
with the clerk).

Finally, to the extent that petitioners seek original relief,
petitioners have not shown that this is one of those extremely rare cases
that would invoke our original jurisdiction. See generally Brown uv.
Johnson, 251 Ga. 436 (806 SE2d 655) (1983). Accordingly for all these

reasons, this Court lacks jurisdiction to consider the petition and
dismisses it,

Melton, C. J., Nahmias, P. J., and Boggs, Peterson, Warren, Bethel,
Ellington, and McM, tllian, JJ., concur.

SUPREME COURT OF THE STATE OF GEORGIA
Clerk's Office, Atlanta

I certify that the above is a true extract from the
minutes of the Supreme Court of Georgia.

Witness my signature and the seal of said court hereto
affixed the day and year last above written.

Sh JK , Clerk
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 159 of 261

Fulton County Superior Court
““EFILED*"*AC

Date: 12/29/2020 9:34 AM
Cathelene Rebinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

BONALD J. TRUMP, in his capacity asa
Candidate for President, et al.

Petitioner.

VI

BRAD RAFFENSPERGER, in his official
Capacily as Secretary of State of Georgia,
Etal.

Respendent

CIVIL ACTION
FILE N@): 2020CV343245

STATUS OF REQUEST TO
APPOINT ADMINISTRATIVE LAW JUDGE

As provided in the notice of December 11, 2020, this Court has received Petitioner's

Notice of Emergency Request to Appoint Administrative Law J udge, which, in fact sought

a veferral to a Judge outside this district. Before this Court had an opportunity to consider

such request, the Petitioner filed a Notice of Appeal seeking to present this issue to the

appellate courts. Accordingly, this Court will not consider this request until either the

appeal is concluded or the notice of afpeal is Withdray

=T\
SO ORDERED this a daylof Dec 4

Filed and served electronically via eFileGA

      

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fo»
‘The Honorable Christopher S. Brasher
Chief Administrative Judge for
The Fifth Judicial Adniinistrative District
Atlanta Judicial Cireuit

EXHBIT

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CERTIFICATE OF SERVICE

This is to certify that I have this day served a copy of the above and foregoing RENEWED
REQUEST TO IMMEDIATELY APPOINT ADMINISTRATI VE LAW JUDGE AND
MOTION FOR RECONSIDERATION OF THE COURT'S STATUS ORDER OF
DECEMBER 29, 2020 AND INCORPORATED BRIEF IN SUPPORT upon the following

alleged parties via this Court’s e-file Odyssey system, via STATUTORY ELECTRONIC SERVICE
(O.C.G.A. § 9-11-5) and/or by placing a copy of the same in the United States mail, first class, with

sufficient postage thereon to ensure delivery, addressed as follows:

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Susan P. Coppedge

Adam M. Sparks

Krevolin and Horst, LLC

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20

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John Powers

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Griffin, GA 30223

Erick Kaardal

MOHRMAN, KAARDAL & ERICKSON, PA.
150 South Fifth Street

Suite 3100

Minneapolis, MN 55402

Attorney for Proposed Intervenor ~ Sean Draime
Pau! Kunst

PAUL C. KUNST, PC

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Barnesville, GA 30204

Attorney for Proposed Intervenor — Ameika Pitts
Patrick D. Jaugstetter

JARRARD & DAVIS, LLP

222 Webb Street

Cumming, GA 30040

Attorney for Proposed Intervenor — Erica Hamilton

Irene Vander Els

Sof11

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Shelly D. Momo

DEKALB COUNTY LAW DEPARTMENT
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Daniel White

Gregg Litchfield

HAYNIE, LITCHFIELD & WHITE, PC
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Marietta, GA 30060

Attorney for Proposed Intervenor — Anne Dover

Anne S. Brumbaugh

Law Office of Ann S. Brumbaugh, LLC
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Decatur, GA 30030

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Melanie F. Wilson

Tuwanda Rush Williams

GWINNETT COUNTY DEPARTMENT OF LAW
75 Langley Drive

Lawrenceville, GA 30046

Attorney for Proposed Intervenor — Shauna Dozier

John R. Hancock

A. Ali Sabzevari

FREEMAN MATHIS & GARY, LLP
66! Forest Parkway, Suite E

Forest Park, GA 30297

Attorney for Proposed Intervenor — Richard Barron

Kaye Woodard Burwell

Chery! Ringer

David Lowman

OFFICE OF THE FULTON COUNTY ATTORNEY
141 Pryor Street, SW

Suite 4038

Atlanta, GA 30303

State Respondents

Christopher M. Carr
Office of the Attorney General
Georgia Department of Law

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40 Capitol Square SW
Atlanta, Georgia 30334

Christopher $. Anulewicz

BALCH & BINGHAM LLP

30 Ivan Allen Jr., Blvd. N.W., Suite 700
Atlanta, Georgia 30308

Any and all other persons making a special entry of appearance or other entry of appearance in this

matter shall be served through the Odyssey efile system.

Respectfully submitted, this 29" day of Decembe

   

 

Georgia Bar No. 352877

Lead Counsel for Petitioners
205 Norcross Street

Roswell, GA 30075
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IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

SHAWN STILL, in his capacity as a Voter and
capacity as an Official Presidential Elector,
JANE DOE 1,

Petitioner,

¥S.

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!
BRAD RAFFENSPERGER, in his official ]
capacity as Secretary of State of Georgia, ]
COFFEE COUNTY BOARD OF ELECTIONS ]
AND REGISTRATION, ERNESTINE ]
THOMAS-CLARK, in her official capacity as |
Chairman of the Coffee County Board of ]
Elections and Registration, WENDELL STONE, |
in his official capacity as vice-chairman of the }
Coffee County Board of Elections and ]
Registration, ERIC CHANEY, in his official ]
capacity as a member of the Coffee County ]
Board of Elections and Registration, ]
MATTHEW MCCULLOGH, in his official }
Capacity as a member of the Coffee County |
Board of Elections and Registration, C.T. ]
_ PEAVY, in his official capacity as a member ]
of the Coffee County Board of Elections and ]
Registration, MISTY MARTIN, in her officiat J
Capacity as Coffee County Election Supervisor, |
JIL RIDLEHOOVER, in her official capacity as |
Coffee County Elections Assistant,

CORPORATE ENTITY 1, JOHN DOE 1

Respondents,

 

CIVIL ACTION FILE
2020CV343711
NO.

Fulton County Superior Court
“*FFILED**"QOW

Date: 12/17/2020 3:49 PM
Cathelene Robinson, Clerk

 

VERIFIED PETITION FOR EMERGENCY INJUNCTIVE
AND DECLARATORY RELIEF

COMES NOW, Petitioner SHAWN STILL, in his capacity as a voter and Presidential

Elector (hereinafter, “Petitioner”) and Jane Doe 1 (“Jane Doe”) (collectively “Petitioners”), by and

through his undersigned counsel, and respectfully files this Verified Petition (hereinafter,

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“Petition”) against Respondent BRAD RAFFENSPERGER, in his official capacity as Secretary
of State of Georgia (hereinafter, “Respondent Raffensperger”), Respondent COFFEE COUNTY
BOARD OF ELECTIONS AND REGISTRATION (hereinafter, “Respondent CCBOE”),
CORPORATE ENTITY 1, and JOHN DOE 1 (collectively “Respondents”), alleging and showing

this Honorable Court as follows:
PARTIES, JURISDICTION AND VENUE

i.

Petitioner Shawn Still is a resident of Georgia and an Official Presidential Elector.

Petitioner Jane Doe 1 is a natural person believed to have a claim against the Respondents.

3,
Petitioners are “contestants” as defined by O.C.G.A. § 21-2-520(1) who is entitled to bring

an election contest under O.C.G.A. § 21-2-521 (the “Election Contest”).

4.

Respondent BRAD RAFFENSPERGER, is named in his official capacity as Secretary of
State of Georgia. Respondent Raffensperger serves as the Chairperson of Georgia’s State Election
Board, which promulgates and enforces rules and regulations to (1) obtain uniformity in the
practices and proceedings of election officials as well as legality and purity in all primaries and
general elections, and (ii) be conducive to the fair, legal and orderly conduct of primaries and
general election. O.C.G.A. §§ 21-2-30(d), 21-2-231, 21-2-33.1. Respondent Raffensperger, as
Georgia’s chief elections officer, is also responsible for the administration of the Election Code.

id Respondent Raffensperger is a state official subject to suit in his official capacity because his

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office “imbues him with the responsibility to enforce the [election laws].” Grizzle v. Kemp, 634
F.3d 1314, 1319 (11" Cir. 2011). This Respondent may be served with summons and process
upon General Counsel for the Georgia Secretary of State at 214 State Capitol, Atlanta, Georgia
30334 and with copies to the Corporations Division of the Secretary of State’s Office at 2 Martin
Luther King, Jr., Dr., Suite 313 West Tower, Atlanta, GA 30334-1530. This Respondent is subject

to the jurisdiction of this Court as a “Violator” as defined under the Elections Code.

5.

Respondent COFFEE COUNTY BOARD OF ELECTIONS AND REGISTRATION is
charged to “promulgate[s] rules and regulations to define uniform and nondiscriminatory standards
concerning what constitutes a vote and what will be counted as a vote for each category of voting
system” in Georgia. O.C.G.A. § 21-2-31(7). This Respondent is also responsible for
“formulat[ing], adopting, and promulgat[ing] such rules and regulations, consistent with law, as
will be conducive to the fair, legal, and orderly conduct of primaries and elections.” Jd This
Respondent may be served with summons and process through their Board of Commissioners
Chairman Jimmy Kitchens and/or the County Attorney, Anthony A. Rowell, 206 South Coffee

Avenue, Douglas, GA 31533. This Respondent is subject to the jurisdiction and venue of this _

Court.

Respondents Emestine Thomas-Clark, Wendell Stone, Eric Chaney, Matthew Mccullogh,
C.T. Peavy, Misty Martin, Jil Ridlehoover are election officials appointed in Coffee County,

Georgia. They may be served with summons and process in their official capacities as required by

law.

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Respondent Corporate Entity 1 isa corporation believed to have liability in this matter. As

the party is identified the party will be served.

Respondent John Doe 1 is an individual believed to have liability in this matter. As the

party is identified, the party will be served.

9.
This Court has jurisdiction over the subject matter of this action as it is an Election Contest
and venue is proper as the actions and conduct that give rise to this Petition occurred in and the
equitable relief sought in Coffee County. O.C.G.A. § 9-10-30 et seq. (All actions seeking equitable

relief shall be filed in the county of the residence of one of the Respondents against who substantial

relief is prayed.)
FACTS

10.
Coffee County, Georgia participated in the 2020 General Election, including holding a
general election for President of the United States, for which President Donald J. Trump, former

Vice President Joseph R. Biden, and Jo Jorgensen were the only candidates on the ballot for

President in the election.

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1.
The general election conducted in Coffee County, Georgia, was subject to and was required

to adhere to, the election procedures set forth in the Georgia Election Code. 0.C.G.A. § 21-2-1 et

seq.

12.

Respondent Raffensperger serves as the Chairperson of Georgia's State Election Board,
which promulgates and enforces rules and regulations to (1) obtain uniformity in the practices and
proceedings of election officials as well as legality and purity in all primaries and general elections,
and (ii) be conducive to the fair, legal and orderly conduct of primaries and general election.
O.C.G.A. 21-2-30(d), 21-2-231, 21-2-33.1, Respondent Raffensperger, as Georgia’s chief

elections officer, is also responsible for the administration of the Election Code. Jd

13.

The CCBOE is charged to “promulgate[s] rules and regulations to define uniform and
nondiscriminatory standards concerning what constitutes a vote and what will be counted as a vote
for each category of voting system” in Georgia. O.C.G.A. § 21-2-31(7). CCBOE is also
responsible for “formulat[ing], adopting, and promulgat[ing] such rules and regulations, consistent

with law, as will be conducive to the fair, legal, and orderly conduct of primaries and elections.”

Id.

14.
Coffee County, Georgia and the Respondent CCBOE were “given” deadlines, that do not

exist in the Election Code, but that were “demanded” from Respondent Raffensperger concerning

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certification of electronic recounts of the November 3, 2020 general election for President of the

United States.

i5.
Coffee County, Georgia, by and through Respondent CCBOE, were unable to certify the

electronic recount election result numbers from the November 3, 2020 election.

16.

Coffee County, Georgia, by and through the Respondent CCBOE Chairperson Ernestine
Thomas-Clark, sent a letter dated December 4, 2020 to Respondent Raffensperger informing him
that Coffee County, Georgia was not able to repeatedly replicate or duplicate “creditable”
electronic recount election results and, thus, “cannot certify” the electronic recount numbers from

the general election results from November 3, 2020 and stated they “should not be used.”

17.
A true and correct copy of the letter is attached hereto as Exhibit “A” and incorporated

herein by reference.

18.
Coffee County, Georgia and the Respondent CCBOE were given deadlines, that do not
exist in the Election Code, from Respondent Raffensperger of when certified results of the general

election needed to be given to the Georgia Secretary of State’s office. That arbitrary deadline was

December 4, 2020.

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Respondent CCBOE felt extreme pressure and undue influence from Respondent
Raffensperger to meet his arbitrarily set deadline and to meet his specific demand to certify

electronic recounts of the November 3, 2020 election results.

20,
Respondent CCBOE, in an abundance of caution, and to meet Respondent Raffensperger’s
demanded deadline to “certify” election results, Respondent CCBOE voted to certify the election
results only from the raw votes from the November 3, 2020 election night itself and tendered that

result to the Secretary of State’s Office as the so-called “certification.”

21.
Respondent CCBOE further stated in the same letter to Respondent Raffensperger that “To
demand certification of patently inaccurate results neither serves the objective of the electoral

system nor satisfies the legal obligation to certify the electronic recount.”

22.
Coffee County, Georgia and the Respondent CCBOE through their letter to Respondent
Raffensperger further informed him that “NO local election board has the ability to reconcile

anomalies reflected in the attached.” See Ex. A.

23,
There are 159 local Election Boards in the State of Georgia, each one was “demanded” by
Respondent Raffensperger to certify the electronic recounts and tender those certified electronic

recounts to the Secretary of State’s office on or before December 4, 2020.

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The CCBOE letter calls into doubt the procedures, repeatability, dependability,
creditability and the “patently inaccurate” results of “electronic recount number certifications”
throughout the entire State of Georgia in each of the 159 counties, and concludes that each and

every local Election Board could not possibly certify their results to “satisf[y] the legal obligation

to certify the electronic recount.”

25.
The results of an election, here Coffee County, Georgia, may be set aside when there is
“any error in counting the votes or declaring the result of the primary or election, if such error
would change the results” (O.C.G.A. § 21-2-522) or “place in doubt the result” (id.) and where
there is “clearly established a violation of election procedures and has demonstrated that the

violation has placed the result of the election in doubt.” Martin v. Fulton Cty Bd. Of Registration

& Elections, 307 Ga. 193-94, 835 S.E.2d 245, 248 (2019).
26,

An unknown quantity of registered voters for President Donald J. Trump were denied the ability
to vote in the 2020 presidential election because they were told they were not registered. See

Exhibit B attached hereto and incorporated by reference.
27.

The inclusion of registered voters that were precluded from voting, will only further add to
the vote totals. This is an unknown quantity further placing the election results in doubt. See

Affidavits attached hereto as Exhibit “B”.

28.

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The raw election results from the night of November 3, 2020 did not and could not be
matched to the results of the electronic recount as declared by Respondent CCBOE in their letter

to Respondent Raffensperger.

29,
The tabulated electronic recount in Coffee County revealed discrepancies between the

Election Day results, Hand Recount, Electronic Recount which triggered a CCBOE investigation.

30.

The CCBOE investigation initially revealed that 185 ballots had not been run, so those

ballots were re-run.

31.
After CCBOE re-ran those 185 ballots through the electronic recount system, there was

“No change in Vote Count Despite 185 Ballots Added.” See Ex. A.

32.
The CCBOE inquired with the onsite representative for the electronic system, but the

representative “could not explain why the system would not update the votes.”

33.
The electronic system representative then “directed the Board of Elections to make a

decision about what to do.” See Ex. A.

34,
The CCBOE also found from their investigation “FOR SOME REASON NO WRITE-IN
COLUMN PRINTED ON THE RECOUNT SUMMARY. THERE WAS NO EXPLANATION
OR SOLUTION TO THIS PROBLEM.” (Caps and bolding in original). See Ex. A.

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35.

Upon information and belief, the electronic system representative inquired with

Respondent Raffensperger or his staff and was directed to inform Respondent CCBOE to “make

a decision” and ignore the discrepancies,

36.
The CCBOE voted to certify the election night results because there was an “irreconcilable

difference in vote count which leaves the Board with no guidance as to which count to certify.”

37,
The failure of the raw election night vote results to match the electronic recount results, on
a repeated basis, and the inability of Respondent CCBOE to “reconcile the anomalies” establishes

a per se error in the counting the votes as contemplated by (0.C.G.A. § 21-2-522).

38.
Th CCBOE data shows that election night results matched the hand recount results, but

neither the election night results or the hand recount matched the electronic recount.

39.
The electronic recount anomalies in Coffee County, Georgia are “sufficient to change the

outcome” of the election in Coffee County, Georgia, and “place in doubt the result.”

40.

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The electronic recount anomalies in Coffee County, Georgia are “sufficient to change the
outcome” of the election in the entire State of Georgia and “place in doubt the result,” as
Respondent CCBOE has stated to the Respondent Secretary of State that “NO local election board
has the ability to reconcile the anomalies...” which per se places in doubt the certified results of
the electronic recounts and election results of each and every Election Board in each of the 159

counties of the State of Georgia.

4],
The disparity in votes between President Donald J. Trump and former Vice President

Joseph Biden is currently 11,779 votes based on the public website of Respondent Raffensperger.

42.

Simple math shows that if the percentage discrepancy in Coffee County is extrapolated
across 159 counties, the disparity in votes between the two (2) main candidates is undermined and
the outcome of the election in Georgia potentially renders President Donald J. Trump as winner
which triggers Section 5 of O.C.G.A. § 21-2-522 “For any other cause which shows that another
was the person legally nominated, elected ...in a{n]...election.” See attached Affidavit by

Benjamin Overholt attached hereto and incorporated by reference.

43.
The Election Code “allows elections to be contested through litigation, both as a check on
the integrity of the election process and as a means of ensuring the fundamental right of citizens

to vote and to have their votes counted securely.” Martin, 307 Ga. at 194.

44.

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The Georgia Supreme Court has made clear that “it [is] not incumbent upon [Petitioner] to
show how...voters would have voted if their, ..ballots had been regular. [Petitioners] only ha{ve]
to show that there were enough irregular ballots to place in doubt the result.” Mead v Sheffield,

278 Ga. 268, 271, 601 S.E.2d 99, 101 (2004) (citing Howell v. Fears, 275 Ga. 627, 628, 571 S.F.2d
392, 393 (2002).

45,
By information and belief, Respondent Raffensperger’s response to the public release of

CCBOE’s letter was to send armed investigators to harass the members of the CCBOE.
46.

By information and belief, Respondent Raffensperger further ordered another recount in

Coffee County to be conducted by high school seniors.
47.

By information and belief, at least some of the high schoolers were under the age of 18.
48.

It is declared to be the policy of the State of Georgia that it has a “responsibility to protect

the integrity of the democratic process and to ensure fair elections for constitutional offices

O.C.G.A. § 21-5-2,
49.

Speaking to the Atlanta Journal Constitution, Respondent Raffensperger said by and
through his office that “[e]very other county was able to complete this task within the given time

limits. In some cases, counties realized they made mistakes in scanning ballots and had to rescan,

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or realized they neglected to scan some ballots and had to correct that error. But nonetheless, those

counties completed the recount on time.”

50.
The rule of law applying to our most fundamental democratic election process cannot be

disregarded in favor of public sentiment to simply move on or for purposes of speed. Bush v. Gore,

531 U.S. 98, 108 (2000).
51.

Because the outcome of the Contested Election is in doubt, Petitioner jointly and
severally hereby contests Georgia’s November 3, 2020, election results for President of the
United States in Coffee County, Georgia, and the entire State of Georgia (all 159 counties)
pursuant te O.C.G.A. §§ 21-2-521 and 21-2-522 et seq.

COUNT I:
ELECTION CONTEST
O.C.G.A § 21-2-521 et seq.
(All Respondents)

52.

Petitioner incorporates paragraphs 1 ~ 51 above verbatim for purposes of this Count I, as

though set forth fully herein.

53.

Respondents, jointly and severally, have violated the Constitution of the State of Georgia.

34.

Respondents, jointly and severally, have violated the laws of the State of Georgia.

35.

Respondents, jointly and severally, have violated the Election Code.

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56.

Respondents, jointly and severally, have violated State Election Board Rules and

Regulations.

37.

Respondents, jointly and severally, have violated the basic tenants of an open, free, and

fair election.

58.

The Contested Election has been timely and appropriately contested per O.C.G.A. § 21-2-

322 et seq.

59.
As a direct and proximate result of Respondents’ actions, the Contested Election is fraught
with irregularities, misconduct and fraud sufficient to change the outcome of the election in Coffee

County, Georgia, and place in doubt the entite election result in State of Georgia.

60.
Due to the actions and failures of Respondent Secretary of State, many illegal votes were

accepted, cast, and counted in the Contested Election, and legal votes were rejected.

61,
The fraud, misconduct, and irregularities that occurred under the “supervision” of

Respondents are sufficient to change the purported results of the Contested Election.

62.
The fraud, misconduct, and irregularities that occurred under the “supervision” of

Respondents are sufficient to place the Contested Election in doubt.

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‘ 63.

Respondent Raffensperger’s misconduct is sufficient to change the purported results in the

Contested Election in President Trump’s favor.

64,

Respondents’ misconduct is sufficient to piace the purported Contested Election results in

doubt.
65.
Respondents, jointly and severally, erred in counting the votes in the Contested Election.
66,

Respondents’ error in counting the votes in the Contested Election would change the result

in President Trump’s favor.

67,

Respondents, jointly and severally, erred in certifying the election results from election

night after performing the recount.

68.
Respondents were aware the vote counts taken after recount were incorrect.
69.
Respondent CCBOE vote counts were not capable of being duplicated or replicated.

70.
Respondent Raffensperger’s negligent, intentional, willful, and/or reckless violations of

the Georgia Constitution, Georgia law, as well as the fundamental premise of a free and fair

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election created such error and irregularities at every stage of the Contested Election—from

registration through certification and every Component in between-—that the outcome of the

Contested Election is in doubt.

71,

AS a result, there is sufficient evidence to cali the result of the Contested Election into
doubt as to the outcome of the Contested Election, and the Contested Election and any certification
associated therewith shall be enjoined, vacated, and nullified and either a new presidential election

‘be immediately ordered that complies with Georgia law or, in the alternative, that such other Just

and equitable relief is obtained so as to comport with the Constitution of the State of Georgia.!

See O.C.G.A. § 21-2-529.

COUNT I:
RESPONDENTS’ CERTIFICATION WAS INVALID AND MUST BE DECERTIFIED
(AH Respondents)
72,

Petitioner incorporates paragraphs | — 71 above verbatim for purposes of this Count IL, as

though set forth fully herein.
73.

Respondents are required by statute to certify the results of the election.

 

' In the event this Court enjoins, vacates, and nullifies the Contested Election, the Legislature shall direct the manner
of choosing presidential electors. U.S. art II, § I; see also Bush v. Gore, 531 U.S. 98.

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74.

When a recount is performed by statute, the county is required to certify the results of the

recount.
75.

Respondent Raffensperger selected an arbitrary deadline for counties to certify their

elections.

76.

Respondent CCBOE informed Respondent Raffensperger that its results from the statutory

recount were not capable of being duplicated or replicated.
77.

Respondent CCBOE informed Respondent Raffensperger that “NO” county could certify

the results of the recount. (emphasis in original).
78.

Respondent Raffensperger still required Respondent CCBOE to certify the results of the

recount.

79.

Respondent CCBOE recertified its election night vote totals after being unable to

confidently certify the results of the recount.

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80.

Respondent Raffensperger certified the State’s election results knowing the numbers from

Coffee County did not accurately reflect the results of the recount.
81.

Respondent Raffensperger has repeatedly stated that the certified results accurately reflect

the state’s vote totals.

82.
Respondent Raffensperger knew that statement to be false at the time he made it.
83.
The Office of the Secretary of State lied to the people of Georgia.
84.
Such a lie constitutes a fraud on the people of Georgia, including Petitioners.
85.

Such action by Respondent Raffensperger make him a “Violator” as defined under the

Election Code.

86.

Because Respondent Raffensperger certified vote totals he knew to be inaccurate the

December 7, 2020, certification is void.

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87.

Petitioner seeks an injunction to decertify both the Coffee County, Georgia certification of

the election results, and enjoin and decertify Respondent Raffesperger’s State certification of the

entire State of Georgia’s 2020 Presidential election results.

COUNT Ili - DECLARATORY JUDGMENT
(AH Respondents)

88.

Petitioner incorporates paragraphs | — 87 above verbatim for purposes of this Count III, as

though set forth fully herein.

89.
Petitioner is insecure, uncertain and unsure of his legal rights, status and other legal

relations with respect to the Contested Election and his ability to vote as a Presidential Elector in

the State of Georgia.

90.
Petitioner seeks all relief under O.C.G.A. § 9-4-1 et seq, including injunctive relief, against
Respondents to decertify both the Coffee County, Georgia certification of the election results, and

enjoin and decertify Respondent Raffesperger’s State certification of the entire State of Georgia’s

2020 Presidential election results,

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COUNT IV - INJUNCTIVE RELIEF
(All Respondents)

91.

Petitioner incorporates paragraphs 1 —90 above verbatim for purposes of this Count IV, as

though set forth fully herein.

92.

Petitioner seeks an injunction, both equitable and statutory preliminary, interlocutory, and

permanent, against Respondents to decertify both the Coffee County, Georgia certification of the

election results, and enjoin and decertify Respondent Raffesperger’s State certification of the entire

State of Georgia’s 2020 Presidential election results.

WHEREFORE, Petitioner prays for the following relief:

1.

That process issue according to law and this Verified Petition be served upon all

Respondents on an expedited basis;

That a Rude Nisi hearing on this matter be set instanter;

. That the Court order expedited responses to discovery served with the Verified Petition

see Exhibit “C” attached hereto for Petitioner’s Emergency Motion for Expedited
Discovery and Discovery served herewith as Exhibits C-i, C-2, C-3;

That the Court issue a declaration to decertify both the Coffee County, Georgia
certification of the 2020 Presidential election results, and enjoin and decertify
Respondent Raffensperger’s State certification of the entire State of Georgia’s 2020
Presidential election results:

That equitable injunctive relief, including temporary restraining order, preliminary,

interlocutory and permanent relief, be awarded in favor of Petitioner and against

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Respondents for any and all relief allowed as a matter of equity; and

6. For such other and further relief as this Honorable Court deems proper, just and

equitable and as justice so requires.

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Respectfully submitted, this /@ “day of December, 2020.

FIRM, LLC

 

 

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_KURT R. HILBERT
Georgia Bar No. 352877
Attorneys for Petitioner

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COFFEE COUNTY BOARD OF
ELECTIONS AND REGISTRATION
Ernestine Thomas-Clark, Chatrman 224 West Ashley Street Eric Chaney, Member
Wendell Stone, Vice-chairman Douglas, GA 31533 Matthew MeCutlogh, Member
CYT. Peavy, Member (912) 384-7018 Misty Martin, Elcetion Supervisor

FAX (912) 384-1343

E-Mail: misty hampton@\coffeecounty-pe.gov

Jit Ridtehoover Elections Assistant

December 10, 2020

House Governmental Affairs Committee
Elections Investigative Hearing

Shaw Blackmon — Chairman

401 State Capitol

Atlanta, Ga. 30334

We want to thank the Governmental Affairs Committee for allowing the Coffee County Board of
Election's to express its dilemma regarding certifying the electronic recount performed in the November
3, 2020 General Election. As you know, the certification process requires the Election Supervisor to
Swear under oath and under penalty of perjury that the certified votes are a true and accurate reflection
of the count, or recount. In the instant case, the Election Supervisor of Coffee County could not
honestly make such an attestation given the inherent inconsistencies existing within the electronic
summary report generated by the Dominion voting system.

The basis for the dilemma is simple the election summary report for the electronic recount
tabulated votes in a manner that resulted in more collective votes being cast for the Presidential

candidates than the total number of votes reflected within the report. The inconsistent count could not
be reconciled.

This fact (inherent inconsistency) alone was grounds not to certify the election based on the
Dominion data set and report. However, the reluctance to certify the electronic recount was
compounded where those results were considered in context with the two prior vote count results.

As this committee knows, a hand count of the original Genera} Election balloting occurred on
November 16 — November 17. Coffee County's hand count yielded one more ballot than was reflected
on the ballot count on election night, At the direction of the Secretary of State, if the hand count yields a
net vote difference of less than five votes, the board was instructed to certify the original vote tally.
Coffee County certified on the original elections results on November 9, 2020.

The election report used to certify the original election results was internally consistent, meaning
that the sum of the votes for each presidential candidate equaled the total votes reflected on the report.
The hand count also yielded the same internal consistency within the report. See Exhibit 5, It is worth
noting that we believe Dominion election reports generated in prior elections were likewise intemally

consistent. The internal inconsistency of the election Summary report stands in stark contrast to all other
prior elections.

To this application we have attached the following exhibits:

Exhibit 1: Election Night Summary Report
Exhibit 2: Recount Data

EXHIBIT

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 186 of 261

Exhibit 3: Electronic Electron Summary Report
Exhibit 4; Letter to Secretary of State

Exhibit 5: Spreadsheet with results (corrected)
Exhibit 6: Certification Form

Exhibit 5 is a spreadsheet that summarizes the discrepancies thus far described. A review of
Exhibit 5 illustrates the two glaring problems presented to the Coffee County Board of Elections. The
report relating to the recount is patently inaccurate on its face. Moreover, if one is to consider the
clectronic recount in light of the two prior vote counts, there is no way the vote tally reflected in that
report could be accurate, It is not credible to accept that the original count and the hand count, under
counted the total ballots by material number of ballots. Considering the inherent inconsistency of the
electronic recount data, and its unlikely accuracy when compared to the first two vote counts, the Coffee

County Board of Elections refused to certify the electronic recount based on the mandate of the
certification form.

The decision not to certify the electronic recount was the result of a unanimous vote by Coffee
County Board of Elections. However, this decision was not made until the Board could first have the
data reviewed and explained by its Dominion Tepresentative. The data reflected in this statement was
presented to the representative. He had NO explanation for the inaccuracies, He could not reconcile the
electronic recount report data or explain how it so dramatically differed from the two prior counts.
Knowing this decision would certainly be scrutinized, the Board sent a letter explaining its dilemma, its
decision and the supporting spreadsheet to the Secretary of State. This letter was sent to Brad
Raffensperger, on Friday, December 4, 2020.

That same day, the Election Supervisor also communicated directly with Chris Harvey, Director
of Elections about the findings and the decision. No one could explain what was wrong or what to do.

No one from the Secretary of State's office came to help the Board determine if it made an error or if the
inaccuracies are Dominion software related,

 

This committee must understand, in this same election cycle, we identified other problems with
the Dominion System and reported the same to the Secretary of State. On November 13, 2020 a letter
was wriften to the Secretary of State identifying other serious concems. A copy of that letter and other
relevant documents are attached as Exhibit 7, Our Board members and Election Supervisor have called

the Secretary of State’s office to both report these issues as well as ask for help to address those
problems. All our concerns and requests for help have fallen on deaf ears.

One can understand why today, December 10, 2020, our Board is dismayed to learn that the
Secretary of State has opened an "investigation" into our handling of the recount. We learned this not
from the Secretary of State but through WALB News where Chris Harvey provided a statement for the
media. Mr. Harvey did not show us the courtesy of a phone call.

The same is true as relates to a video created at a Coffee County Board of Elections meeting
which is now widely distributed via the internet. This video demonstrates how the Dominion system
can be manipulated to alter existing ballot results or create voter ballots out of thin air. This security
issue was first discovered by the Coffee County Board of Elections supervisor in June, 2020. It was
made known to some but not all of the Board members. Importantly however, the findings were
reported to our State Representative Dominic LaRiccia on or about June 10, 2020, with the hope that
someone unassociated with Dominion would scrutinize this problem. The board never heard a word
from Mr. LaRiccia or anyone from the Secretary of State's office or state government,
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Afier the Presidential election was over, national attention focused on whether Dominion
software could be manipulated to impact election results. Having previously demonstrated this fact, the
full Board wanted to have this process documented during an open meeting. The video that captured
this demonstration, along with other documents were requested to be produced via an Open Records
Request. The content became public knowledge through this third-party request,

The Coffee County Board of Elections has for many months reported various aspects of these

ms to the Secretary of State receiving no assistance in correcting these problems. As for the
investigation, the Secretary of State chose not to assist us or help evaluate the root cause of the refusal to
certify the election recount but certified the statewide election results despite our findings. The Coffee
County Board of Elections took action which it believed accurately reflected the accurate vote of its
citizens and certified that vote. If it has done so erroneously, it has been done, not nefariously or

belligerently but honestly, humbly and with but one goal: to certify the true vote of the citizens of
Coffee County.

probie

This is particularly disappointing given that Eric Chaney personally called Chris Harvey and
Dennis Carbone on November 13, 2026 to express his concems over the Dominion System. Mr. Harvey
nor Mr. Carbone returned this phone call. But the deafening silence from people in authority regarding
our concems go back to June 2020; their indifference is unfortunate,

As Exhibit 8 we have attached a list of individuals who, prior to Monday December 7, 2020,
were made aware of some or all of the problems reflected in this statement. Not one person has offered
any solution or explanation for these issues. The Secretary of State has been AWOL.

We look forward to our “investigation” which begins Friday. We stand ready to take any

necessary action to correct any problems which are supported by the law and facts, even if we
mistakenly erred in our decisions.

Respectfully,

      

Coffee County Board Member
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 188 of 261

EXHIBIT LIST

Election night summary Teport
Hand recount election summary
Electronic recount ESR

Letter to Secretary State (Dec. 4", 2020)

Spread sheet summary election results (correction)
Certification form

Letter to Secretary of State (Nov 11", 2020)
People aware of problems prior to Monday Dec 7", 2020

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EXHIBIT 1
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 190 of 261

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Election Summary Report

General Election
COFFEE
November 03, 2020
Summary for: All Contests, All Districts, All Tabulators, All Counting Groups
OFFICIAL AND COMPLETE

Precincts Reported: 6 af 6 (100.00%)
Registered Voters: 15,277 of 25,114 {60.83%}
Ballots Cast 15,277

President of the United States (Vote for 1)
NP

Precincts Reported: 6 of 6 (100,00%)

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Jon Ossoff (Dem) - 40872208 93 4281
Shane Hazel {Lib} 85 155 46 Q 286
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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 191 of 261

Page: 3 of 8

Public Service Commissi

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Precincts Reported: 6 of 6 {100.005}

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Candidate Party Election bay Advanced Absentee by

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‘Total Votes 3479 8,562; 1aIB:
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US House District 12 (Vote for 1)
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Precincts Reported: 6 of 6 (1 00.00%)
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Candidate . Party Election Day - “Advanced : Absentee by
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State Senate District 7 (Vote for 1)
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Precincts Reported: 5 of 6 (100.6%)

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 192 of 261

Paye: 5 of 8

Sheriff (Vote for 1)
NP

Precincts Reported: 6 of 6 { 100.0056)

Times Cast

Candidate a : Party

Doyle T. Weaten ( (Rep}
Total Votes

Unresolved Write-tn /

Tax Commissioner (Vote for 1)

NP

Precincts Reported: 6 of 6 {100.00%)

‘Times Cast , .
Candidate Party
Shanda Henderson a) (Rep)

‘Totat Vates ;

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Surveyor (Vote for 1)
NP

Precincts Reported: 6 of 6 (100.0056)

Times Cast

Candidate Party

Adam H. Evans (I) (Rep) .
Total Votes

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 193 of 261

Page: 7 of 8

County Commission District 5 (Vote for
NP

Precincts Reported: § of § (100.004)

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Times Cast

1,134 4,916

Candidate Party Election Day Advanced
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Total Votes re 1,604,
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Soil and Water - Altamaha (Vote for 1)
NP

Precinets Reported: 6 of 6 (100,00%)

Times Cast 3,754 9,573

Candidate Party Election Day: Advanced

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Total Votes rr re

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Constitutional Amendment #4 (Vote for
NP

Precincts Reported: 6 af 6 (100.00%}

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Times Cast 3,754 9,573
Candidate Party Election Day: = Advanced
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Total Votes — / 33a? 8,646,
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EXHIBIT 3
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20

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November 03, 2020

COFFEE

Election Summary Report

General Election

Summary for: All Contests, All Districts, All Tabulators,

Precincts Reported: 6 of 6 {700,00%)
Registered Vaters: 15,327 of 25,114 (61.03%)
Ballots Cast: 15,327

President of the United

NP

Precincts Reported: 6 af 6 (100.00%}

Times Cast .
Candidate . Party’
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Joseph R, Biden (Derm)
fo Jorgensen (Lib} .

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Gloria La Riva ‘ WRITE-IN

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US Senate (Perdue) (Vote for 1
NP

Precincts Reported: 6 of 6 {100.0035}

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Candidate Party
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Jon Ossaff {Bem}

Shane Hazet {Lib}
Total Votes

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All Counting Groups
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Total
15,327 / 25,114 61.03%

Total
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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 198 of 261

Page: 3 of 8

Public Service Commission District 4 (Vote for 1)

NP

Precincts Reported: 6 af 6 (100.00%)

Tienes Cast

Candidate

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(Rep) a!
Daniel Blackman (Dem)
Nathan Wilson {uiby
Total Votes a

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US House District 42 wv ote for 1)

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Praciacts Reported: 6 of 6 (100,00%)
“Times Cast

Candidate

Rick W. Allen ( Rep)

‘lz Johnson (Dern)
Total Votes

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State Senate District 7 (Vote for 1)

NP

Precincts Reported: 6 of & (100.005)

Times Cast

Candidate

Tyler Harper tt) {Rep}
Total Votes

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15,327 / 25,114 > 61.03%)

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 199 of 261

Page $ of 8

Sheriff (Vote for 1)
NP
Precincts Reported: 6 of 6 (100,00%)

Times Cast
Candidate Bary

Doyle T. Wooten il} {Rep)
Total Votes

Unresolved Write-in

Tax Commissioner (Vote for 1)

NP

Precincts Reported: 6 of 6 {160.00%)

Times Cast_ ;

Candidate Party

Shanda Henderson (0 (Rep)
Total Votes

Unresolved Write-tn

Surveyor (Vote for 1) -

NP

Precincts Reported: 6 of G €100.00%)

Himes Cast

Candidate , Party

Adam H, Evans {1) (Rep)
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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 200 of 261

Page: 7 of 8

Co:nty Commission District 5 (Vote for
NP

Precincts Reported: 5 of § {100.00%}

Election Bay Advanced Vat

Times Cast / 3,066° 9
Candidate Party Election Day . Advanced ;
Voting

Ted Osteen () (Rep) 2553 a
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Soil and Water - Altamaha (Vote for 1)
NP

Precincts Reported: 6 of & (100.0096)

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‘Total

16

: Total :
15.301 /25,114 60.93%.

Total

oO
Total

1,528

; Total ,

18,301/25,114 60.93%

Fotal

18383
3,360
13743

Total
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 201 of 261

EXHIBIT 4
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 202 of 261

COFFEE COUNTY BOARD OF
ELECTIONS AND REGISTRATION

E24 West Ashley Street

Eric Chaney, Mtember
Dougias, GA 31533 Matthew MeCullogh, Member
(912) 384-7018

Misty Martin, Election Supervisor
FAX (912) 384-1343 Jit Ridlehoover Eteetions Assistant
E-Mail: mij nGic

Ernestine Thonias-Clark, Chairman
Wendell Stone, Viee-chairman
CYT. Peavy, Member

ha. BOY

12/04/2020

Brad Raffensperger
214 State Capitol
Atlanta, GA. 30334

Dear Mr. Raffensperger,

The Coffee County Board of Elections and Registration cannot certify the electronic

recount numbers given its inability to repeatably duplicate creditable election results. Any
system, financial, voting, or otherwise, that is not repeatable nor dependable should not
be used. To demand certification of patently inaccurate results neither serves the

objective of the electoral System nor satisfies the legal obligation to certify the electronic
recount.

Tam enclosing a spread sheet which iHuminates that the electronic recount lacks
credibility. NO local election board has the ability to reconcile the anomalies reflected in
the attached. Accordingly, the Coffee County Board of Elections and Registration have
voted to certify the votes cast in the election night report. The election night numbers are
reflected in the official certification of results submitted by our office.

Respectfully,
Coffee County Board of Elections and R.

ho
Emestine Thomas-Clark

Chairperson

 

Signed by Chairperson by expressed permission and consent of 100% of the board,

ce
Dominic LaRiccia
Tyler Harper
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 203 of 261

DISCREPENCIES IN THE NOVEMBER 3, 2020 GENERAL ELECTION AND RECOUNTS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total |; Internal} Total Net Discripency Between Total
Date Activity Action # | Trump Biden | Jorgensen | Write-IN* | No Vote*/ Votes Dalts Delta and Internal
11/3/2020 Election Day 1 1 10578 } 4511 125 23 40 15237
11/17/2020 Hand Recount 2 10578 4511 126 NA NA 15238
Compare 2 to 1 0 0 +1 +1 +1 +1 0
41/30/2020] Electronic Recount 3 10596 4518 13 6 15 15127
Compare 3 toi +18 +7 -1i2 “110 -87 -110 +23
Compare 3 to 2 +18 +7 -112 -110 ~88 ~120 +22
2nd uploaded 185 NO NO NO NO
11/30/2020 BALLOTS 4 CHANGE | CHANGE! CHANGE: 0 74 CHANGE
The tabiuated Electonic Recount revealed the above discrepencies
Investigation revealed we negelected to run 185 balltos: we then ran these ballots
we reviewed the resultsbut there was Ne Change in Vote Count Despite 185 Ballots Added
The on Site Dominion Rep could not explain why system would not update votes
The Dominion Rep directed the Board of Elections to make a decision about what to do.
FOR SOME REASON NO WRITE-IN COLUMN PRINTED ON THE RECOUNT SUMMARY
THERE WAS NO EXPLANATION OR SOLUTION TO THIS PROBLEM
12/2/2020 | Prepare to Certify 5 10597 | 4520 136 15236
Compare 5to1 +19 +9 #11 v1 +37 +16 +23
Compare 5 taz +19 +9 +11 -2 +38 416 +24

 

 

 

 

There is a discrepency between Electronic Recount and total votes for both 1 & 2

 

 

 

 

 

Stated Differently after 3 counts a clear inconsistency exists as one compares the orgional election counts, the hand
recount, and the electronic recount.

 

 

 

Anomilies in software recounts create irreconciable difference in vote count which leaves the Board with no clear
guidance as to which count to certify.

 

 

 

 

 

* Write-IN and NO Votes are NOT included in the Total Votes

 

 

 
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EXHIBIT 5
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 205 of 261

OfOC/OT/ZT Pesiaay

 

Sa}OA JEIOL 3U] Ul PSpN[Iu! LON Sse SaIOA ON BUE NI-@IM «

 

 

“A}33 07 1UNOS Y]YM 0} SZ BDUEPINE Jeapy ou UTM PUeOg Sy] sanea] YAM JUNO? aIGA Ul S3UaJaYIp B/GeuoIauuI Bj]FaID SIUNOI|s AiPMYOS Ui SaqfwGUYy

 

 

WAOIas BUI Ia|a 94) Pue “JUNO! PueY a4) ‘SUNOS GorIa]/a }eU0ITIO 84) SAJEUIGD OUD SP 535|x9 ATUOISISUGIUT Je3]) B S}UNOD ¢ Jaye AHUBIT{IC paqeis

 

 

28 T WiOq JO) SolO4 j2]0} Pue JUROSaY 31U0sI9a19 UsaMaq ADUedaJoSIp & st ala]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 206 of 261

EXHIBIT 6
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 207 of 261

CERTIFICATION OF RETURNS For:

NOVEMBER 3, 2020 GENERAL ELECTION RECOUNT

 

(County)

 

Instructions: Prepare and print 4 copies of fhe Election Summary for the General
Election (county consolidated vote totals report that is generated by EMS),
Attach copies of this consolidated certification repurt as follows:

White sheet is attached to Election Summary and returned to Secretary of State,
Yellow sheet is attached to Election Summary and maintained by Superintendent.
Pink sheet is attached to Election Summary and sent to Clerk of Superior Court.

Goldenrod sheet is attached to Election Summary and immediately posted at the
Courthouse.

mw Ne

ELECTION SUMMARY MUST BE ATTACHED To THIS FoRM

 

 

 

We, the undersigned Superintendent/Supervisor of Elections and his/her Assistants, do jointly
and severally certify that the attached Election Summary is a true and correct count of the
votes cast in this County for the candidates in the General Election.

In TESTIMONY WHEREOE, We have hereunto set our hands and seals this day of

20 . SIGNED IN QUADRUPLICATE.

 

Assistant

 

 

. Superintendent/Supervisor Of Elections
Assistant P P

 

Assistant

 

Assistant

 

Assistant

 

CR-GE-20
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 208 of 261

EXHIBIT 7
as

COFFEE COUNTY BOARD OF
ELECTIONS AND REGISTRATION

Ernestine Vhomas-Clark, Chairman 224 West Ashicy Street

Wendell Stone, ¥ice-chairmen

Erie Chaney, Member

Douglas, GA 31533 Matthew MeCultoph, Member

C.-T. Peavy, tember (912) 384.7018 Misty Martin, ehectton Supervisor
FAX (9:12) 384-1343

Fil Ridichoaver Elections Assistant
E-Mail: Misly-hamploncoffeecounty.a. voy

Brad Raffensperger

2 MLK Jr. Dr. S.E. Ste. 814
Floyd W Tower

Atlanta, Ga. 30334

November 11, 2020

Dear Mr. Raffensperger,

During the election conducted on 11/3/2020 the Coffee County Board of
Elections and Registration discovered deficiencies in the current Dominion

election system. We are writing to ensure you are aware of these and that they
may be immediately rectified.

Using the old Diebold system, absentee b
would duplicate the voter’s intent on a new bal
representative from the Democratic and Repub
member, would all agree on the marking or du
all 3 sign the top tab of the ballot that We attac
May recreate the process and see who was maki
proof it was agreed by all

allots by mail that have errors
lot on all races possible. A
lican Party Plus a board
plicating the ballot. We, also,
f 261
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 2100

In a Mockup election We were abl

€ to count ballot multiple times. It was
during this mockup election we have y

erified and recreated the above

  
  
  

deficiencies

Respectfully,
Ze a
Ada Z CAP ht!

      

. Ernestine Thomas-C lark

Wharaelay Shams

Wendell Stone

“Wily

Matthew McCullough

Eric ee
Delivered by: Over Lowrie veseone
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 211 of 261

 

Coffee Co Commission Friday, 2020-11-13 16:26 9123840291

Job # Length Speed Pax Name/Number

Pgs Status

814046560513 lo OK -- V.17 AB3L

2020-11-13 16:27 SCAN 909299 0:32 14400

 

COFFEE COUNTY BOARD OF

ELECTIONS AND REGISTRATION

Enuectine TginaeChek, Clidecwan 224 West Ashtey Strect

Erte Choney, Member

enfell Styae, Veemclcteuies Dougiis, GA 31533 Matthew MfeCutlogh, Member

COV. Peng, Meri her (913) 84-7045 Misty Martin, etcerten Supervicer
FAX (912) 344-1349

AM Midkheover Weetons Arista
E-Mail: miay:

Brad Raflensperger

2MLK Ir. Dr. SE. Ste. i4

Floyd W Tower

Aflanta, Ga, 30334.

November 11, 2020

Dear Mr, Raffens perger,

During the election conducted on 11/3/2020 the Coffee County Board of
Elections and Registration discovered deficiencies in the current Dominion

election system. We are writing to ensure you are aware of these and that they
may be immediately rectified.

The adjudication process atlows the ICC operator to clés 6. hairy: 5
adjudication occurs, io, ambiguous marks, over vote, under vote, blank
ballots, or ALL baltots. With the setting on “all ballots" we could adjudicate
and change votes on all ballots, even if the ballot was correctly and cleanty
voted. We believe a statewide standard would be appropriate,

Using the old Diebold system, absentee ballots
would duplicate the voter's intent on a new

During the adjudication process with the Dominion System, no such trail
can be created. This allows ANYONE to make a change to the vote so there

 

 

 
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USPS.com® - USPS Tracking® Results

USPS Tracking®

Track Another Package +

Tracking Number: EJ47524 4345US8

Scheduled Delivery by
MONDAY

by
16 m0 3:00pm@

Delivery Attempt

November 14, 2020 at 10:09 am

Delivery Attempted - No Access to Delivery Location
30334

Get Updates .-
Text & Email Updates

Select what types af updates you'd tike to receive and how. Send me a notification tor:

Text Emait
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C] Delivery Exception Updates @)

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t Package In-Transit Updates (}

Page 212 of 261

FAQs >

Remove ¥

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Proof af Delivery

hilps:/aols.usps.com/ga/TrackConfirmAction?qte_tLabels 1=EJ475214345US
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 213 of 261

EXHIBIT 8
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 214 of 261

The following 15 people have received calls or |
with the Dorninion software and Other issues.

etters identifying the following Cartological problems

i. The adjudication processes and the ability to manipulate votes
2.

The absence of audit trail to identify who changed data

in adjudication process and who

witnessed to the adjudication of any given ballot.

3. Change by the 50S in the adjudication

Pracess changing the old system which required a rep

from each party, plus a board member, to determine the voter's intent.

Under the Dominion adjudication process an
Oversite or accountability fram any neutral 3

multiple times.

4, Multiple complaints and concerns have been logged over training,

inexplicable software anomalies.
Secretary of State Brad Raffensperger

Gary Gainous _ Dominion Tech

yane can adjudicate change a vote with out any
party. A sinale ballot can be scanned and counted

equipment failure and

Dominic LaRiccia — State Hause Representatives for Dist 169 6/10

Butch Miller ~ Senator 12/3
Mike Dugan - Senator 12/3
Steve Gooch ~ Senator 12/3
John Kennedy — Senator 12/3
Larry Walker — Senator 12/3
Dean Burke ~ Senator 12/3
Tyler Harper — Senator 12/3
Blake Tillery 12/3 & 12/4
Cardan Summers 12/3 & 12/8
Cathy Latham 12/7 & 12/8
Whitney Argenbright - Albany News - 12/7
Robert Preston 12/7 & 12/8

Brad Schrade with AIC 12/8
 

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AFFIDAVIT OF ALYSSA HOPE TAYLOK

Comes now, Alyssa Hope Taylor, and after being duly sworn makes the

following atarement undor oath:
2, My name is Alysea Hope Taylor.

2. Jam over the age of 21 yeare, and [ am under ne logul disability
which would prevent me from giving this declaration. Lf called to testify, I

would testify under oath to these facts.
3. Tam a resident of Coffee County, GA.

4. On maltiple occasiona | have tried to register to vote in Coffer

County, GA.

5. On multiple occasions, my husband - who lives at the came

address - alev dried to rugisier wy vule in Coffee County, Ga.

G. Both my busband and I were denivil the opportunity to regiater to

vote.

I wished to vete for President Donald J. Trump in the 2020

-

a.

Presidential Election.

8. My husband also wished to vate for President Donald J. Trump in

the 2020 Presidential Election.

9. We were denied the upportunity to register to vote in Coffee

Caunly, GA,

10. We were denied the opportunity to vote.

EXHIBIT

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 216 of 261

LL. Twas told that Eeould nut vote,

12. [was denied the opportunity to vote,

14. [ waa denied the opportunity te vote for President Donald J.
Trump's re-election,

MM. Upun information and belief there are other similarly situated
cligible registered vertcre in Coffee County that were not allowed w register to
vote,

I declare under ponally of purjury that the foregoing is true and corruet,

Executed this 14th day of December, 2020,

ene

Maca Tigyle

Alvssn Hope Taylor

State of Cleargia
County of Coffee

Appeared hefore me Alysaa Uspe Taylor, this 2th day of December, 2020 and
after being duly sworn, stated the forgoing statements are true and correct Wy

he of his knowledge and belief.
b Udurardeso osameig—

ROBERT ALEXANDER S:NNERS Hf y |

 

NOTARY PUBLIC
Fulton County
State of Georgia
My Comm. Expires Decemtver 7, 2024

 

 

 

 

 
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 217 of 261

 

 

 

 

STATE OF GEORGIA
COUNTY OF COFFEE

Personally appeared belore me, the undorsigned oficer duly authorizad to admin‘star oaths,
Corella O'Steen, who, ator having becn sworn, dapasus and says as iolows:

1. My name is Cecilia Cheyenne O'Stean,
2. iam over the age of 21 yoars, and | am under no legat disabdity which would pravont

mé fam giving this dectaration, If called te tasty, |wouk! lastify under oslh fo Bhar Facts.

2 I feside af 1474 GA HWY 64, NICHOLLS, GA 3159¢.

4. lam a resident od Coffee County.

&. I registered fo vote when renewing my Drivers License an 1/2018.
6. My Oniver's License incorrectly places my residence in Bacon County.

7. When attempting to vote in Coden County on 1613/2016, E was told Iwas registered

in Bacon County.
&, Iwas not aligned to vole,

  
   

   

I daciare under panally of panury thet the
B

echmber, 2020.

   
  

 
 

 
  

Stain of Geargia Cevoly of Coffer

Seeewegsters this 12th cay of December, 2020 ane after baing duly

Appoared befora me 2a : !
swarn, Slated ti forgoing sialements are tae and correct lo the best of his knowledges and belief.

 
   
 
 

 

IZ / 12 / 20
Jkt Moke Post
ROBERT ALEXANDER SINE
NOTARY PUBL Ic: NERS
Fulton County
State of Georgia

. Expires Decomber 7, 2024
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 218 of 261

AFFIDAVIT OF APRIL MICHELLE MCCLAIN

Comes now, April Michelle McClain, and after being duly sworn makes
the following statement under oath:

1, Myname is April Michelle McClain.

2. I am over the age of 18 years, and I am under no legal disability
which would prevent me from giving this declaration. If called to testify, I
would testify under oath to these facts.

3. Iam a resident of Coffee County, GA.

4, I registered to vote in Georgia on or about January 14, 2020.

5. I wished to vote for President Donald J. Trump in the 2020
Presidential Election.

6. I attempted to vote early in person in October, 2020.

7. I showed my driver’s license to a female employee at the Coffee
County Elections Office.

8. I was told by the female poll worker employee that I was not
registered to vote.

9. I was told that I could not vote.

10. I was denied the opportunity to vote.

11. I was denied the opportunity to vote for President Donald J.

Trump’s re-election.

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p——Case 1:20.cv-05310-MHC_ Document 1:4..,Filed 12/31/20. Page 219 of 261,

12. Upon information and belief there are other similarly situated
eligible registered voters in Coffee County that were denied the opportunity
to register or vote.

I declare under penalty of perjury that the foregoing is true and correct.

Wut APU R/

| Michelle McClain

Executed this 12th day of December, 2020.

  

State of Georgia
County of Coffee

Appeared before me April Michelle McClain, this 12th day of December, 2020
and after being duly sworn, stated the forgoing statements are true and
correct to the best of his knowledge and belief.

 

a
Mee Mon fo he nnpte efiz/2

Notary Public

My cbrfi PEAR ALEANDER SINNERS

Fulton County
State of Georgia
My Comm. Expires December 7, 2024

 

 

 

 

 

-2-|Page

 
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IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

SHAWN STILL, in his capacity as a Voter and
capacity as an Official Presidential Elector,
JANE DOE },

Petitioner,

CIVIL ACTION FILE
VS.

NO.

 

]
]
]
]
|
:
BRAD RAFFENSPERGER, in his official ]
capacity as Secretary of State of Georgia, ]
COFFEE COUNTY BOARD OF ELECTIONS |
AND REGISTRATION, ERNESTINE }
THOMAS-CLARK, in her official capacity as ]
Chairman of the Coffee County Board of ]
Elections and Registration, WENDELL STONE, |
in his official capacity as vice-chairman of the ]
Coffee County Board ef Elections and ]
Registration, ERIC CHANEY, in his official ]
capacity as a member of the Coffee County }
Board of Elections and Registration, }
MATTHEW MCCULLOGH, in his official }
Capacity as a member of the Coffee County ]
Board of Elections and Registration, C.T. ]
PEAVY, in his official capacity as a member ]
of the Coffee County Board of Elections and ]
Registration, MISTY MARTIN, in her official ]
Capacity as Coffee County Election Supervisor, |
JIL RIDLEHOOVER, in her official capacity as ]
Coffee County Elections Assistant,

CORPORATE ENTITY 1, JOHN DOE 1

Respondents.

 

PETITIONER’S EMERGENCY MOTION FOR EXPEDITED DISCOVERY

COMES NOW the Petitioner, Shawn Still, and moves pursuant to O.C.G.A. § 9-11-26, and
as otherwise allowed by law and the Uniform Superior Court Rules, this Honorable Court for

Expedited Discovery for good cause shown. Specifically, Petitioner requests that the Court require

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Respondents to produce documents and testimony regarding facts surrounding the elections
certification process in Coffee County, GA. See Petitioner’s Request for Production of
Documents, Requests for Admission, and Interrogatories, attached hereto as Exhibits C-1 and C-

2. O.C.G.A. § 9-11-26; O.C.G.A. § 9-11-33, 9-11-34, and 9-11-36.

Petitioner is a designated Georgia Elector for the November 3, 2020 presidential election.
Petitioner must complete discovery within 36 hours of this filing to discern election results for
Coffee County, Georgia in advance of December 14, 2020, the date specified by federal statute
for the vote of the Electoral College. (“The electors of President and Vice President of each State
shall meet and give their votes on the first Monday after the second Wednesday in December
next...”). 3ULS.C. § 7. Petitioner cannot ascertain or perform his duty as a member of the Electoral
College without completed discovery in this case. Accordingly, due to the extreme time constraint
and based on the recent documentation that was discovered December 4, 2020, the need for
expedited discovery is paramount to resolving the underlying Election Contest and determining
the irregularities, misconduct and possible fraud in the Presidential Election that may be
“sufficient” to change the outcome of the election, or place the result in doubt — not only in Coffee

County, but also in the entire State of Georgia.

Further, Petitioner intends to file a motion to add parties and needs responses to this
discovery to identify those parties and expeditiously proceed with the parties’ addition and

subsequent litigation.

A proposed Order granting this Motion is attached hereto as Exhibit C-3.
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WHEREFORE, for the within and foregoing reasons, Petitioner Shawn Stil!’s Motion for
Expedited Discovery respectfully requests that its motion be GRANTED in the above captioned

matter, and for such other and further relief as is just, proper and equitable.

Respectfully submitted this 12 day of December 2020.

 

  

 

 

URT R. HILBERT, ESQ.

Georgia Bar No. 352877
Attorney for Shawn Still
205 Norcross Street
Roswell, GA 30075
Georgia Bar No. 352877
T: (770) 551-9310

F: (770) 551-9311
khilbert@hilbertlaw.com
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 223 of 261

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

SHAWN STILL, in his capacity as a Voter and
capacity as an Official Presidential Elector,
JANE DOE I,

Petitioner,

VS.

|

]

]

|

J
BRAD RAFFENSPERGER, in his official ]
capacity as Secretary of State of Georgia, ]
COFFEE COUNTY BOARD OF ELECTIONS |
AND REGISTRATION, ERNESTINE ]
THOMAS-CLARK, in her official capacity as |
Chairman of the Coffee County Board of }
Elections and Registration, WENDELL STONE, ]
in his official capacity as vice-chairman of the]
Coffee County Board of Elections and }
Registration, ERIC CHANEY, in his official }
capacity as a member of the Coffee County }
Board of Elections and Registration, ]
MATTHEW MCCULLOGH, in his official ]
Capacity as a member of the Coffee County ]
Board of Elections and Registration, C.T. ]
PEAVY, in his official capacity as a member ]
of the Coffee County Board of Elections and ]
Registration, MISTY MARTIN, in her official |
Capacity as Coffee County Election Supervisor, |
JIL RIDLEHOOVER, in her official capacity as |

Coffee County Elections Assistant, ]
CORPORATE ENTITY 1, JOHN DOE 1 ]
Respondents. l

I

 

CIVIL ACTION FILE

NO.

 

PETITIONER'S FIRST DISCOVERY REQUESTS

FO RESPONDENT COFFEE COUNTY BOARD OF ELECTIONS AND REGISTRATION

SERVED WITH THE VERIFIED PETITION

COMES NOW Petitioner Shawn Still, in his Official Capacity as Presidential Elector and

serves upon Respondent Coffee County Board of Elections and Registration (hereinafter the

“Coffee County Board”) the following Discovery requests pursuant to O.C.G.A. § 9-11-26, 9-11-33

i

 
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9-11-34, and 9-11-36, and as otherwise allowed by law.

Respondent Coffee County Board is requested to respond to the following discovery
request by serving its responses upon the undersigned counsel for Petitioner within forty-five (45)
days from the date of service of the discovery with the Complaint in conformance with the
requirements of the Georgia Civil Practice Act, or on a more expedited basis as this Honorable
Court may so direct and order.

DEFINITIONS

The Definitions set forth below are incorporated into this request and are to be carefully
followed.

1. When used herein, the foliowing terms shall have the meanings described below:

a. The “Contested Election” is defined as the 2020 Presidential Election Contest in
Georgia concluding on November 3, 2020.
b. “Election Night” is defined as the evening of November 3, 2020, and the
morning of November 4, 2020.
c. “Dominion” is defined as Dominion Voting Systems Corp.
REQUESTS FOR PRODUCTION OF DOCUMENTS
1.
Produce copies of all election ballots for the 2020 Presidential Election in Coffee County,
Georgia with redactions of only personal identifying information.
2.

Produce all recordings, videos, text messages, voicemails, emails, and communications of

any kind and nature with any Dominion representative that participated in the recount of the ballots in

the 2020 Presidential Election in Coffee County, Georgia.
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3.

Produce all documentation evidencing who was deputized as an official election official in

the 2020 Presidential Election in Coffee County, Georgia.
4.

Produce all documentation evidencing what rules, regulations or instructions (other than
the Election Code), if any, that the Coffee County Board relied upon to conduct the recount concerning
the 2020 Presidential Election in Coffee County, Georgia.

5.

Produce all documentation evidencing who was registered to vote in the 2020 Presidential
Election in Coffee County, Georgia.

6.

Produce any and all documentation evidencing any provisional ballots in the 2020
Presidential Election in Coffee County, Georgia.

7.

Produce all documentation evidencing any and all provisional ballots that were counted in
the 2020 Presidential Election in Coffee County, Georgia.

8.

Produce all documentation evidencing any and all provisional ballots that were not

counted in the 2020 Presidential Election in Coffee County, Georgia.
9.

Produce all documentation evidencing any and all software and/or coding for the
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 226 of 261

Dominion machines that was provided to the Coffee County Board.

10.
Produce all documents and communications from other Georgia counties evidencing

election irregularities regarding the Contested Election.
11.
Produce all documents and communications with the Office of the Secretary of State of

Georgia concerning irregularities with vote counts and recounts concerning the Contested Election.

INTERROGATORIES

 

1.
If the Coffee County Board's response to any Request for Admission contained in
Petitioner's First Requests for Admission is anything other than an unqualified admission, state
the factual basis for the response.

2.

identify any representative(s), employees, contractors, and/or agents from Dominion who
was/were present during the Coffee County Board’s administration of the Contested Election

and/or any recount related to the Contested Election.
3.
identify any representative(s), employees, contractors, and/or agents from Dominion who
was present during the Coffee County Board’s electronic recount who did not provide an

explanation for inaccuracies with the electronic recount for the Contested Election after being asked

by agent(s) of the Coffee County Board for such explanation.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 227 of 261

4.

identify the representative from Dominion who informed agent(s) of the Coffee County
Board that it had to make a decision regarding whether to submit electronic recount results or
results from Election Night to the Georgia Secretary of State and state whether such individual
contacted the Georgia Board of Elections or the Georgia Secretary of State’s Office prior to
making that comment.

5.

State whether any representatives from Dominion who were present during the Coffee
County Board’s administration of the Contested Election and/or during any vote counting for the
Contested Election were deputized as election officials in connection with Georgia’s 2020 General
Election.

6.
Identify who found the 185 ballots that neglected to be counted initially in connection with
Georgia's 2020 General Election.
7.
Identify if any the 185 ballots were either so-called “no-vote” ballots, or “write-in” ballots.
8.

Identify any and all facts that any person on the Coffee County Board has in their
possession, custody or control that shows that “NO local election board has the ability to reconcile
the anomalies reflected in” the spreadsheet attached to the letter dated December 4, 2020.

9.

Identify any and all conversations that any Coffee County Board official had with Secretary
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 228 of 261

Raffensperger or any of his employees, staff or agents concerning the 2020 Election recount

anomalies and the content of such conversations and the date, time, and parties to said

communications.
REQUESTS FOR ADMISSION
L
Admit that venue in this action is proper as to the Coffee County Board.

2.

Admit that jurisdiction in this action is proper as to the Coffee County Board.

3.

Admit that jurisdiction in this action is proper as to the Secretary of State of Georgia Brad

Raffensperger.

4.

Admit that venue in this action is proper as to the Secretary of State of Georgia Brad

Raffensperger.

3.
Admit that Respondents have been properly served with process in this case, or have

acknowledged service of process pursuant to O.C.G.A. § 9-11-4 et seq.
6.
Admit that all factual allegations in the Verified Petition are true and correct.

7.

Admit that all exhibits attached to the Verified Petition are true and correct copies.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 229 of 261

8.
Admit that agents of the Coffee County Board were responsible for administering the
Contested Election in Coffee County.
9.
Admit that agents of the Coffee County Board are responsible for totaling the number of
votes in the Contested Election in Coffee County.
10.
Admit that agents of the Coffee County Board teported vote totals for the Contested
Election in Coffee County to the Georgia State Elections Board on Election Night.
11.
Admit that on November 9, 2020, agents of the Coffee County Board certified the Coffee
County Election Night results of the Contested Election.
12.
Admit that agents of the Coffee County Board conducted a hand recount of the votes cast
in the Contested Election in Coffee County.
13.
Admit that agents of the Coffee County Board obtained vote totals resulting from a hand
recount for the Contested Election in Coffee County on or around November 17, 2020.
14.
Admit that agents of the Coffee County Board compared vote totals resulting from a hand

recount of the raw Election Night results for the Contested Election in Coffee County.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 230 of 261

15.

Admit that agents of the Coffee County Board, to satisfy the demand of the Georgia
Secretary of State, conducted an electronic recount of the votes cast in the Contested Election in
Coffee County.

16.

Admit that agents of the Coffee County Board obtained vote totals from an electronic

recount for the Contested Election in Coffee County on or around November 30, 2020.
17,

Admit that electronic recount did not match the raw Election Night results or the hand

recount for the candidates running in the Contested Election.
18.

Admit that the electronic recount process for the Contested Election in Coffee County did
not duplicate the election results for the Contested Election in Coffee County obtained on
Election Night.

19,

Admit that the electronic recount process for the Contested Election in Coffee County had
discrepancies in the totals.

20.

Admit that the electronic recount process for the Contested Election in Coffee County did
not change the totals after 185 ballots were re-run that had not been counted previously.

ai,

Admit that the electronic recount process for the Contested Election in Coffee County
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 231 of 261

produced inaccurate results that could not be repeatedly replicated.
22.

Admit that the electronic vote recount process used for the Contested Election in Coffee
County produced a report with a summary showing that more votes were cast in the Contested
Election in Coffee County than the total number of votes reflected in the report.

23.

Admit that the Coffee County Board was required to certify election results from the
Contested Election by attaching the Elections Summary and certifying it is “a true and correct
count of the votes cast” in Coffee County.

24.

Admit that on or about December 4, 2020, the Coffee County Board did not certify the
results based on the electronic recount.
25,
Admit that on or about December 4, 2020, the Coffee County Board certified the same
results of the Contested Election that it previously certified on November 9, 2020.
26,

Admit that on December 4, 2020, the Coffee County Board, sent the letter attached as Exhibit

A to the Petition to the Office of the Georgia Secretary of State.
27.

Admit that the members of the Coffee County Board gave unanimous consent to send the

letter attached as Exhibit A to the Petition to the Office of the Georgia Secretary of State.
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28.

Admit that the onsite representative of Dominion during the electronic recount instructed the

Coffee County Board to “make a decision” on the voting results.
29.

Admit that the onsite representative of Dominion during the electronic recount was not

deputized by the Secretary of State of Georgia or any member of the Coffee County Board.
30.

Admit that the onsite representative of Dominion did not contact the Georgia Secretary of

State before instructing the Coffee County Board to “make a decision” on the electronic vote

recount.

31,

Admit that the Coffee County Board voted to certify the Election Night results only and

submitied those results to the Georgia Secretary of State in place of or instead of the election recount

results.

32.

Admit that Secretary Raffensperger certified the results of the Contested Election on

December 7, 2020.
33.

Admit that a representative from Dominion could not explain the inconsistencies in the

10
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 233 of 261

electronic recount tabulations for the Contested Election,

34.

Admit that the Coffee County Board discovered deficiencies in the Dominion electronic
election system prior to November 11, 2020,

35.

Admit that the Coffee County Board discovered prior to November 11, 2020, that
Operators using the Dominion electronic election system could change votes on valid ballots.

36.

Admit that the Coffee County Board discovered that operators using the Dominion
electronic election system could change votes on valid ballots without the Dominion system.
recording evidence of the operator's identity.

37.

Admit that the Coffee County Board provided notice to Secretary Raffensperger on

November 11, 2020 of the deficiencies discovered in the letter attached hereto as Exhibit 1.

38.

Admit that on or about December 12, 2020, Secretary Raffensperger along with armed

election investigators traveled to Coffee County, Georgia and, without a warrant, began

investigating the Coffee County, Georgia 2020 election results.

39,

Admit that on or about December 12, 2020, Secretary Raffensperger along with armed

election investigators traveled to Coffee County, Georgia and, without a warrant, began

investigating the Coffee County, Georgia 2020 election results.

11
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 234 of 261

40.

Admit that on or about December 12, 2020, Secretary Raffensperger along with armed
election investigators and while in Coffee County, Georgia gathered and instructed high school
students from, upon information and belief Citizens Cristian Academy, who were under the age
of 18, to engage in another recount of the ballots of Coffee County, Georgia.

This 12% day of December, 2020.

    
    
 

(BERT
Georgia Bar No. 352877
Attorney for Petitioner

 

205 Norcross Street
Roswell, Georgia 30075

T: (770) 551-9310

F; (770) 551-9311

E: khilbert@hilbertlaw.com

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 235 of 261

CERTIFICATE OF SERVICE
This is to certify that I have attached the foregoing PETITIONER’S FIRST DISCOVERY
REQUESTS TO. RESPONDENT COFFEE COUNTY BOARD OF ELECTIONS AND
REGISTRATION SERVED WITH THE VERIFIED PETITION filed with the Superior Court of
Coffee County on the same date as filing of the Verified Complaint, and this discovery shall be
served upon Respondents simultaneously along with the Summons and Complaint upon
Respondents in accordance with the Georgia Civil Practice Act.

This 12th day of December, 2020.

 
 

 

Le
BERT

' Georgia Bar No. 352877
Altorneys for Petitioner

 

The Hilbert Law Firm, LLC
205 Norcross Street
Roswell, Georgia 30075

T: (770) 551-9310

FP: (770) 551-9311

E: khilbert@hilbertlaw.com

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1
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 236 of 26

COFFEE COUNTY BOARD OF
ELECTIONS AND REGISTRATION

Ernestine Thomas-Clark, Chairmun 224 Wost Ashley Street Erle Chaney, Member
Wendell Stone, Vice-chairman Douglas, GA 31533 Slatihew MeCutlogh, Member
C.T. Peavy, Member (912} 384.7048

Misty Martin, ctection Supervisor
FAX (912) 384-1343
ist

dil Ridiehoover Electious Assistant
E-Mail: SCOURLY-Da. pov

Brad Raffensperger

2 MLK Jr. Dr. S.E. Ste. 814
Floyd W Tower

Atlanta, Ga. 30334

November 11, 2020

Dear Mr. Raffensperger,

During the election conducted on 11/3/2020 the Coffee County Board of
Elections and Registration discovered deficiencies in the current Dominion

g fo ensure you are aware of these and that they
may be immediately rectified.

The adjudication process allows the ICC operator to cho se hows, .

adjudication occurs, i.e. ambiguous marks, over vote, under vote, blank
ballots, or ALL ballots. With the setting on “all ballots”

and change votes on al! ballots, even if the ba

lot was correctly and cleanly
voted. We believe a Statewide standard wou!

d be appropriate.

Using the old Diebold system, absentee ballots by mail that have errors
would duplicate the voter’s intent On a new ballot on all races possible. A

representative from the Democratic and Republican Party plus a board
member, would all agree on the marking or du

all 3 sign the top tab of the ballot that we attac

During the adjudication process with the Dominion System, no such trail

can be created. This allows ANYONE to make a change to the vote so there

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 237 of 261

In a Mockup election we were able to count ballot multiple times. It was
during this mockup election we have verified and recreated the above
deficiencies

Respectfully,
Ze

  

Wfarrcltey Sievers

Wendell Stone

(Wilylf

Matthew McCullough

Eric Se
Delivered by: Over.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 238 of 261

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

SHAWN STILL, in his capacity as a Voter and
capacity as an Official Presidential Elector,
JANE DOE 1,
Petitioner,
CIVIL ACTION FILE

¥5.

NO.

 

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|
BRAD RAFFENSPERGER, in his official ]
capacity as Secretary of State of Georgia, ]
COFFEE COUNTY BOARD OF ELECTIONS }
AND REGISTRATION, ERNESTINE ]
THOMAS-CLARK, in her official capacity as ]
Chairman of the Coffee County Board of ]
Elections and Registration, WENDELL STONE, ]
in his official capacity as vice-chairman of the ]
Coffee County Board of Elections and ]
Registration, ERIC CHANEY, in his official ]
capacity as a member of the Coffee County ]
Board of Elections and Registration, |
MATTHEW MCCULLOGH, in his official }
Capacity as a member of the Coffee County ]
Board of Elections and Registration, C.T. ]
PEAVY, in his official capacity as a member ]
of the Coffee County Board of Elections and ]
Registration, MISTY MARTIN, in her official]
Capacity as Coffee County Election Supervisor, |
JIL RIDLEHOOVER, in her official capacity as |
Coffee County Elections Assistant,
CORPORATE ENTITY 1, JOHN DOE 1
Respondents.

a a)

 

PETITIONER’S FIRST DISCOVERY REQUESTS
TO RESPONDENT BRAD RAFFENSPERGER IN HIS OFFICIAL CAPACITY AS
SECRETARY OF STATE SERVED WITH THE VERIEIED PETITION
COMES NOW Petitioner Shawn Stil, in his Official Capacity as Presidential Elector and

serves upon Respondent Brad Raffensperger in his Official Capacity as Secretary of State of

Georgia (hereinafter the “Secretary Raffensperger” or “Respondent”) the following Discovery

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 239 of 261

requests pursuant to O.C.G.A. § 9-11-26, 9-11-33 and 9-11-34 and as otherwise allowed by law.
Respondent is requested to respond to the following discovery request by serving his
responses upon the undersigned counsel for Petitioner within forty-five (45) days from the date of
service of the discovery with the Complaint in conformance with the requirements of the Georgia
Civil Practice Act, or on a more expedited basis as this Honorable Court may so direct and order.
DEFINITIONS

The Definitions set forth below are incorporated into this request and are to be carefully

followed.

1. When used herein, the following terms shall have the meanings described below:

a. The “Contested Election” is defined as the 2020 Presidential Election Contest in
Georgia concluding on November 3, 2020.
b, “Election Night” is defined as the evening of November 3, 2020, and the
morning of November 4, 2020.
c. “Dominion” is defined as Dominion Voting Systems Corp.
REQUESTS FOR PRODUCTION OF DOCUMENTS
1.

Produce all recordings, videos, text messages, voicemails, emails, and communications of
any kind and nature with any Dominion representative that participated in the recount of the ballots in
the 2020 Presidential Election in Coffee County, Georgia.

2.

Produce all documentation evidencing who was deputized as an election official in the 2020

Presidential Election in Coffee County, Georgia.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 240 of 261

3.

Produce all documents and communications from all Georgia counties evidencing election

irregularities regarding the Contested Election.

4.
Produce all documents and communications with Coffee County, Georgia election officials
concerning irregularities with vote counts and recounts concerning the Contested Election.
INTERROGATORIES
L
Identify any and all conversations that any Coffee County Board official had with Secretary
Raffensperger or any of his employees, staff or agents concerning the 2020 Election recount

anomalies and the content of such conversations and the date, time, and parties to said

communications.

2.
Identify all persons, their addresses, telephone numbers, and their ages who participated
in the unofficial recount that took place at Citizens Christian Academy, in Coffee County, Georgia,
or other school or facility used to count ballots on December 12, 2020.

This 12% day of December, 2020.

   

FIRM, LLC

 

( Georgia Bar No. 352877
Attorney for Petitioner
205 Norcross Street
Roswell, Georgia 30075
T: (770) 551-9310
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 241 of 261

F; (770) 551-9311
E: khilbert@hilbertlaw.com
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 242 of 261

CERTIFICATE OF SERVICE
This is to certify that I have attached the foregoing PETITIONER'S FIRST DISCOVERY
REQUESTS TO RESPONDENT BRAD RAFFENSPERGER IN HIS OFFICIAL CAPACITY AS
SECRETARY OF STATE SERVED WITH THE VERIFIED PETITION filed with the Superior
Court of Coffee County on the same date as filing of the Verified Complaint, and this discovery
shall be served upon Respondents simultaneously along with the Summons and Complaint upon
Respondents in accordance with the Georgia Civil Practice Act.

This 12t day of December, 2020.

 

 

Georgia Bar No. 352877
Attorneys for Petitioner

The Hilbert Law Firm, LLC
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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 243 of 261

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

SHAWN STILL, in his capacity as a Voter and
capacity as an Official Presidential Elector,
JANE DOE 1,

Petitioner,

¥S.

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BRAD RAFFENSPERGERR, in his official ]
capacity as Secretary of State of Georgia, ]
COFFEE COUNTY BOARD OF ELECTIONS ]
AND REGISTRATION, ERNESTINE ]
THOMAS-CLARK, in her official capacity as |
Chairman of the Coffee County Board of ]
Elections and Registration, WENDELL STONE, |
in his official capacity as vice-chairman of the ]
Coffee County Board of Elections and }
Registration, ERIC CHANEY, in his official ]
capacity as a member of the Coffee County ]
Board of Elections and Registration, ]
MATTHEW MCCULLOGH, in his official ]
Capacity as a member of the Coffee County ]
Board of Elections and Registration, C.T. J
PEAVY, in his official capacity as a member ]
of the Coffee County Board of Elections and }
Registration, MISTY MARTIN, in her official j
Capacity as Coffee County Election Supervisor, |]
JIL RIDLEHOOVER, in her official capacity as ]
Coffee County Elections Assistant,

CORPORATE ENTITY 1, JOHN DOE 1

Respondents.

 

CIVIL ACTION FILE

NO.

 

PROPOSED ORDER GRANTING MOTION FOR EXPEDITED DISCOVERY

Upon consideration of Petitioner’s Emergency Motion for Expedited Discovery in the

above-captioned matter, the arguments and materials submitted by the parties and for good cause

shown, Petitioner’s Motion is hereby GRANTED in the above captioned matter, and it is

ORDERED as follows:

 

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 244 of 261

1. Petitioner’s Request for Production of Documents, Requests for Admission and
interrogatories are deemed properly served as of the date of service of the Motion.

2. Responses to Petitioner’s Request for Production of Documents, Requests for Admission
and Interrogatories shall be served and the documents to be produced pursuant thereto shall

be made available for inspection and copying on or before 11:00 a.m. on December 14,

 

2020,
IT IS SO ORDERED this day of December 2020.
Judge,
Superior Court of County
State of Georgia
Submitted by:

Kurt Hilbert, Esq.

The Hilbert Law Firm, LLC
205 Norcross Street
Roswell, GA 30075
Georgia Bar No. 352877

T: (770) 551-9310

F: (770) 551-9311
khilbert@hilbertlaw.com
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 245 of 261

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

SHAWN STILL, in his capacity as a Voter and
capacity as an Official Presidential Elector,
JANE DOE 1,
Petitioner,
CIVIL ACTION FILE

V5.

NO,

 

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|

BRAD RAFFENSPERGER, in his official ]
capacity as Secretary of State of Georgia, ]
COFFEE COUNTY BOARD OF ELECTIONS }
AND REGISTRATION, ERNESTINE ]
THOMAS-CLARK, in her official capacity as}
Chairman of the Coffee County Board of |
Elections and Registration, WENDELL STONE, |
in his official capacity as vice-chairman ofthe |]

Coffee County Board of Elections and ]

Registration, ERIC CHANEY, in his official ]
capacity as a member of the Coffee County ]
Board of Elections and Registration, ]
MATTHEW MCCULLOGH, in his official ]
Capacity as a member of the Coffee County J
Board of Elections and Registration, C.T. ]
PEAVY, in his official capacity as a member ]
of the Coffee County Board of Elections and ]
Registration, MISTY MARTIN, in her official]
Capacity as Coffee County Election Supervisor, }
JIL RIDLEHOOVER, in her official capacity as ]
Coffee County Elections Assistant, j
CORPORATE ENTITY 1, JOHN DOE 1 j
Respondents. }

]

 
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 246 of 261

YERIFICATION

Personally appeared before me, the undersigned officer, duly authorized by law to
administer oaths, came SHAWN STILL who is sui juris, of sound mound and body, and upon
oath, does depose and say that he has reviewed the foregoing VERIFIED PETITION FOR
EMERGENCY INJUNCTIVE AND DECLARATORY RELIEF with Tegard to the facts
contained therein, and that the facts set forth therein are true and correct where derived from his
own knowledge and are believed to be true and correct where derived from the knowledge of

others, public information, or from documents that are maintained in the course of business.

This 12th day of December 2020,

By: Shawn Still

Swom to and subscribed before me
This |¢ th day of December 2020.

Pa ue SINNERS
Piktihar Pu BLIC

 

Fulton County
State of Georgia

| May. Comm. Expires December 7, 2024

 
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 247 of 261

COFFEE COUNTY BOARD OF

ELECTIONS AND REGISTRATION
224 West Ashley Street
Douglas, GA 31533

Ernesilae Thomss-Clark, Chairmen
Wendell Stone, Vice-chatrman
CAT, Peavy, Member

Erie Chaney, Member

Matthew McCullegh, Member
(912) 384-7018 Misty Martin, Electtoa Supervisor
FAX (912) 384-1343

il Ridichoover Exeerions Assistant
E-Mail: misty-hampion@icoffeecounty-pa.gov
12/04/2020

Brad Raffensperger
214 State Capitol
Atlanta, GA. 30334

Dear Mr. Raffensperger,

The Coffee County Board of Elections and Registration cannot certify the electronic
recount numbers given its inabilit

y to repeatably duplicate creditable election results, Any
system, financial, voting, or otherwise, that is not repeatable nor dependable should not
be used. To demand certification of patently inaccurate results neither serves the

objective of the electoral system nor satisfies the legal obligation to certify the electronic
recount,

I am enclosing a spread sheet which illuminates that the electronic recount lacks
credibility. NO local election board has the ability to reconcile the anomalies reflected in
the attached, Accordingly, the Coffee County Board of Elections and Registration have
voted to certify the votes cast in the election night report. The election night numbers are
reflected in the official certification of results submitted by our office.

Respectfully,

 

Emestine Thomas-Clark
Chairperson

Signed by Chairperson by expressed permission and consent of 100% of the board.

cc
Dominic LaRiccia
Tyler Harper

 
DISCREPENCIES IN THE NOVEMBER 3, 2020 GENERAL ELECTION AND RECOUNTS

 

 

 

 

 

 

 

 

 

 

Total {Internal} Total Net Discripency Between Total
Date Activity Action #} Trump Biden | Jorgensen | Write-IN* | No Vote? | Votes Delta Delta and Internal
11/3/2020 Election Day 1 1 10578 4Sil 125 23 40 | 15237
11/17/2020 Hand Recount 2 20578 4511 126 NA NA 15238
Compare 2 to 1 0 0 +1 +1 +1 +1 0
11/30/2020] Electronic Recount 3 10596 4518 13 0 15 15127
Compare 3 tal +18 +7 -112 -110 ~B7 -110 #23
Compare 3 to 2 +18 +7 -112 -110 -BB -110 +22
2nd uploaded 185 NO NO NO NO
11/30/2020 BALLOTS 4 CHANGE | CHANGE; CHANGE 0 74 CHANGE

 

 

 

 

 

 

 

 

 

 

 

The tabluated Electonic Recount revealed the above discrepencies

 

Investigation revealed we negelected to run 185 balitos: we then ran these ballots

 

we reviewed the resultsbut there was No Change in Vote Count Despite 185 Ballots Added

 

The on Site Daminion Rep could not explain why system would not update votes

 

The Dominion Rep directed the Board of Elections ta make a decision about what to do.

 

FOR SOME REASON NO WRITE-IN COLUMN PRINTED ON THE RECOUNT SUMMARY

 

THERE WAS NO EXPLANATION OR SOLUTION TO THIS PROBLEM

 

 

 

 

12/2/2020 Prepare to Certify 5 10597 4520 136 15236
Compare 5 to1 +19 +9 +11 -1 +37 +16 +23
Compare 5 to 2 +19 +9 +11 -2 +38 +16 +24

 

 

 

 

 

 

 

 

 

 

There is a discrepency between Electronic Recount and total votes for both 1 & 2

 

Stated Differently after 3 counts a clear inconsistency exists as one compares the orgional election counts, the hand

 

 

recount, and the electronic recount.

 

Anomilies in software recounts create irreconciable difference in vote count which leaves the Board with no clear

 

 

guidance as to which count to certify.

 

Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 248 of 261

 

 

 

* Write-IN and NO Votes are NOT included in the Total Votes

 

 

 
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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 249 Of Bprony erenot cow

Date: 12/30/2020 2:45 PM
Cathelene Robinson, Clerk

THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

DONALD J. TRUMP, in his capacity as
A Candidate for President, et al.,

Petitioner,

BRAD RAFFENSPERGER,
in his official capacity as
Secretary of State of Georgia, et al.

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)
)
Vv. ) Civil File Action No.
)
) 2020¢v343255
)
)

)
Defendants. )

ORDER RE-ASSIGNING CASE TO
SEVENTH JUDICIAL ADMINISTRATIVE DISTRICT

Petitioners contest the results of the November 3, 2020, election in Georgia for
President of the United States. They have filed a legal challenge to that election here in
Fulton County pursuant to O.C.G.A. § 21-2-520 et seq. The Clerk of Court for the Superior
Court of Fulton County, per standing Court policy for civil actions, randomly assigned this
matter to the Honorable Constance Russell. Such assignment was in vain, however, as
O.C.G.A. § 21-2-520 electoral challenges must be assigned in a specific manner as
provided for in O.C.G.A. § 21-2-523. That provision directs the Administrative Judge of
the Judicial Administrative District in which the case was filed to make the case
assignment -- unless the case was filed in the Administrative Judge’s own Judicial Circuit.
O.C.G.A. § 21-2-523(c). When, as here, the case is brought in the Administrative Judge’s
Circuit, the Administrative Judge must transfer the case to an adjoining Judicial
Administrative District, where that District's Administrative Judge shall then assign the
case to “a superior court judge from that District ... or a senior judge who is not a resident

of the Circuit wherein the proceeding was filed.” O.C.G.A. § 21-2-523(d).

 
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 250 of 261

In the meantime, Counsel for Petitioner filed a Notice of Appeal to the Georgia
Supreme Court, effectively depriving this Court of its ability to take any actions on this
matter, including any reassignment. Said counsel has now withdrawn that improvidently
filed Notice of Appeal, and this Court may thus move ahead with its duties under law.

What this means, distilled to plain English, is that the undersigned hereby selects
the Administrative Judge of the Seventh Judicial Administrative District to determine,
pursuant to 0.C.G.A. § 21-2-523(d), which Superior Court judge from that District, active

or senior, shall hear this case. The matter is no longer assigned to the Honorable
2 ( \ , 2020.

VA

Chief Judge Christopher S, Brasher
Superior Court of Fulton County
Atlanta Judicial Circuit

Fifth Judicial Administrative District

Constance Russeil, this Circuit, or this District
SO ORDERED this > day of Dee

Filed and served electronically via eFileGA

Page 2 of 2
261
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 251 of

COFFEE COUNTY BOARD OF
ELECTIONS AND REGISTRATION
Ernesting Thomss-Clart, Chairman 224 West Ashicy Street ric Chaney, Member
Wendell Stone, Vice-choirman Douglas, GA 31533 Matthew McCullogh, Member
CT. Peavy, Member (912) 384-7018 Misty Martin, Election Supervisor
FAX (912) 384-1343 Ji} Ridichoover Elections Assist
E-Mait: misty-hanntonfcofeccounty-ps.cov

12/04/2020
Brad Raffensperger
214 State Capitol

Atlanta, GA. 30334

Dear Mr. Raffensperger,

The Coffee County Board of Elections and Registration cannot certify the electronic

recount numbers given its inability to repeatably duplicate creditable election results. Any
system, financial, voting, or otherwise, that is not repeatable nor dependable should not

be used. To demand certification of patently inaccurate results neither serves the
objective of the electoral system nor satisfies the legal obligation to certify the electronic
recount.

reflected in the official certification of results submitted by our office.

Respectfully,
Coffee County Board of Elections and Ri

 

Ernestine Thomas-Clark
Chairperson

Signed by Chairperson by expressed permission and consent of 100% of the board.

cc

Dominic LaRiccia
Tyler Harper

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Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 252 of 261

DISCREPENCIES IN THE NOVEMBER 3, 2020 GENERAL ELECTION AND RECOUNTS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total jinternal| Total Net Discripency Between Total
Date Activity Action #} Trump Biden | Jorgensen ; Write-IN* | No Vote*| Votes Delta Delta and internal
11/3/2020 Election Day 1 1 106578 4511 125 23 40 15237
11/17/2020 Hand Recount 2 10578 4511 126 NA NA 15238
Compare 2 tot 0 0 +1 +1 +1 +1 0
11/30/2020} Electronic Recount 3 10596 4518 13 0 45 15127
Compare 3 to 1 +18 +7 -112 -110 -87 -110 +23
Compare 3 to 2 +28 +7 “112 +110 -88 -110 +22
2nd uploaded 185 NO NO NO NO
11/30/2020 BALLOTS 4 CHANGE | CHANGE] CHANGE 0 74 CHANGE
The tabluated Electonic Recount revealed the above discrepencies
investigation revealed we negelected to run 185 bailltos: we then ran these ballots
we reviewed the resultsbut there was No Change in Vote Count Despite 185 Ballots Added
The on Site Dominion Rep could not explain why system would not update votes
The Dominion Rep directed the Board of Elections te make a decision about what to do.
FOR SOME REASON NO WRITE-IN COLUMN PRINTED ON THE RECOUNT SUMMARY
THERE WAS NO EXPLANATION OR SOLUTION TO THIS PROBLEM
12/2/2020 | Prepare to Certify 5 16597 4520 136 15236
Compare 5 to i +19 +9 +11 -i +37 +16 +23
Compare 5 to 2 +19 +9 +11 2 +38 +16 +24

 

There is a discrepency between Electronic Recount and total votes for both 1 & 2

 

 

recount, and the electronic recount.

Stated Differently after 3 counts a clear inconsistency exists as one compares the orgional election counts, the hand

 

 

 

Anomilies in software recounts create irreconciable difference in vote count which leaves the Board with no clear

guidance as to which count to certify.

 

 

 

 

 

* Write-IN and NO Votes are NOT included in the Total Votes

 

 

 
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 253 of 261

Kurt Hilbert

Ne TT Pa TG

From: ORR Administration <openrecords@sos.ga.gov> on behalf of ORR Administration
Sent: Monday, December 28, 2020 3:11 PM

To: khilbert@hilbertlaw.com

Subject: ORR #2020-1318 - Kurt Hilbert - Lamar County - Estimate Letter

Attachments: 20-12.21.2020 LTR (FEDEX) FM KRH TO Georgia Secretary of State RE Open Records

Request - coffee 12.21.2020.pdf

Good Afternoon,

Our office received the attached request and has identified records responsive to this request. Prior to
producing these records, our office will need additional time to review the identified records and determine

what information contained in such records is required to remain confidential by law or is otherwise exempt
from disclosure.

Redactions will be made only to the extent authorized by law. Pursuant to state law, such confidential or exempt
information found in the responsive records will be redacted, including, but not limited to, the following:
individuals’ day and month of birth; unlisted telephone number; personal email address; personal cellular
telephone number; social security number; driver's license number; financial information; health information;
information that (if disclosed) would compromise election security; records of election cases pending
investigation; communications subject to attorney-client privilege; and attorney-work product. See O.C.G.A. §
50-18-72(a)(1)-(4), (20) (A), (21), (25)(A), (34), (41), (42), and (44); O.C.G.A. § 21-2-225; and O.C.G.A. § 21-2-379.24,

In accordance with O.C.G.A. § 50-18-71(c)(1), the estimated cost for retrieving, reviewing, and redacting the
identified records is $550.55. Because the cost estimate is more than $25.00, agreement to pay the estimated

charges is required prior to conducting the search. The estimated cost and time does not include the first fifteen
minutes, which are without charge and were used to conduct an initial search of our records.

In light of earlier open records requests received and the ongoing processing of such requests, the responsive,
redacted records are estimated to be ready for production in 90 business days from our office’s receipt of
your acceptance of charges. Charges must be accepted within 7 business days or the request will be

deemed abandoned and pre-payment must be received within 30 days or the request will be deemed
abandoned.

Sincerely,

Open Records Cfficer
Georgia Secretary of State
openrecords@sos ga gov

nitos //sos ca gov/OpenRecards/

 

 

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This message is intended exclusively for the individual or entity to which it is addressed. This communication may contain information that is
proprietary, privileged, confidential or otherwise legally exempt from disclosure. If you are not the named addressee, you are not authorized to
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immediately by e-mail and delete all copies of the message.
From: Kurt Hilbert <khilbert@hilbertiaw.com>
Sent: Monday, December 21, 2020 11:06 AM

To: ORR Administration <cpenrecords@sos.ga.gov>

Ce: Kurt Hilbert <khilbert@hilbertlaw.com>
Subject: Open Records Request

tmportance: High

EXTERNAL EMAIL: Do not click any links or open any attachments unless you trust the sender and know the content is
safe.

Dear Open Records Request Coordinator/élections Division/SOS. vse tennannneaeetanniteieininn ie autumn iieinitiuininigininennacnnnd

Please see the attached open records act request for processing and production within 72 hours of this request.

Thank you.

Kurt R. Hilbert, Esq.
Managing Member

 

THE HILBERT LAW FIRM, LLC
Mailing Address:

205 Norcross Street

Roswell, GA 30075

T: 770-551-9310

F: 770-551-9311
khitbert@hilbertlaw.corm

www. hilbertlaw.com

 

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legally privileged.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 255 of 261

THE HILBERT LAW FIRM

KURT HILBERT A LIMITED LIABILITY COMPANY TO CONTACT WRITER:
MANAGING MEMBER EMAIL: KHILBERT@HILBERTLAW.COM

MAILING ADDRESS: DIRECT Ott: 770-551-9310 Ext 101
OF CounseL 205 NORCROSS STREET FACSIMILE: 770-551-9311
DOUGLAS JACOBSON ROSWELL, GA 30075 WEBSITE: www. hitbertiaw.cam
MELANIE ELLWANGER

SUSAN GREEN MILLER
ELENI C. BAFAS

December 19, 2020

VIA FEDEX
AND VIA EMAIL: openrecords(a)sos.ga.cov

Georgia Secretary of State

Elections Division

ATTN: Open Records Request Coordinator
2 Martin Luther King Jr. Drive S.E.

Suite 802, Floyd West Tower

Atlanta, Georgia 30334

Re: Georgia Open Records Request

Dear Open Records Request Coordinator:

This law firm represents Donald J. Trump for President, Inc. and Donald J. Trump,
individually in his capacity as the Republican Party nominee for President of the United States,
and David J. Shafer in litigation related to the 2020 Presidential Election.

Pursuant to the Georgia Open Records Act § 50-18-70 et seq., this letter is a request for
production and inspection of all communications, whether digital, electronic, or hard copy,
between the Secretary of State Investigators and Lamar County Georgia Republican Party Chair

Ashley Giles and the Lamar County Board of Elections officials from January 1, 2020 through the
present.

These communications are expected to be provided in electronic format and as such no
printing costs are expected. If there are any costs associated with this open records request, I
respectfully ask that an invoice be sent along with the timely production of documents so as not to
delay the production unnecessarily. These documents are in the public interest and relying on the
statements of the Secretary of State are expected be produced without cost as it is an open records
request related to information that is in the public interest and will significantly contribute to the
public’s understanding of the ballot security actions taken by the State of Georgia. This
information is not being sought for commercial purposes.

Pursuant to O.C.G.A § 50-18-71 (b)(1)(A), if you are not able to provide copies of
tesponsive records within three (3) days from the date of this request as required by law, you must
provide us with a written description of such records, together with a timetable for their inspection
and copying. You are further placed on official notice to preserve all such communications and
place a litigation hold on all such documentation and information. If you violate this anti-
Spoliation notice, a court may award sanctions against you for spoliation of evidence,

If you deny any or all of this request, please cite specific exemptions you feel justify the
refusal to release the information and notify me at the address below along with the appeal
procedures available to me under the law.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 256 of 261

The Hilbert Law Firm, LLC
205 Norcross Street
Roswell, GA 30075

khilbert@hilbertlaw.com

If you have any question regarding this request, please contact me directly at (404) 392-
7663 or (770) 551-9310.

 

~ Managing Member
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 257 of 261

Kurt Hilbert
Le a ite tne

From: ORR Administration <openrecords@sos.ga.gov> on behalf of ORR Administration
Sent: Monday, December 28, 2020 3:38 PM

To: khilbert@hilbertlaw.com

Subject: FW: ORR #2020-1319 - Kurt Hilbert - Coffee & Stephens County

Attachments: 20-12.21.2020 LTR (FEDEX) FM KRH TO Georgia Secretary of State RE Open Records

Request - lamar 12.21.2020.pdf

Good Afternoon,

Our office received the attached request and has identified records responsive to this request. Prior to
producing these records, our office will need additional time to review the identified records and determine

what information contained in such records is required to remain confidential by law or is otherwise exempt
from disclosure.

Redactions will be made only to the extent authorized by law. Pursuant to state law, such confidential or exempt
information found in the responsive records will be redacted, including, but not limited to, the following:
individuals’ day and month of birth; unlisted telephone number; personal email address; personal cellular
telephone number; social security number; driver's license number; financial information; health information;
information that (if disclosed) would compromise election security; records of election cases pending
investigation; communications subject to attorney-client privilege; and attorney-work product. See O.C.G.A. §
50-18-72(a)(1)-(4), (20) (A), (21), (25)(A), (34), (41), (42), and (44); O.C.G.A. § 21-2-225; and O.C.G.A. § 21-2-379.24.

In accordance with O.C.G.A. § 50-18-71(c)(1), the estimated cost for retrieving, reviewing, and redacting the
identified records is $43.35. Because the cost estimate is more than $25.00, agreement to pay the estimated

charges is required prior to conducting the search, The estimated cost and time does not include the first fifteen
minutes, which are without charge and were used to conduct an initial search of our records.

In light of earlier open records requests received and the ongoing processing of such requests, the responsive,

redacted records are estimated to be ready for production in 90 business days from our office’s receipt of
your acceptance of charges. Charges must be accepted within 7 business days or the request will be

deemed abandoned and pre-payment must be received within 30 days or the request will be deemed

abandoned.

Sincerely,

Open Records Officer
Georgia Secretary of State
openrecords@sos ga. gov

https: //sos.ga.gov/OpenRecords/
“.
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From: «Kurt Hilbert <khilbert@hilbertlaw.com>
Sent: Monday, December 21, 2020 11:08 AM

To: ORR Administration <openrecords@soas.pa gov>
Ce: Kurt Hilbert <khiibert @hilbertlaw.com>
Subject: Open Records Act Request

importance: High

 

 

 

 

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‘safe.

 

Dear Open Records Request Coordinator/Elections Division/SOS:
Please see the attached open records act request for processing and production within 72 hours of this request.
Thank you.

Kurt R. Hilbert, Esq.
Managing Member

  

   

ILBERT

THE HILBERT LAW FIRM, LLC
Mailing Address:

205 Norcross Street

Roswell, GA 30075

T: 770-551-9310

F: 770-551-9311
khilbert@hilbertiaw.com

www. hilbertiaw.com

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legally privileged.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 260 of 261

THE HILBERT LAW FIRM

Kur? HILBERT ALIMITED LIABILITY COMPANY TO CONTACT WRITER:

MANAGING MEMBER EMAIL: KHILBERT@HILBERTLAW.COM
MAILING ADDRESS: DIRECT DIAL: 770-551-9340 ExT 101

OF COUNSEL 205 NORCROSS STREET FACSIMILE: 770-551-9311

DOUGLAS JACOBSON ROSWELL, GA 30075 WEBSITE: www. hilbertlaw.com

MELANIE ELLWANGER

SUSAN GREEN MILLER

ELeNi C. BaFAs
December 19, 2020

VIA FEDEX
AND VIA EMAIL: openrecords@)sos.ga.20Vv

Georgia Secretary of State

Elections Division

ATTN: Open Records Request Coordinator
2 Martin Luther King Jr. Drive S.E.

Suite 802, Floyd West Tower

Atlanta, Georgia 30334

Re: Georgia Open Records Request

Dear Open Records Request Coordinator:

This law firm represents Donald J. Trump for President, Inc. and Donald J. Trump,
individually in his capacity as the Republican Party nominee for President of the United States,
and David J. Shafer in litigation related to the 2020 Presidential Election.

Pursuant to the Georgia Open Records Act § 50-18-70 et seq., this letter is a request for
inspection and production of all communications between Secretary of State Investigators and all
Georgia County Republican Party Chairs including but not limited to Coffee County and Stephens
County, as well as all communications between Secretary of State Investigators and any and all
Coffee County Board of Elections officials and Stephens County Board of Elections officials, or
their employees, staff, and agents, since January 1 2020 to the present.

These communications are expected to be provided in electronic format and as such no
printing costs are expected. If there are any costs associated with this open records request, |
respectfully ask that an invoice be sent along with the timely production of documents so as not to
delay the production unnecessarily. These documents are in the public interest and relying on the
statements of the Secretary of State are expected be produced without cost as it is an open records
request related to information that is in the public interest and will significantly contribute to the
public’s understanding of the ballot security actions taken by the State of Georgia. This
information is not being sought for commercial purposes.

Pursuant to O.C.G.A § 50-18-71 (b)(1)(A), if you are not able to provide copies of
responsive records within three (3) days from the date of this request as required by law, you must
provide us with a written description of such records, together with a timetable for their inspection
and copying. You are further placed on official notice to preserve all such communications and
place a litigation hold on all such documentation and information. If you violate this anti-
spoliation notice, a court may award sanctions against you for spoliation of evidence.
Case 1:20-cv-05310-MHC Document 1-4 Filed 12/31/20 Page 261 of 261

If you deny any or all of this request, please cite specific exemptions you feel justify the
refusal to release the information and notify me at the address below along with the appeal
procedures available to me under the law.

The Hilbert Law Firm, LLC
205 Norcross Street
Roswell, GA 30075

khilbert@hilbertlaw.com

If you have any question regarding this request, please contact me directly at (404) 392-
7663 or (770) 551-9310.

   

_ Managing Member
